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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

  IN RE: INSULIN PRICING
  LITIGATION                              Case 2:23-md-03080
  BRAMAN MOTORS, INC. d/b/a               MDL No. 3080
  BRAMAN MANAGEMENT
  ASSOCIATION; BRAMAN                     JUDGE BRIAN R. MARTINOTTI
  HYUNDAI, INC.; BRAMAN                   JUDGE RUKHSANAH L. SINGH
  CADILLAC, INC.; BRAMAN
  IMPORTS, INC.; BRAMAN PALM              DIRECT-FILED COMPLAINT
  BEACH, INC.; BRAMAN                     PURSUANT TO CASE MANAGEMENT
  AUTOMOTIVE, INC.; PALM BEACH            ORDER NO. 9
  IMPORTS, INC.,
                   Plaintiffs,            Civil Action No. _____________
  v.
                                          JURY TRIAL DEMANDED
  ELI LILLY AND CO.; NOVO
  NORDISK INC.; SANOFI-AVENTIS
                                                        COMPLAINT
  U.S. LLC; EVERNORTH HEALTH,
  INC.    (FORMERLY       EXPRESS
  SCRIPTS HOLDING CO.); CIGNA
  HEALTH & LIFE INSURANCE CO.;
  EXPRESS SCRIPTS, INC.; EXPRESS
  SCRIPTS ADMINISTRATORS, LLC;
  MEDCO HEALTH SOLUTIONS,
  INC.; ESI MAIL PHARMACY
  SERVICES, INC.; EXPRESS SCRIPTS
  PHARMACY,       INC.;    ASCENT
  HEALTH SERVICES, LLC; CVS
  HEALTH CORP.; CVS PHARMACY,
  INC;   CAREMARK       RX,   LLC;
  CAREMARK PCS HEALTH, LLC;
  CAREMARK, LLC; ZINC HEALTH
  SERVICES, LLC; UNITEDHEALTH
  GROUP, INC.; OPTUM, INC.;
  OPTUMRx INC.; OPTUMINSIGHT,
  INC.; EMISAR PHARMA SERVICES,
  LLC,
                  Defendants.
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       Plaintiffs Braman Motors, Inc., d/b/a Braman Management Association,

 Braman Hyundai, Inc., Braman Cadillac, Inc., Braman Imports, Inc., Braman Palm

 Beach, Inc., Braman Automotive, Inc., and Palm Beach Imports, Inc. (collectively

 “Braman” or “Plaintiff”), by and through undersigned counsel, designate the United

 States District Court for the Southern District of Florida as their Designated Forum,

 bring this lawsuit against the above-named Defendants, and allege as set forth below.

                                       INTRODUCTION
       1. The cost of diabetes medications has skyrocketed over the past twenty

 years. Over that time, while the average cost of consumer goods and services has

 risen 1.75-fold, the cost of some diabetes medications has risen more than tenfold.

 These price increases do not derive from the rising cost of goods, production costs,

 investment in research and development, or competitive market forces. Instead,

 Defendants engineered them to exponentially increase their profits at the expense of

 payors like Plaintiff.

       2. Diabetes is widespread. According to the American Diabetes Association,

 the total estimated cost of diabetes in the United States in 2022 was over $412 billion

 (including $306.6 billion in direct medical costs and $106.3 billion in indirect

 costs)—up from $327 billion in 2017. Direct health care costs attributable to diabetes

 have increased by $80 billion over the past ten years—from $227 billion in 2012 to

 $306.6 billion in 2022. One in four healthcare dollars is spent caring for people with


                                           1
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 diabetes.

              3. In Florida, diabetes costs nearly $19.3 billion per year in direct medical

     expenses. Approximately 2.1 million Floridians—or 10% of the population—have

     diabetes. In Miami-Dade County, where Plaintiff is headquartered, approximately

     9.8% of adults are living with diabetes.

              4. Plaintiff also has employees in Denver, Littleton, and Lakewood

     Colorado. About 8.1% of Coloradans have been diagnosed with diabetes. One in

     three Coloradans is prediabetic and at risk of developing Type 2 diabetes within six

     years.

          5. Defendants Eli Lilly, Novo Nordisk, and Sanofi (collectively, the

 “Manufacturer Defendants” or the “Manufacturers”) manufacture nearly all insulins

 and other diabetes medications available in the United States. In 2020—as in years

 past—the three Manufacturer Defendants controlled 92% (by volume) and 96% (by

 revenue) of the global market for diabetes drugs.

          6.       Defendants CVS Caremark, Express Scripts, and OptumRx

 (collectively, the “PBM Defendants” or “the PBMs”) are pharmacy benefit

 managers that work in concert with the Manufacturers to dictate the availability and

 price of the at-issue drugs 1 for most of the U.S. market. The PBM Defendants are,



 1
  The “at-issue drugs” or “at-issue medications” are those set forth in the table in
 paragraph 280.
                                                2
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 at once, (a) the three largest PBMs in the United States (controlling more than 80%

 of the PBM market); (b) the largest pharmacies in the United States (comprising

 three of the top five dispensing pharmacies in the U.S.); and (c) owned and

 controlled by entities that own three of the largest insurance companies in the United

 States—Aetna (CVS Caremark), Cigna (Express Scripts), and UnitedHealthcare

 (OptumRx).

       7.     These conglomerate Defendants sit at 5th (UnitedHealth Group), 6th

 (CVS Health), and 15th (Cigna) on the Fortune 500 list.

 Figure 1: PBMs, PBM-Affiliated Insurers, and PBM-Affiliated Pharmacies

                                  PBM-Affiliated                 PBM-Affiliated
            PBM
                                    Insurer                        Pharmacy
     CVS Caremark                      Aetna                     CVS Pharmacy
                                                                 Express Scripts
     Express Scripts                   Cigna
                                                                 Pharmacy Inc.
            Optum                UnitedHealthcare                  OptumRx

       8.     For transactions in which the PBM Defendants control the insurer, the

 PBM, and the pharmacy (e.g., CVS Caremark–Aetna–CVS Pharmacy)—these

 middlemen capture as much as half of the money spent on each insulin prescription

 (up from 25% in 2014), even though they contribute nothing to the innovation,

 development, manufacture, or production of the drugs.

       9.     The PBMs establish national formulary offerings (i.e., approved-drug

 lists) that determine which diabetes medications are covered by nearly every payor

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  in the United States, including in Florida and, more specifically, Miami-Dade

  County.

        10. The Manufacturers and PBMs understand that the PBMs’ national

  formularies drive drug utilization. The more accessible a drug is on the PBMs’

  national formularies, the more that drug will be purchased throughout the United

  States. Conversely, the exclusion of a drug from one or more of the PBMs’

  formularies can render the drug virtually inaccessible for millions of covered persons.

        11. Given the PBMs’ market power and the crucial role their standard

  formularies play in the pharmaceutical payment chain, both Defendant groups

  understand that the PBM Defendants wield enormous influence over drug prices and

  purchasing behavior.

        12. The Manufacturers set the initial list prices for their respective insulin

  medications. Over the last twenty years, list prices have sharply increased in lockstep,

  even though the cost of production has decreased. Insulins, which today cost

  Manufacturers as little as $2 per vial to produce, and which were priced at $20 per

  vial in the 1990s, now range in price from $300 to over $700.

        13. The Manufacturer Defendants have in tandem increased the prices of their

  insulins up to 1000%, taking the same increases down to the decimal point within a

  few days of one another and, according to a U.S. Senate Finance Committee




                                             4
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  investigation, “sometimes mirroring” one another in “days or even hours.”2 Figure 2

  reflects the exponential rate at which Defendant Eli Lilly raised the list price of its

  analog insulin, Humalog, compared to the rate of inflation for other consumer goods

  and services during the period from 1997 through 2018.

      Figure 2: Price Increase of Insulin (Humalog) vs. Selected Consumer
                                Goods, 1997-2018




          14. And looking at the narrower timeframe between 2013 through 2018,



  2
   Charles E. Grassley & Ron Wyden, Staff Report on Insulin: Examining the Factors
  Driving the Rising Cost of a Century Old Drug, Sen. Fin. Comm., at 6, 54, 55 (Jan.
  2021), https://www.finance.senate.gov/imo/media/doc/Grassley-Wyden%20Insulin
  %20Report%20FINAL%201).pdf (hereinafter “Senate Insulin Report”).
                                             5
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  prices for insulin products have increased at rates far exceeding inflation, as

  illustrated in the chart below from the Kaiser Family Foundation.

  Figure 3: Average annual price increases of insulins vs. inflation, 2013-2018




        15.    Today’s exorbitant prices are contrary to the intent of insulin’s

  inventors, who sold their original patent rights to the University of Toronto for $1

  each, reasoning that “[w]hen the details of the method of preparation are published

  anyone would be free to prepare the extract, but no one could secure a profitable

  monopoly.” One of the inventors, Sir Frederick Banting, stated that “[i]nsulin does

  not belong to me, it belongs to the world.” But today, in contrast to its inventors’

  noble aims, insulin is the poster child for skyrocketing pharmaceutical prices.

        16. Little about these medications has changed over the past one hundred

  years; today’s $350 insulin is essentially the same product the Manufacturers sold for

  $20 in the 1990s.

                                            6
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                            How the Insulin Pricing Scheme Works

        17.    In the simplest terms, there are four classes of participants in the at-issue

  medication chain.

        a.    Health Insurance Plans. Health insurance plans, often funded by

              employers (here, Plaintiff Braman), provide cost coverage and

              reimbursements for medical treatment and care of individuals. These

              plans often include pharmacy benefits, meaning that the health plan pays

              a substantial share of the purchase price of its beneficiaries’ prescription

              drugs, which includes the at-issue diabetes medications. Operators of

              these plans may be referred to as payors, plan sponsors, or clients. The

              three main types of payors are government/public payors, commercial

              payors, and private payors.

        b.    Pharmacy Benefit Managers. Payors routinely engage pharmacy benefit

              managers to manage their prescription benefits, which includes

              negotiating prices with drug manufacturers and (ostensibly) helping

              payors manage drug spending. A pharmacy benefit manager’s power to

              include or exclude a drug from its formulary theoretically should

              incentivize manufacturers to lower their list prices. Pharmacy benefit

              managers also contract with pharmacies to dispense medications

              purchased by the plan’s beneficiaries. Pharmacy benefit managers are


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             compensated by retaining a portion of what—again in theory—should be

             shared savings on the cost of medications.

        c.   Rebate Aggregators. Rebate aggregators are group purchasing

             organizations that negotiate and collect rebates and other fees for

             pharmacy benefit manager clients. Each of the three PBM Defendants

             here established its own rebate aggregator GPO (Defendants Zinc,

             Ascent, and Emisar) between 2018 and 2022, to outsource the negotiation

             and collection of rebates and other fees to a subsidiary, and impose new

             fees on the Manufacturers, purportedly for the aggregator’s services. The

             PBM Defendants’ rebate aggregators allow the PBMs to further obfuscate

             the rebate payment trail and extract additional profits from their contracts

             with payors.

        d.   Manufacturers. Manufacturers          produce prescription     medications,

             including the at-issue insulin medications. 3 Each sets a list price for its


  3
    There are three types of insulin medications. First are biologics, which are
  manufactured insulins derived from living organisms. Second are biosimilars, which
  are “highly similar” copies of biologics. They are similar in concept to “generic”
  drugs; but in seeking approval, biosimilars use biologics (rather than drugs) as
  comparators. Third, the confusingly-named authorized generics are not true
  generics—they are an approved brand-name drug marketed without the brand name
  on the label. The FDA approved the original insulins as drug products rather than
  biologics, so although there was a regulatory pathway to introduce biosimilars
  generally (i.e., copies of biologics), companies could not introduce insulin biosimilars
  because their comparators were “drugs” rather than “biologics.” In 2020, the FDA

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              products. The term “list price” often is used interchangeably with

              “Wholesale Acquisition Cost” or “WAC.” The manufacturers self-report

              their list prices to publishing compendia such as First DataBank, Medi-

              Span, or Redbook, who then publish those prices.4

        18. Given the PBMs’ purchasing power and their control over formularies

  that dictate the availability of drugs, their involvement should theoretically drive

  down list prices because drug manufacturers normally compete for inclusion on the

  standard national formularies by lowering prices. For insulin, however, to gain access

  to the PBMs’ formularies, the Manufacturers gain the PBMs’ approval by artificially

  inflating their list prices and then paying a significant, yet undisclosed, portion of that

  inflated price back to the PBMs (collectively, the “Manufacturer Payments”).5 The

  Manufacturer Payments bear a variety of dubious labels, including rebates, discounts,



  moved insulin to the biologic regulatory pathway, thereby opening the door to
  approval of biosimilars through an abbreviated approval process.
  4
   The related “Average Wholesale Price” (AWP) is the published price for a drug sold
  by wholesalers to retailers.
  5
    In this complaint, “Manufacturer Payments” is defined to include all payments or
  financial benefits of any kind conferred by the Manufacturer Defendants to the PBM
  Defendants (or a subsidiary, affiliated entity, or group purchasing organization or
  rebate aggregator acting on a PBM Defendant’s behalf), either directly via contract or
  indirectly via Manufacturer-controlled intermediaries. Manufacturer Payments
  includes rebates, administrative fees, inflation fees, pharmacy supplemental
  discounts, volume discounts, price or margin guarantees and any other form of
  consideration exchanged.


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  credits, inflation/price protection fees, and administrative fees. By whatever name,

  the inflated list prices and resulting Manufacturer Payments are a quid pro quo for

  inclusion and favorable placement on the PBMs’ formularies.6

        19. Contracts between the PBM Defendants and payors like Plaintiff tie the

  definition of “rebates” to patient drug utilization. But the contracts between the PBMs

  and Manufacturers define “rebates” and other Manufacturer Payments differently,

  e.g., by calling rebates for formulary placement “administrative fees.” Defendants

  consequently profit from the “rebates” and other Manufacturer Payments, which are

  shielded from payors’ contractual audit rights, thereby precluding payors from

  verifying the components or accuracy of the “rebates” that payors receive.

        20. In recent years, the PBM Defendants have further obfuscated the rebate

  payment trail by forming group purchasing organizations (“GPOs”) known as “rebate

  aggregators.” These PBM subsidiaries—as relevant here, Defendants Zinc (CVS),

  Ascent (Express Scripts), and Emisar (OptumRx)—negotiate rebates and other fees

  on the PBMs’ behalf and retain a portion of the rebates and fees collected. As a result,

  these fees are neither passed through to payors nor subject to audit under the terms

  of payors’ sponsor agreements with the PBMs. Because the rebate aggregators are

  6
    Favorable or preferred placement may, for example, involve placing a branded
  product in a lower cost-sharing tier or relaxing utilization controls (such as prior
  authorization requirements or quantity limits). Favorable placement of a relatively
  more expensive drug encourages use of that drug and leads to higher out-of-pocket
  costs for payors and co-payors.

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  PBM subsidiaries, however, the PBMs secure additional profits from each drug

  purchase.

        21. The PBM Defendants’ staggering revenues vastly exceed the fair market

  value of their services—both generally and with respect to the at-issue drugs.

        22. The Manufacturers’ initial list prices for the at-issue drugs are not the

  result of free market competition for payors’ business. On the contrary, their list

  prices are so exorbitant in comparison to the net prices they ultimately realize that

  the Manufacturers know that their initial list prices constitute false prices. These list

  prices reflect neither the Manufacturers’ actual costs to produce the at-issue drugs

  nor the fair market value of those drugs. Rather, they are artificially inflated solely to

  facilitate the Insulin Pricing Scheme.7

        23. The PBM Defendants grant formulary status based on (a) the highest

  inflated price—which the PBMs know to be false—and (b) which diabetes

  medications generate the largest profits for themselves.

        24. The Insulin Pricing Scheme thus creates a “best of both worlds” scenario

  for Defendants. The PBMs get exorbitant secret Manufacturer Payments based on the



  7
    “Net price” refers to the price the manufacturer ultimately realizes—that is, the list
  price less rebates, and other discounts (net sales divided by volume). At times,
  Defendants’ representatives use “net price” to refer to the amount payors or plan
  members pay for medications. In this Complaint, “net price” refers to the former—
  the amount that the Manufacturers realize for the at-issue drugs, which is roughly the
  list price less Manufacturer Payments.
                                             11
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  Manufacturers’ list prices, and the Manufacturers increase their sales and revenues

  by being favorably placed on formularies. As the PBMs get larger and larger

  Manufacturer Payments, the Manufacturers simply increase their list prices further.

        25. The PBM Defendants profit off the Insulin Pricing Scheme in many ways,

  including: (a) retaining a significant, yet secret, share of the Manufacturer Payments,

  either directly or through rebate aggregators like Defendants Zinc, Ascent, and

  Emisar, (b) using the prices produced by the Insulin Pricing Scheme to generate

  unwarranted profits from pharmacies, and (c) relying on those same artificial list

  prices to drive up the PBMs’ margins and pharmacy-related fees, including those

  relating to their mail-order pharmacies. In addition, because the PBM Defendants

  claim that they can extract higher rebates due to their market power, ever-rising list

  prices increase demand for the PBMs’ purported negotiation services.

        26. As detailed below, although the PBM Defendants represent both publicly

  and directly to their client payors that they use their market power to drive down

  prices for diabetes medications, these representations are false and deceptive. Instead,

  the PBMs intentionally incentivize the Manufacturers to inflate their list prices. The

  PBMs’ “negotiations” intentionally drive up the price of the at-issue drugs and are

  directly responsible for the skyrocketing prices of diabetes medications, conferring

  unearned benefits upon the PBMs and Manufacturers alike.

        27. Because the purchase price of every at-issue diabetes medication flows


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  from a false list price generated by Defendants’ unfair and deceptive scheme, every

  payor in the United States that purchases these life-sustaining drugs, including

  Plaintiff, has been directly harmed by the Insulin Pricing Scheme.

         28. Even if temporary reductions in Plaintiff’s costs for the at-issue drugs

  occur from time to time, those costs remain higher than costs that would have resulted

  from a transparent exchange in a free and open market.

         29.   As a payor for and purchaser of the at-issue drugs, Plaintiff has been

  overcharged millions of dollars during the relevant period as a direct result of the

  Insulin Pricing Scheme. Indeed, since 2018, Braman has spent more than $1 million

  on the at-issue diabetes medications.

         30.   A substantial portion of this amount is attributable to the artificially

  inflated prices of the at-issue drugs, which arose not from transparent or competitive

  market forces, but from undisclosed, opaque, and unlawful conduct on the part of the

  Manufacturer Defendants and the PBM Defendants.

         31.   This action alleges that Defendants violated the Racketeer Influenced

  and Corrupt Organizations Act, the Florida Deceptive and Unfair Trade Practices

  Act, and Florida common law by engaging in the Insulin Pricing Scheme. The Insulin

  Pricing Scheme directly and foreseeably caused, and continues to cause, harm to

  Plaintiff.




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        32.    This action seeks injunctive relief, restitution, disgorgement, actual

  damages, statutory damages and/or penalties, punitive damages, attorneys’ fees and

  costs, and all other available relief to address and abate the harm caused by the Insulin

  Pricing Scheme.

        33.    The relevant period for the claims alleged is from 2003 through the

  present.

                                             PARTIES
        A.     Plaintiff
        34.    Plaintiff Braman Motors, Inc., d/b/a Braman Management

  Association (“Braman Motors”) is organized under Florida law and engaged in the

  business of automobile sales and leasing. Braman Motors’s principal place of

  business is in Miami, Florida.

        35.    Plaintiff Braman Hyundai, Inc. (“Braman Hyundai”) is organized

  under Florida law and engaged in the business of automobile sales and leasing.

  Braman Hyundai’s principal place of business is in Miami, Florida.

        36.     Plaintiff Braman Cadillac, Inc. (“Braman Cadillac”) is organized

  under Florida law and engaged in the business of automobile sales and leasing.

  Braman Cadillac’s principal place of business is in Miami, Florida.

        37.    Plaintiff Braman Imports, Inc. (“Braman Imports”) is organized

  under Florida law and engaged in the business of automobile sales and leasing.


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  Braman Imports’s principal place of business is in Miami, Florida.

        38.   Plaintiff Braman Palm Beach, Inc. (“Braman Palm Beach”) is

  organized under Florida law and engaged in the business of automobile sales and

  leasing. Braman Palm Beach’s principal place of business is in Greenacres, Florida.

        39.   Plaintiff Braman Automotive, Inc. (“Braman Automotive”) is

  organized under Florida law and engaged in the business of automobile sales and

  leasing. Braman Automotive’s principal place of business is in West Palm Beach,

  Florida.

        40.   Plaintiff Palm Beach Imports, Inc. (“Palm Beach Imports”) is

  organized under Florida law and engaged in the business of automobile sales and

  leasing. Palm Beach Imports’s principal place of business is in West Palm Beach,

  Florida.

        41.   As set forth above, the Braman entities named herein as plaintiffs will

  be referenced collectively herein as “Braman” or “Plaintiff,” as they share common

  ownership and their employees were covered at all times relevant by the same self-

  funded health insurance plan and pharmacy benefit services agreements.

        42.   Plaintiff operates car dealerships throughout South Florida and in

  Denver, Littleton, and Lakewood, Colorado. As an employer, Plaintiff provides

  health benefits to its employees and their dependents (“Beneficiaries”). These

  benefits include paying for Beneficiaries’ pharmaceutical drugs, including the at-


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  issue diabetes medications.

        43.    Plaintiff maintains a self-insured health plan for its Beneficiaries,

  including approximately 1,091 employees and 629 dependents.

        44.    Plaintiff spends more than $200,000 per year on the costs of providing

  diabetes medications for its health-plan members. Accordingly, during the relevant

  period, and to the detriment of its Beneficiaries and taxpayers, Plaintiff has paid

  millions of dollars more for insulin and insulin analogs than it otherwise would have

  paid absent Defendants’ conduct.

        45.    Braman seeks to recover for the losses it has suffered due to Defendants’

  illegal Insulin Pricing Scheme.

        B.     Manufacturer Defendants
        46.    Defendant Eli Lilly and Company (“Eli Lilly”) is an Indiana

  corporation with its principal place of business at Lilly Corporate Center,

  Indianapolis, Indiana 46285.

        47.    Eli Lilly is and has since 1962 been registered to do business in the

  State of Florida.

        48.    In Florida and nationally, Eli Lilly manufactures, promotes, and

  distributes several at-issue diabetes medications, including: Humulin N (first U.S.

  approval in 1982), Humulin R (first U.S. approval in 1982), Humalog (first U.S.

  approval in 1996), Trulicity (first U.S. approval in 2014), and Basaglar (first U.S.


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  approval in 2015).

          49.   Eli Lilly’s domestic revenues from 2019 to 2021 were $11.9 billion

  from Trulicity, $4.48 billion from Humalog, $2.58 billion from Humulin and $2.31

  billion from Basaglar.8

          50.   Eli Lilly’s global revenues in 2018 were $3.2 billion from Trulicity,

  $2.99 billion from Humalog, $1.33 billion from Humulin and $801 million from

  Basaglar.

          51.   Eli Lilly transacts business in Florida, targeting these markets for its

  products, including the at-issue diabetes medications.

          52.   Eli Lilly employs sales representatives throughout Florida, to promote

  and sell Humulin N, Humulin R, Humalog, Trulicity, and Basaglar.

          53.   Eli Lilly also directs advertising and informational materials to Florida

  physicians and potential users of Eli Lilly’s products.

          54.   At all times relevant hereto, in furtherance of the Insulin Pricing

  Scheme, Eli Lilly published its prices for the at-issue diabetes medications

  throughout Florida with the express knowledge that payment and reimbursement by

  Plaintiff would be based on those false list prices.

          55.   During the relevant period, Plaintiff purchased Eli Lilly’s at-issue drugs

  at prices based on false list prices generated by the Insulin Pricing Scheme through


  8
      Eli Lilly Annual Report (Form 10-K) (FYE Dec. 31, 2021).
                                             17
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  its employee health plans.

        56.    All Eli Lilly diabetes medications related to the at-issue transactions

  were paid for and/or reimbursed in Florida based on the specific false and inflated

  prices Eli Lilly caused to be published in Florida in furtherance of the Insulin Pricing

  Scheme.

        57.    Defendant Sanofi-Aventis U.S. LLC (“Sanofi”) is a Delaware limited

  liability company with its principal place of business at 55 Corporate Drive,

  Bridgewater, New Jersey 08807.

        58. Sanofi is and has since 2006 been registered to do business in the State of

  Florida.

        59.    Sanofi manufactures, promotes, and distributes pharmaceutical drugs

  both in Florida and nationally, including Lantus (first U.S. approval in 2000), Apidra

  (first U.S. approval in April 2004), Toujeo (first U.S. marketing authorization in

  February 2015), and Soliqua (first U.S. approval in November 2016).

        60. Sanofi touts Lantus as one of its “flagship products” and “one of Sanofi’s

  leading products in 2021 with net sales of €2,494 million” ($2.95 billion), as well as

  net sales of €2,661million ($3.04 billion) in 2020, representing 7.4% of the

  company’s net sales for 2020.9


  9
    Sanofi Annual Report (Form 20-F) (FYE Dec. 31, 2021); Sanofi Annual Report
  (Form 20-F) (FYE Dec. 31, 2020).


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          61. Sanofi’s U.S. net sales in 2019 were $1.29 billion from Lantus, $323.7

  million from Toujeo, and $51.5 million from Apidra.10

          62.    Sanofi transacts business in Florida, targeting these markets for its

  products, including the at-issue diabetes medications.

          63.    Sanofi employs sales representatives throughout Florida and in this

  District to promote and sell Lantus, Toujeo, Soliqua, and Apidra, and uses

  wholesalers to distribute the at-issue products to pharmacies and healthcare

  professionals within Florida.

          64.    Sanofi also directs advertising and informational materials to Florida

  physicians and potential users of Sanofi’s products for the specific purpose of selling

  the at-issue drugs in Florida and profiting from the Insulin Pricing Scheme.

          65.    At all times relevant hereto, in furtherance of the Insulin Pricing

  Scheme, Sanofi published its prices of its at-issue diabetes medications throughout

  Florida for the purpose of payment and reimbursement by payors, including Plaintiff.

          66.    During the relevant period, Plaintiff purchased Sanofi’s at-issue drugs

  at prices based on false list prices generated by the Insulin Pricing Scheme through

  its employee health plans.

          67.    All Sanofi diabetes medications related to the at-issue transactions were

  paid for and/or reimbursed in Florida based on the specific false and inflated prices


  10
       Sanofi Annual Report (Form 20-F) (FYE Dec. 31, 2019).
                                             19
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  Sanofi caused to be published in Florida in furtherance of the Insulin Pricing Scheme.

             68.   Defendant Novo Nordisk Inc. (“Novo Nordisk”) is a Delaware

  corporation with its principal place of business at 800 Scudders Mill Road,

  Plainsboro, New Jersey 08536.

             69.   Novo Nordisk is and has since 1995 been registered to do business in

  the State of Florida.

             70.   Novo Nordisk manufactures, promotes, and distributes pharmaceutical

  drugs both in Florida and nationally, including Novolin R (first U.S. approval in

  1991), Novolin N (first U.S. approval in 1991), Novolog (first U.S. approval in June

  2002), Levemir (first U.S. approval in June 2005), Victoza (first U.S. approval in

  January 2010), Tresiba (first U.S. approval in 2015), and Ozempic (first U.S.

  approval in 2017).

             71.   Novo Nordisk’s combined net sales of these drugs in the United States

  from 2018 to 2020 totaled approximately $18.1 billion ($6.11 billion for Victoza

  alone).11

             72.   Novo Nordisk’s global revenues for “total diabetes care” over that

  three-year period exceeded $41 billion.12

             73.   Novo Nordisk transacts business in Florida, targeting these markets for


  11
       Novo Nordisk, Annual Report (Form 20-F) (Dec. 31, 2019).
  12
       Id.
                                              20
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  its products, including the at-issue diabetes medications.

        74.    Novo Nordisk employs sales representatives throughout Florida to

  promote and sell Novolin R, Novolin N, Novolog, Levemir, Tresiba, Victoza, and

  Ozempic, and it utilizes wholesalers to distribute the at-issue products to pharmacies

  and healthcare professionals within Florida.

        75.    Novo Nordisk also directs advertising and informational materials to

  Florida physicians and potential users of Novo Nordisk’s products.

        76.    At all times relevant hereto, in furtherance of the Insulin Pricing

  Scheme, Novo Nordisk published its prices of its at-issue diabetes medications

  throughout Florida for the purpose of payment and reimbursement by Plaintiff.

        77.    During the relevant period, Plaintiff purchased Novo Nordisk’s at-issue

  diabetes medications at prices based on false list prices generated by the Insulin

  Pricing Scheme through its employee health plans.

        78.    All Novo Nordisk diabetes medications related to the at-issue

  transactions were paid for and/or reimbursed in Florida based on the specific false

  and inflated prices Novo Nordisk caused to be published in Florida in furtherance of

  the Insulin Pricing Scheme.

        79.    As set forth above, Eli Lilly, Sanofi, and Novo Nordisk are referred to

  collectively as the “Manufacturer Defendants” or the “Manufacturers.”




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         C.     PBM Defendants

                                    CVS Caremark

         80.    Defendant CVS Health Corporation (“CVS Health”) is a Delaware

  corporation with its principal place of business at One CVS Drive, Woonsocket,

  Rhode Island 02895. CVS Health transacts business and has locations throughout the

  United States and Florida.

         81.    CVS Health transacts business and has locations throughout the United

  States and Florida.

         82.    CVS Health—through its executives and employees, including its CEO,

  Chief Medical Officer, Executive Vice Presidents, Senior Executives in Trade

  Finance, Senior Vice Presidents, and Chief Communication Officers—is directly

  involved in creating and implementing the company policies that inform its PBM

  services and formulary construction, including with respect to the at-issue drugs

  involved in the Insulin Pricing Scheme.

         83.    CVS Health’s conduct had a direct effect in Florida and damaged

  Plaintiff as a payor and purchaser.

         84.    On a regular basis, CVS Health executives and employees communicate

  with and direct its subsidiaries related to the at-issue PBM services and formulary

  activities.

         85.    In annual reports filed with the SEC throughout the last decade, CVS


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  Health (or its predecessor) has repeatedly and explicitly stated that CVS Health itself:

              • designs pharmacy benefit plans that minimize the costs to the client
                while prioritizing the welfare and safety of the clients’ members;

              • negotiates with pharmaceutical companies to obtain discounted
                acquisition costs for many of the products on CVS Health’s drug lists,
                and these negotiated discounts enable CVS Health to offer reduced costs
                to clients; and

              • utilizes an independent panel of doctors, pharmacists, and other medical
                experts, referred to as its Pharmacy and Therapeutics Committee, to
                select drugs that meet the highest standards of safety and efficacy for
                inclusion on its drug lists.

        86.      CVS Health publicly represents that it lowers the cost of the at-issue

  diabetes medications. For example, in 2016, CVS Health announced a new program

  to “reduce overall spending in diabetes” that is available in all states, including

  Florida, stating:

        CVS Health introduced a new program available to help the company’s
        pharmacy benefit management (PBM) clients to improve the health
        outcomes of their members, lower pharmacy costs [for diabetes
        medications] through aggressive trend management and decrease
        medical costs . . . [and that] participating clients could save between
        $3,000 to $5,000 per year for each member who successfully improves
        control of their diabetes” (emphasis supplied).13

        87.      A 2017 CVS Health report stated: “CVS Health pharmacy benefit

  management (PBM) strategies reduced trend for commercial clients to 1.9 percent


  13
     CVS HEALTH, CVS Health Introduces New “Transform Diabetes Care” Program
  to Improve Health Outcomes and Lower Overall Health Care Costs (Dec. 13, 2016),
  https://cvshealth.com/newsroom/press-releases/cvs-health-introduces-new-
  transform-diabetes-care-program-improve-health.
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  per member per year the lowest in five years. Despite manufacturer price increases

  of near 10 percent, CVS Health kept drug price growth at a minimal 0.2 percent.”

          88.   In November 2018, CVS Health acquired Aetna for $69 billion and

  became the first combination of a major health insurer, PBM, and mail-order and

  retail pharmacy chain. As a result, CVS Health controls the health plan/insurer, the

  PBM, and the pharmacies used by approximately 40 million Aetna members in the

  United States, including in Florida. CVS Health controls the entire drug payment

  chain for these 40 million Americans.

          89.   CVS Health is the immediate or indirect parent of many pharmacy

  subsidiaries that own and operate hundreds of pharmacies throughout Florida,

  including CVS Pharmacy, Inc., which is registered to do business in the state. These

  pharmacies dispensed and received payment for the at-issue diabetes medications

  throughout the relevant period. According to CVS Health’s 2022 Form 10-K filed

  with the U.S. Securities and Exchange Commission, the company “maintains a

  national network of approximately 66,000 retail pharmacies, consisting of

  approximately 40,000 chain pharmacies (which include CVS Pharmacy locations)

  and approximately 26,000 independent pharmacies, in the United States.”14

          90.   Defendant CVS Pharmacy, Inc. (“CVS Pharmacy”) is a Rhode Island



  14
       CVS Health Annual Report (Form 10-K) (FYE Dec. 31, 2022).

                                          24
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  corporation whose principal place of business is at the same location as CVS Health.

  CVS Pharmacy is a wholly owned subsidiary of CVS Health.

         91.     CVS Pharmacy—a wholly owned subsidiary of CVS Health—is and

  has since 1997 been registered to do business in the State of Florida. CVS Pharmacy

  is the immediate or indirect parent of many pharmacy subsidiaries that own and

  operate hundreds of pharmacies throughout Florida and is directly involved in these

  pharmacies dispensing and payment policies related to the at-issue diabetes

  medications.

         92.     CVS Pharmacy is also the immediate and direct parent of Defendant

  Caremark Rx, LLC.

         93.     CVS Pharmacy holds numerous pharmacy licenses (d/b/a CVS Health)

  in Florida.

         94.     During the relevant period, CVS Pharmacy provided retail pharmacy

  services in Florida that gave rise to the Insulin Pricing Scheme, which damaged

  payors, including Plaintiff.

         95.     Defendant Caremark Rx, LLC is a Delaware limited liability

  company and an immediate or indirect parent of many subsidiaries, including

  pharmacy benefit management and mail-order subsidiaries that engaged in the

  activities in Florida that gave rise to this action.

         96.     Caremark Rx, LLC is a subsidiary of Defendant CVS Pharmacy, which


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  is a wholly owned subsidiary of Defendant CVS Health, and its principal place of

  business is at the same location as CVS Pharmacy and CVS Health.

        97.    During the relevant period, Caremark Rx, LLC provided PBM and mail-

  order pharmacy services in Florida that gave rise to the Insulin Pricing Scheme and

  damaged payors in Florida, including Plaintiff.

        98.    Defendant Caremark, LLC is a California limited liability company

  whose principal place of business is at the same location as CVS Health.

        99.    CVS Caremark is a subsidiary of Caremark Rx, LLC, which is a

  subsidiary of Defendant CVS Pharmacy, which is a wholly owned subsidiary of

  Defendant CVS Health.

        100. During the relevant period, Caremark, LLC provided PBM and mail-

  order pharmacy services in Florida that gave rise to the Insulin Pricing Scheme,

  which damaged payors, including Plaintiff.

        101. Defendant CaremarkPCS Health, LLC (“CaremarkPCS Health”) is

  a Delaware limited liability company whose principal place of business is at the same

  location as CVS Health.

        102. CaremarkPCS Health is a subsidiary of CaremarkPCS, LLC, which is a

  subsidiary of Caremark Rx, LLC, which is a subsidiary of Defendant CVS Pharmacy,

  which is a wholly owned subsidiary of Defendant CVS Health.

        103.   CaremarkPCS Health, doing business as CVS Caremark, provides


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  pharmacy benefit management services.

        104. During the relevant period, CaremarkPCS Health provided PBM

  services in the State of Florida, which gave rise to the Insulin Pricing Scheme and

  damaged payors, including Plaintiff.

        105. Defendant Zinc Health Services, LLC (“Zinc”) is a Delaware limited

  liability company with its principal place of business at One CVS Drive,

  Woonsocket, Rhode Island 02895.

        106. Zinc is a direct subsidiary of CVS Pharmacy, which is a direct subsidiary

  of CVS Health.

        107. CVS Health established Zinc as a GPO for CVS Caremark’s PBM

  business in March 2020. Zinc was founded, at least in part, to negotiate rebates with

  drug manufacturers for CVS Caremark.

        108. During the relevant period, Zinc negotiated rebates with the

  Manufacturers for at-issue drugs sold and distributed in Florida.

        109. Defendants CaremarkPCS Health, Caremark, LLC, and Zinc are agents

  and/or alter egos of Caremark Rx, LLC, CVS Pharmacy, and CVS Health.

        110. As a result of numerous interlocking directorships and shared executives,

  Caremark Rx, LLC, CVS Pharmacy, and CVS Health are directly involved in the

  conduct of and control CaremarkPCS Health’s and Caremark, LLC’s operations,

  management, and business decisions related to the at-issue formulary construction,


                                           27
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  Manufacturer Payments, and mail-order and retail pharmacy services to the ultimate

  detriment of Plaintiff. For example:

        a.    During the relevant period, these parents and subsidiaries have had

              common officers and directors, including:

                 • Thomas S. Moffatt, Vice President and Secretary of Caremark Rx,

                    LLC, CaremarkPCS Health, and Caremark, LLC, has also served

                    as Vice President, Assistant Secretary, and Senior Legal Counsel

                    at CVS Health and the Vice President, Secretary and Senior Legal

                    Counsel of CVS Pharmacy;

                 • Melanie K. Luker, Assistant Secretary of Caremark Rx, LLC,

                    CaremarkPCS Health, and Caremark, LLC, has also served as

                    Manager of Corporate Services at CVS Health;

                 • Carol A. Denale, Senior Vice President and Treasurer of Caremark

                    Rx, LLC, has also served as Senior Vice President, Treasurer and

                    Chief Risk Officer at CVS Health Corporation;

                 • John M. Conroy has been Vice President of Finance at CVS

                    Health since 2011 and has also served as President and Treasurer

                    of Caremark, LLC and CaremarkPCS Health in 2019; and




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                   • Sheelagh Beaulieu has been the Senior Director of Income Tax at

                      CVS Health while also acting as the Assistant Treasurer at

                      CaremarkPCS Health and Caremark, LLC.

           b.   CVS Health owns all the stock of CVS Pharmacy, which owns all the

                stock of Caremark Rx, LLC, which owns all the stock of Caremark LLC.

                CVS Health directly or indirectly owns CaremarkPCS Health in its

                entirety and Zinc.

           c.   CVS Health, as a corporate unit, does not operate as separate entities.

                Rather, its public filings, documents and statements present its

                subsidiaries—including CVS Pharmacy, Caremark Rx, LLC, Caremark,

                LLC, and CaremarkPCS Health—as divisions or departments of one

                unified “diversified health services company” that “works together

                across our disciplines” to “create unmatched human connections to

                transform the health care experience.” CVS Health’s recent public filings

                also disclose that the company “operates a group purchasing organization

                that negotiates pricing for the purchase of pharmaceuticals and rebates

                with pharmaceutical manufacturers on behalf of its participants,” without

                identifying Zinc by name. 15 The day-to-day operations of this corporate



  15
       CVS Health Corp. Form 10-K, FYE Dec. 31, 2020, 2021, 2022, 2023.

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              unit reflect these public statements. These entities constitute a single

              business enterprise and should be treated as such as to all legal

              obligations discussed in this Complaint.16

        d.    All executives of CaremarkPCS Health, Caremark, LLC, Caremark Rx,

              LLC, CVS Pharmacy, and Zinc ultimately report to the executives at

              CVS Health, including its President and CEO.

        e.    As stated above, CVS Health’s CEO, Chief Medical Officer, Executive

              Vice Presidents, Senior Executives in Trade Finance, Senior Vice

              Presidents and Chief Communication Officers are directly involved in

              the policies and business decisions by Caremark, LLC and CaremarkPCS

              Health that give rise to Plaintiff’s claims.

        111. Defendants CVS Health, CVS Pharmacy, Caremark Rx, LLC, Caremark,

  LLC, Zinc, and CaremarkPCS Health, including all predecessor and successor

  entities, are referred to collectively as “CVS Caremark.”

        112. CVS Caremark is named as a Defendant in its capacities as a PBM, a

  rebate aggregator, and a mail-order pharmacy.




  16
     CVS Caremark/CVS Health Annual Report (Form 10-K) (Dec. 31, 2009-2019);
  CVS Health, Our Purpose, https://cvshealth.com/about-cvs-health/our-purpose (last
  visited Nov. 6, 2024); CVS Health, Quality of Care, https://cvshealth.com/health-
  with-heart/improving-health-care/quality-of-care (last visited Nov. 6, 2024).
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          113. In its capacity as a PBM, CVS Caremark coordinated with Novo

  Nordisk, Eli Lilly, and Sanofi regarding the price of the at-issue diabetes medications,

  as well as for the placement of these firms’ diabetes medications on CVS Caremark’s

  formularies.

          114. CVS Caremark has the largest PBM market share based on total

  prescription claims managed. Its pharmacy services segment provides, among other

  things, plan design offerings and administration, formulary management, retail

  pharmacy network management services, mail-order pharmacy, specialty pharmacy

  and infusion services, clinical services, and medical spend management. In 2021,

  CVS Caremark’s pharmacy services segment “surpassed expectations” and had a

  “record selling season of nearly $9 billion in net new business wins for 2022.” In all,

  it generated just over $153 billion in total revenues (on top of total 2019-2020

  segment revenues exceeding $283 billion).17

          115. At all relevant times, CVS Caremark offered pharmacy benefit services

  nationwide and to Florida payors, and derived substantial revenue therefrom, and, in

  doing so, (a) made misrepresentations while concealing the Insulin Pricing Scheme,

  and (b) utilized the false prices generated by the Insulin Pricing Scheme.

          116. At all relevant times, CVS Caremark offered PBM services nationwide

  and maintained standard formularies that were used nationwide, including in Florida.


  17
       CVS Health Annual Report (Form 10-K) (FYE Dec. 31, 2021).
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  Those formularies included diabetes medications, including those at issue in this

  action, and CVS Caremark participated in pricing the at-issue drugs based off the list

  prices it knew to be false.

        117. CVS Caremark purchased drugs directly from manufacturers for

  dispensing through its pharmacy network.

        118. Further, in its capacity as a retail pharmacy, CVS Caremark knowingly

  profited from the false list prices produced by the Insulin Pricing Scheme by

  pocketing the spread between the acquisition cost for the at-issue drugs (an amount

  well below the list price generated by the Insulin Pricing Scheme) and the amounts

  it received from payors (amounts that were based on the false list prices and, in many

  cases, were set by CVS Caremark in its capacity as a PBM).

        119. During the relevant period, CVS Caremark provided mail-order and

  retail pharmacy services nationwide and within the State of Florida and employed

  prices based on the false list prices generated by the Insulin Pricing Scheme.

        120. At all relevant times, CVS Caremark dispensed the at-issue medications

  nationwide and within the State of Florida through its mail-order and retail

  pharmacies and it derived substantial revenue from these activities in Florida.

        121. At all relevant times, CVS Caremark had express agreements with Novo

  Nordisk, Sanofi, and Eli Lilly related to the Manufacturer Payments paid by the




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  Manufacturer Defendants to CVS Caremark, as well as agreements related to the

  Manufacturers’ at-issue drugs sold through CVS Caremark’s mail-order pharmacies.

                                    Express Scripts

         122. Defendant Evernorth Health, Inc. (“Evernorth”), formerly known as

  Express Scripts Holding Company, is a Delaware corporation with its principal

  place of business at One Express Way, St. Louis, Missouri 63121.18

         123. Evernorth, through its executives and employees, including its CEO and

  Vice Presidents, is directly involved in shaping the company policies that inform its

  PBM services and formulary construction, including with respect to the at-issue

  drugs, related to the Insulin Pricing Scheme.

         124. Evernorth’s conduct has had a direct effect in Florida and on Plaintiff.

         125. On a regular basis, Evernorth executives and employees communicate

  with and direct Evernorth’s subsidiaries related to the at-issue PBM services and

  formulary activities.

         126. Evernorth is the immediate or indirect parent of pharmacy and PBM

  subsidiaries that operate throughout Florida, which engaged in the activities that gave

  rise to this action.

         127. In 2018, Evernorth merged with Cigna in a $67 billion deal to


  18
    Until 2021, Evernorth Health, Inc. conducted business under the name Express
  Scripts Holding Company. For the purposes of this Complaint “Evernorth” refers to
  Evernorth Health, Inc. and Express Scripts Holding Company.
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  consolidate their businesses as a major health insurer, PBM, and mail-order

  pharmacy. As a result, the Evernorth corporate family controls the health

  plan/insurer, the PBM, and the mail-order pharmacies used by approximately 15

  million Cigna members in the United States, including in Florida. Evernorth controls

  the entire drug payment chain for these 15 million Americans.

        128. In annual reports filed with the SEC throughout the last decade,

  Evernorth repeatedly and explicitly:

           • Acknowledged that it is directly involved in the company’s PBM
             services, stating “[Evernorth is] the largest stand-alone PBM company
             in the United States.”

           • Stated that Evernorth: “provid[es] products and solutions that focus on
             improving patient outcomes and assist in controlling costs; evaluat[es]
             drugs for efficacy, value and price to assist clients in selecting a cost-
             effective formulary; [and] offer[s] cost-effective home delivery
             pharmacy and specialty services that result in cost savings for plan
             sponsors and better care for members.”

        129. Even after the merger with Cigna, Evernorth “operates various group

  purchasing organizations that negotiate pricing for the purchase of pharmaceuticals

  and formulary rebates with pharmaceutical manufacturers on behalf of their

  participants” and operates the company’s Pharmacy Rebate Program while its

  subsidiary Express Scripts provides “formulary management services” that

  ostensibly “assist customers and physicians in choosing clinically-appropriate, cost-

  effective drugs and prioritize access, safety and affordability.” In 2021, Evernorth

  reported adjusted revenues of $131.9 billion (representing 75.8% of Cigna
                                           34
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  Corporation’s revenues), up from $116.1 billion in 2020.19

          130. Defendant Cigna Health and Life Insurance Company (“Cigna

  Health”) is a Delaware corporation with its principal place of business in Bloomfield,

  Connecticut. Cigna Health is an operating subsidiary of Evernorth Health, Inc.

          131. Cigna Health has been registered to do business in Florida since 1996.

          132. Cigna Health provides health and life insurance plans to payors

  throughout the United States, including in Florida. As part of these services, Cigna

  Health also provides prescription drug coverage and pharmacy benefit management

  services.

          133. Cigna Health provided stop-loss and other coverage to Plaintiff during

  the relevant period, as well as pharmacy benefit management services. Specifically,

  Cigna Health provided pharmacy benefit management services to Plaintiff (and its

  Beneficiaries) for many years, beginning on or around January 1, 2018, through

  March 31, 2023.

          134. Defendant Express Scripts, Inc. is a Delaware corporation and is a

  wholly owned subsidiary of Defendant Evernorth. Express Scripts, Inc.’s principal

  place of business is at the same location as Evernorth.

          135. Express Scripts, Inc. has been registered to do business in Florida since

  2003.


  19
       Cigna Annual Report (Form 10-K) (FYE Dec. 31, 2021).
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         136. Express Scripts, Inc. is the immediate or indirect parent of pharmacy

  and PBM subsidiaries that operate throughout Florida that engaged in the conduct

  that gave rise to this action.

         137. During the relevant period, Express Scripts Inc. was directly involved

  in the PBM and mail-order pharmacy services that gave rise to the Insulin Pricing

  Scheme and damaged payors, including Plaintiff.

         138. Indeed, Express Scripts, Inc. has provided pharmacy benefit

  management services to Plaintiff from April 1, 2023, to the present.

         139. Defendant Express Scripts Administrators, LLC, doing business as

  Express Scripts and formerly known as Medco Health, LLC, is a Delaware limited

  liability company and is a wholly owned subsidiary of Evernorth. Express Scripts

  Administrators, LLC’s principal place of business is at One Express Way, St. Louis,

  Missouri 63121—the same location as Evernorth.

         140. During the relevant period, Express Scripts Administrators, LLC

  provided the PBM services in Florida discussed in this Complaint that gave rise to

  the Insulin Pricing Scheme that damaged payors, including Plaintiff.

         141. Defendant Medco Health Solutions, Inc. (“Medco”) is a Delaware

  Corporation with its principal place of business located at the same address as

  Evernorth.

         142. Medco has been registered to do business in Florida since at least 2002.


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        143. Express Scripts acquired Medco in 2012.

        144. Until its acquisition by Express Scripts, Medco’s principal place of

  business was in Franklin Lakes, New Jersey.

        145. Before the merger, Express Scripts and Medco were two of the largest

  PBMs in the United States and in Florida.

        146. Before the merger, Medco provided the at-issue PBM and mail-order

  services in Florida, which gave rise to the Insulin Pricing Scheme and damaged

  payors, including Plaintiff.

        147. Following the merger, all of Medco’s PBM and mail-order pharmacy

  functions were combined into Express Scripts. The combined company (Medco and

  Express Scripts) continued under the name Express Scripts with all of Medco’s

  payor customers becoming Express Scripts’ customers. The combined company

  covered over 155 million lives at the time of the merger.

        148. At the time of the merger, on December 6, 2011, in his testimony

  before the Senate Judiciary Committee, David Snow, then-CEO of Medco, publicly

  represented that “the merger of Medco and Express Scripts will result in immediate

  savings to our clients and, ultimately, to consumers. This is because our combined

  entity will achieve even greater purchasing volume discounts [i.e., Manufacturer




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  Payments] from drug manufacturers and other suppliers.”20

        149. At the same time, the then-CEO of Express Scripts, George Paz,

  provided written testimony to the Senate Judiciary Committee’s Subcommittee on

  Antitrust, Competition Policy and Consumer Rights, stating: “A combined Express

  Scripts and Medco will be well-positioned to protect American families from the

  rising cost of prescription medicines.” First on Mr. Paz’s list of “benefits of this

  merger” was “[g]enerating greater cost savings for patients and plan sponsors.”21

        150. Defendant ESI Mail Pharmacy Service, Inc. is a Delaware

  corporation and is a wholly owned subsidiary of Defendant Evernorth. ESI Mail

  Pharmacy Service, Inc.’s principal place of business is the same location as

  Evernorth.

        151. During the relevant period, ESI Mail Pharmacy Service, Inc. provided

  the mail-order pharmacy services in Florida discussed in this Complaint, which gave

  rise to the Insulin Pricing Scheme and damaged payors, including Plaintiff.

        152. Defendant Express Scripts Pharmacy, Inc. is a Delaware corporation

  and is a wholly owned subsidiary of Defendant Evernorth. Express Scripts Pharmacy,

  Inc.’s principal place of business is at the same location as Evernorth.



  20
    Transcript available at https://www.judiciary.senate.gov/imo/media/doc/11-12-
  6SnowTestimony.pdf (last visited Apr. 5, 2024).
  21
     Transcript available at https://www.judiciary.senate.gov/imo/media/doc/11-12-
  6PazTestimony.pdf (last visited Apr. 4, 2024).
                                            38
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        153. Express Scripts Pharmacy, Inc. is and has been registered to do business

  in Florida since 2013.

        154. During the relevant period, Express Scripts Pharmacy, Inc. provided the

  mail-order pharmacy services in Florida discussed in this Complaint, which gave rise

  to the Insulin Pricing Scheme and damaged payors, including Plaintiff.

        155. Defendant Ascent Health Services LLC (“Ascent”) is a Delaware

  limited liability company with its principal place of business at Mǖhlentalstrasse 36,

  8200 Schaffhausen, Switzerland.

        156. Ascent is part of Evernorth and a subsidiary of Cigna Corporation.

        157. Express Scripts established Ascent in 2019 as a GPO for Express

  Scripts’ PBM business. Ascent was founded, at least in part, to negotiate rebates

  with drug manufacturers for Express Scripts and now performs this service for

  Express Scripts and third-party clients.

        158. During the relevant period, Ascent negotiated rebates with the

  Manufacturers for at-issue drugs sold and distributed in Florida.

        159. As a result of numerous interlocking directorships and shared

  executives, Evernorth (f/k/a Express Scripts Holding Company, Inc.) and Express

  Scripts, Inc. control Cigna Health’s, Express Scripts Administrators, LLC’s, ESI

  Mail Pharmacy Service, Inc.’s, Medco Health Solutions, Inc.’s, Express Scripts

  Pharmacy, Inc.’s, and Ascent’s operations, management, and business decisions


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  related to the at-issue formulary construction, negotiations, and mail-order pharmacy

  services to the ultimate detriment of Plaintiff. For example:

             a.   During the relevant period, these entities have had common officers and

                  directors:

                     • officers and/or directors shared between Express Scripts, Inc. and
                       Evernorth include Bradley Phillips, Chief Financial Officer;
                       David Queller, President; Jill Stadelman, Managing Counsel;
                       Dave Anderson, VP of Strategy; Matt Perlberg, President of
                       Pharmacy Businesses; Bill Spehr, SVP of Sales; and Scott
                       Lambert, Treasury Manager Director;

                     • executives shared between Express Scripts Administrators, LLC
                       and Evernorth include Bradley Phillips, Chief Financial Officer;
                       and Priscilla Duncan, Associate Senior Counsel;

                     • officers and/or directors shared between ESI Mail Pharmacy
                       Service, Inc. and Evernorth include Bradley Phillips, Chief
                       Financial Officer; Priscilla Duncan, Associate Senior Counsel;
                       and Joanne Hart, Treasury Director; and

                     • officers and/or directors shared between Express Scripts
                       Pharmacy, Inc. and Evernorth include Bradley Phillips, Chief
                       Financial Officer; Jill Stadelman, Managing Counsel; Scott
                       Lambert, Treasury Manager Director; and Joanne Hart, Treasury
                       Director.

             b.    Evernorth directly or indirectly owns all the stock of or otherwise

                   controls Express Scripts Administrators, LLC, Medco Health

                   Solutions, Inc., ESI Mail Pharmacy Service, Inc., Express Scripts

                   Pharmacy, Inc., Express Scripts, Inc., and Ascent. 22


  22
       Express Scripts Annual Report (Form 10-K, Exhibit 21) (FYE Dec. 31, 2018).
                                             40
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          c.   The Evernorth corporate family does not operate as separate entities.

               Evernorth’s public filings, documents, and statements present its

               subsidiaries, including Cigna Health, Express Scripts Administrators,

               LLC, ESI Mail Pharmacy Service, Inc., Express Scripts Pharmacy,

               Inc., Express Scripts, Inc., and Ascent, as divisions or departments of

               a single company that “unites businesses that have as many as 30+

               years of experience . . . [to] tak[e] health services further with

               integrated data and analytics that help us deliver better care to more

               people,” and which “includes a broad range of coordinated and point

               solution health services and capabilities, as well as those from partners

               across the health care system, in pharmacy solutions, benefits

               management solutions, care delivery and care management solutions

               and intelligence solutions to deliver custom and flexible solutions that

               meet the needs of our clients and customers.”23 The day-to-day

               operations of this corporate family reflect these public statements. All

               of these entities comprise a single business enterprise and should be

               treated as such as to all legal obligations detailed in this Complaint.

          d.   All of the executives of Cigna Health, Express Scripts Administrators,

               LLC, ESI Mail Pharmacy Service, Inc., Express Scripts Pharmacy,




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                 Inc., Express Scripts, Inc., and Ascent ultimately report to the

                 executives, including the CEO, of Evernorth.

           e.    As stated above, Evernorth’s CEO and other executives and officers

                 are directly involved in the policies and business decisions of Cigna

                 Health, Express Scripts Administrators, LLC, ESI Mail Pharmacy

                 Service, Inc., Medco Health Solutions, Inc., Express Scripts

                 Pharmacy, Inc., Express Scripts, Inc., and Ascent that gave rise to

                 Plaintiff’s claims in this Complaint.

        160. Cigna Group, the ultimate parent company for each Express Scripts

  entity, has likewise represented that those entities operate as a single unit to offer

  pharmacy benefit management services. For example, Cigna Group explains that

  “[t]he Cigna Group, together with its subsidiaries (either individually or collectively

  referred to as the ‘Company,’ ‘we,’ ‘us’ or ‘our’) is a global health company” and

  that “[w]e negotiate with pharmacies throughout the United States to discount drug

  prices,” “[w]e administer specific formularies for our clients,” and “[w]e . . . provide

  retail pharmacy network administration, benefit design consultation, drug utilization

  review, drug formulary management and other services.” Cigna Group also explains

  that it employs “[c]ross-enterprise leverage” to offer its “entire suite of capabilities”

  to its clients. Cigna Group indicates that its subsidiaries operate as “segments” of a

  single company. Cigna Health’s response to Plaintiff’s request for proposals further


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  stated that “Cigna owns and operates all of our pharmacy benefit services” and that

  “certain services may be performed in part by . . . an affiliate of Cigna in order to

  help contain costs and to make use of their expertise.” In other words, the Express

  Scripts entities operate as a single business unit.

             161. Defendants Evernorth Health, Inc., Cigna Health, Express Scripts, Inc.,

  Express Scripts Administrators, LLC, ESI Mail Pharmacy Service, Inc., Medco

  Health Solutions, Inc., Express Scripts Pharmacy, Inc., and Ascent, including all

  predecessor and successor entities, are referred to collectively as “Express Scripts.”

             162. Express Scripts is named as a Defendant in its capacities as a PBM,

  rebate aggregator, and mail-order pharmacy.

             163. In its capacity as a PBM, Express Scripts coordinates with Novo

  Nordisk, Eli Lilly, and Sanofi regarding the price of the at-issue diabetes medications,

  as well as for the placement of these Manufacturers’ diabetes medications on Express

  Scripts’ formularies.

             164. Before merging with Cigna Group (then called Cigna Corporation) in

  2019, Express Scripts was the largest independent PBM in the United States.24

  During the period covered by this Complaint, Express Scripts controlled up to 30%

  of the PBM market in the United States.

             165. The Express Scripts network offers more than 68,000 retail pharmacies


  24
       Id.
                                              43
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  nationwide, including in Florida.

         166. Express Scripts transacts business throughout the United States and

  Florida.

         167. At all times relevant, Express Scripts derived substantial revenue from

  providing retail and mail-order pharmacy benefits in Florida using prices based on

  the false list prices for the at-issue drugs.

         168. At all times relevant, and contrary to its express representations,

  Express Scripts knowingly insisted that its payor clients use the false list prices

  produced by the Insulin Pricing Scheme as the basis for reimbursement of the at-

  issue drugs.

         169. At all times relevant, Express Scripts concealed its critical role in the

  generation of those false list prices.

         170. At all times relevant, Express Scripts maintained standard formularies

  that are used nationwide, including in Florida. Those formularies included drugs

  produced by the Manufacturer Defendants, including the at-issue diabetes

  medications.

         171. During the relevant period, Express Scripts provided PBM services to

  Plaintiff and, in doing so, Express Scripts set the price that Plaintiff paid for the at-

  issue drugs, at prices based on the false list prices generated by the Insulin Pricing

  Scheme, and Plaintiff Braman Motors was invoiced and paid Express Scripts


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  directly for the at-issue drugs on behalf of all named Braman entities. In particular,

  Plaintiff contracted with Cigna Health and Express Scripts, Inc. for pharmacy

  benefit management services.

        172. In its capacity as a mail-order pharmacy, Express Scripts received

  payments from Florida payors for, and set the out-of-pocket price paid for, the at-

  issue drugs based on the falsely inflated prices generated by the Insulin Pricing

  Scheme and, as a result, damaged Plaintiff.

        173. At all times relevant, Express Scripts offered pharmacy benefit

  management services nationwide and maintained standard formularies that are used

  nationwide, including in Florida. During the relevant period, those formularies

  included diabetes medications, including all of those at issue in this action.

        174. Express Scripts purchases drugs directly from manufacturers for

  dispensing through its mail-order pharmacy.

        175. At all times relevant hereto, Express Scripts dispensed the at-issue

  medications nationwide and directly to Plaintiff through its mail-order pharmacies

  and derived substantial revenue from these activities in Florida.

        176. During the relevant period, in addition to its critical role in the Insulin

  Pricing Scheme, which detrimentally affected all payors and purchasers of the at-

  issue drugs, Express Scripts also provided PBM services directly to Plaintiff.

        177. In addition, during certain years when some of the largest at-issue price


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  increases occurred, including in 2013 and 2014, Express Scripts worked directly

  with OptumRx to negotiate Manufacturer Payments on behalf of OptumRx and its

  clients in exchange for preferred formulary placement. For example, in a February

  2014 email released by the U.S. Senate in conjunction with the January 2021 Senate

  Insulin Report, Eli Lilly describes a “Russian nested doll situation” in which

  Express Scripts was negotiating rebates on behalf of OptumRx related to the at-issue

  drugs for Cigna (which later would become part of Express Scripts).25

        178. At all relevant times, Express Scripts had express agreements with

  Defendants Novo Nordisk, Sanofi, and Eli Lilly related to the Manufacturer

  Payments paid by the Manufacturer Defendants to Express Scripts, as well as

  agreements related to the Manufacturers’ at-issue drugs sold through Express

  Scripts’ pharmacies.

                                      OptumRx

        179. Defendant UnitedHealth Group, Inc. (“UnitedHealth Group”) is a

  corporation organized under the laws of Delaware with its principal place of business

  at 9900 Bren Road East, Minnetonka, Minnesota, 55343.

        180. UnitedHealth Group is a diversified managed healthcare company. Its



  25
     Letter from Joseph B. Kelley to Charles E. Grassley & Ron Wyden, S. Fin. Comm.,
  https://www.finance.senate.gov/imo/media/doc/Eli%20Lilly_Redacted%20v1.pdf
  (last visited Apr. 5, 2024).


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  total revenues in 2022 exceeded $324 billion. In 2021, its revenues exceeded $287

  billion. Since 2020, its revenues have increased by more than $30 billion per year.

  The company currently sits fifth on the Fortune 500 list.26

          181. UnitedHealth Group offers a spectrum of products and services

  including health insurance plans through its wholly owned subsidiaries and

  prescription drugs through its PBM, OptumRx. More than one-third of UnitedHealth

  Group’s overall revenues come from OptumRx, which operates a network of more

  than 67,000 pharmacies.

          182. UnitedHealth Group, through its executives and employees, is directly

  involved in the company policies that shape its PBM services and formulary

  construction, including with respect to the at-issue drugs and related to the Insulin

  Pricing Scheme. For example, UnitedHealth Group executives structure, analyze,

  and direct the company’s overarching policies, including as to PBM and mail-order

  services, as a means of maximizing profitability across the corporate organization.

          183. UnitedHealth Group’s Sustainability Report states that “OptumRx

  works directly with pharmaceutical manufacturers to secure discounts that lower the

  overall cost of medications and create tailored formularies—or drug lists—to ensure

  people get the right medications. [UnitedHealth Group] then negotiate[s] with

  pharmacies to lower costs at the point of sale . . . [UnitedHealth Group] also


  26
       UnitedHealth Group, Inc. Annual Report (Form 10-K) (FYE Dec. 31, 2022).
                                           47
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  operate[s] [mail-order pharmacies] . . . . [UnitedHealth Group] work[s] directly with

  drug wholesalers and distributors to ensure consistency of the brand and generic drug

  supply, and a reliance on that drug supply.”

        184. In addition to being a PBM and a mail-order pharmacy, UnitedHealth

  Group owns and controls a major health insurance company, UnitedHealthcare. As a

  result, UnitedHealth Group controls the health plan/insurer, the PBM, and the mail-

  order pharmacies used by approximately 26 million UnitedHealthcare members in

  the United States, including those in Florida. UnitedHealth Group controls the entire

  drug payment chain for these 26 million Americans.

        185. UnitedHealth Group’s conduct had a direct effect in Florida and

  damaged Plaintiff.

        186. UnitedHealth Group states in its annual reports that UnitedHealth Group

  “uses Optum’s capabilities to help coordinate patient care, improve affordability of

  medical care, analyze cost trends, manage pharmacy benefits, work with care

  providers more effectively and create a simpler consumer experience.” Its 2022

  annual report states plainly that it is “involved in establishing the prices charged by

  retail pharmacies, determining which drugs will be included in formulary listings and

  selecting which retail pharmacies will be included in the network offered to plan

  sponsors’ members ….” As of year-end 2022 and 2021, UnitedHealth Group’s “total

  pharmaceutical manufacturer rebates receivable included in other receivables in the


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  Consolidated Balance Sheets amounted to $8.2 billion and 7.2, respectively,” up even

  from $6.3 billion in 2020.”27

        187. Defendant Optum, Inc. is a Delaware corporation with its principal

  place of business in Eden Prairie, Minnesota. Optum, Inc. is a health services

  company managing subsidiaries that administer pharmacy benefits, including

  Defendant OptumRx, Inc.

        188. Optum, Inc. is directly involved, through its executives and employees,

  in the company policies that inform its PBM services and formulary construction,

  including with respect to the at-issue drugs and related to the Insulin Pricing Scheme,

  which had a direct effect in Florida and damaged Plaintiff.

        189. For example, according to an Optum Inc. press release, Optum, Inc. is

  “UnitedHealth Group’s information and technology-enabled health services business

  platform serving the broad healthcare marketplace, including care providers, plan

  sponsors, payers, life sciences companies and consumers.” In this role, Optum, Inc.

  is directly responsible for the “business units – OptumInsight, OptumHealth and

  OptumRx” and the CEOs of all these companies report directly to Optum, Inc.

  regarding their policies, including those that inform the at-issue formulary

  construction and mail-order activities.


  27
    UnitedHealth Group Annual Report (Form 10-K) (FYE Dec. 31, 2018);
  UnitedHealth Group Annual Report (Form 10-K, Ex. 21) (FYE Dec. 31, 2021);
  UnitedHealth Group Annual Report (Form 10-K, Exhibit 21) (FYE Dec. 31, 2022).
                                            49
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        190. Defendant OptumRx, Inc. is a California corporation with its principal

  place of business at 2300 Main Street, Irvine, California, 92614.

        191. OptumRx, Inc. operates as a subsidiary of OptumRx Holdings, LLC,

  which, in turn, operates as a subsidiary of Defendant Optum, Inc.

        192. OptumRx, Inc. is, and has since 2005 been registered to do business in

  Florida.

        193. During the relevant period, OptumRx, Inc. provided the PBM and mail-

  order pharmacy services in Florida that gave rise to the Insulin Pricing Scheme,

  which damaged Plaintiff.

        194. Defendant OptumInsight, Inc. (“OptumInsight”) is a Delaware

  corporation with its principal place of business located in Eden Prairie, Minnesota.

        195. OptumInsight, Inc. has since 1997 been registered to do business in

  Florida.

        196. OptumInsight is an integral part of the Insulin Pricing Scheme and,

  during the relevant time, period coordinated directly with the Manufacturer

  Defendants in furtherance of the conspiracy. OptumInsight analyzed data and other

  information from the Manufacturer Defendants to advise the other Defendants as to

  the profitability of the Insulin Pricing Scheme to the benefit of all Defendants.




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        197. Defendant Emisar Pharma Services LLC (“Emisar”) is a Delaware

  limited liability company with its principal place of business 1 Optum Circle, Eden

  Prairie, Minnesota 55344 and operations in the United States and Ireland.

        198. Emisar is a wholly owned indirect subsidiary of UnitedHealth Group Inc.

        199. Optum established Emisar in June 2021 as a GPO for Optum’s PBM

  business. Emisar negotiates rebates with drug manufacturers on behalf of Optum’s

  commercial clients.

        200. During the relevant period, Emisar negotiated rebates with the

  Manufacturers for at-issue drugs sold and distributed in Florida.

        201. As a result of numerous interlocking directorships and shared executives,

  UnitedHealth Group, OptumRx Holdings, LLC, and Optum, Inc. are directly

  involved in the conduct of and control OptumInsight’s and OptumRx Inc.’s

  operations, management, and business decisions related to the at-issue formulary

  construction, negotiations, and mail-order pharmacy services to the ultimate

  detriment of Plaintiff. For example:

        a.    These entities have common officers and directors, including:

                 • Andrew Witty is the CEO and on the Board of Directors for

                    UnitedHealth Group and previously served as CEO of Optum,

                    Inc.;




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                • Dan Schumacher is Chief Strategy and Growth Officer at

                   UnitedHealth Group Inc. and is CEO of OptumInsight, having

                   previously served as president of Optum, Inc.;

                • Dirk McMahon is President and COO of UnitedHealth Group. He

                   served as President and COO of Optum from 2017 to 2019 and as

                   CEO of OptumRx from 2011 to 2014;

                • John Rex has been an Executive Vice President and CFO of

                   UnitedHealth Group Inc. since 2016 and previously served in the

                   same roles at Optum beginning in 2012;

                • Terry Clark is a senior vice president and has served as chief

                   marketing officer at UnitedHealth Group since 2014 while also

                   serving chief marketing and customer officer for Optum;

                • Tom Roos has served since 2015 as SVP and chief accounting

                   officer for UnitedHealth Group and Optum, Inc.;

                • Heather Cianfrocco joined UnitedHealth Group in 2008 and has

                   held numerous leadership positions within the company while

                   today she is CEO of OptumRx;

                • Peter Gill has served as SVP and Treasurer for UnitedHealth

                   Group, Inc., and also as Treasurer for OptumRx, Inc.;



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                   • John Santelli led Optum Technology, the leading technology

                      division of Optum, Inc. serving the broad customer base of Optum

                      and UnitedHealthcare and also served as UnitedHealth Group’s

                      chief information officer;

                   • Eric Murphy, now retired, was the Chief Growth and Commercial

                      Officer for Optum, Inc. and also was CEO of OptumInsight

                      beginning in 2017.

           b.   UnitedHealth Group directly or indirectly owns all the stock of Optum,

                Inc., OptumRx, Inc., OptumInsight, and Emisar.

           c.   The UnitedHealth Group corporate family does not operate as separate

                entities. The public filings, documents, and statements of UnitedHealth

                Group present its subsidiaries, including Optum, Inc., OptumRx, Inc.,

                and OptumInsight as divisions, departments or “segments” of a single

                company that is “a diversified family of businesses” and “leverages core

                competencies” to “help[] people live healthier lives and helping make the

                health system work better for everyone.” The day-to-day operations of

                this corporate family reflect these public statements. These entities are a

                single business enterprise and should be treated as such as to all legal

                obligations detailed in this Complaint.28


  28
       UnitedHealth Group, Quarterly Report (Form 10-Q) (Mar. 31, 2017).
                                             53
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        d.    All executives of Optum, Inc., OptumRx, Inc., OptumInsight, and

              Emisar ultimately report to the executives, including the CEO, of

              UnitedHealth Group.

        e.    As stated above, UnitedHealth Group’s executives and officers are

              directly involved in the policies and business decisions of Optum, Inc.,

              OptumRx, Inc., OptumInsight, and Emisar that gave rise to Plaintiff’s

              claims.

        202. Defendants UnitedHealth Group, Inc., OptumRx, Inc., OptumInsight,

  Inc., Optum, Inc., and Emisar, including all predecessor and successor entities, are

  collectively referred to as “OptumRx.”

        203. OptumRx is named as a Defendant in its capacities as a PBM, rebate

  aggregator, and mail-order pharmacy.

        204. OptumRx is a pharmacy benefit manager and, as such, coordinates with

  Novo Nordisk, Eli Lilly, and Sanofi regarding the price of the at-issue diabetes

  medications, as well as for the placement of these Manufacturers’ diabetes

  medications on OptumRx’s drug formularies.

        205. OptumRx provides pharmacy care services to more than 65 million

  people in the nation through a network of more than 67,000 retail pharmacies and

  multiple delivery facilities. It is one of UnitedHealth Group Inc.’s “four reportable

  segments” (along with UnitedHealthcare, Optum Health, and OptumInsight).


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             206. In 2022, OptumRx managed $124 billion in pharmaceutical spending.29

             207. For the years 2018-2022, OptumRx managed $91 billion, $96 billion,

  $105 billion, $112 billion, and $124 billion in pharmaceutical spending,

  respectively. 30

             208. In 2019, Optum Rx’s revenue (excluding UnitedHealthcare) totaled $74

  billion. By 2022, it had risen to more than $99 billion.31

             209. At all relevant times, OptumRx derived substantial revenue providing

  pharmacy benefits in Florida.

             210. At all relevant times, OptumRx offered pharmacy benefit management

  services nationwide and maintained standard formularies that are used nationwide,

  including in Florida. Those formularies included diabetes medications, including

  those at issue in this action. OptumRx purchased drugs directly from manufacturers

  for dispensing through its pharmacy network.

             211. At all relevant times, and contrary to its express representations,

  OptumRx knowingly insisted that its payor clients use the false list prices produced

  by the Insulin Pricing Scheme as the basis for reimbursement of the at-issue drugs.




  29
       UnitedHealth Group Annual Report (Form 10-K) (FYE Dec. 31, 2022).
  30
       Id.
  31
       Id.
                                             55
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        212. At all relevant times, OptumRx concealed its critical role in the

  generation of those false list prices.

        213. In its capacity as a mail-order pharmacy with a contracted network of

  retail pharmacies, OptumRx received payments from payors for, and set the out-of-

  pocket price paid for, the at-issue drugs based on the falsely inflated prices produced

  by the Insulin Pricing Scheme and, as a result, damaged Plaintiff.

        214. At all relevant times, OptumRx dispensed the at-issue medications

  nationwide and in Florida through its mail-order pharmacies and derived substantial

  revenue from these activities in Florida.

        215. OptumRx purchases drugs produced by the Manufacturer Defendants,

  including the at-issue diabetes medications, for dispensing through its mail-order

  pharmacies and network of retail pharmacies.

        216. At all relevant times, OptumRx had express agreements with Novo

  Nordisk, Sanofi, and Eli Lilly related to the Manufacturer Payments paid by the

  Manufacturer Defendants to OptumRx, as well as agreements related to the

  Manufacturers’ at-issue drugs sold through OptumRx pharmacies.

        217. As set forth above, CVS Caremark, OptumRx, and Express Scripts are

  referred to collectively as the “PBM Defendants” or the “PBMs.”.




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                                   JURISDICTION AND VENUE

        A.     Subject-Matter Jurisdiction

        218. The Designated Forum has subject-matter jurisdiction pursuant to 28

  U.S.C. § 1331 and pursuant to 18 U.S.C. § 1964(c) because this action alleges

  violations of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §

  1962. The Designated Forum has supplemental jurisdiction over the state law claims

  in this action pursuant to 28 U.S.C. § 1367.

        B.     Personal Jurisdiction

        219. The Designated Forum has personal jurisdiction over each Defendant.

  Each Defendant: (a) transacts business and/or is registered to conduct business in

  Florida, (b) maintains substantial contacts in Florida, and (c) committed the violations

  of the Florida Statutes, federal statutes, and common law at issue in this lawsuit in

  whole or part within the State of Florida.

        220. The Insulin Pricing Scheme has been directed at Florida and has had the

  foreseeable and intended effect of causing injury to persons residing in, located in, or

  doing business in Florida, including Plaintiff. All transactions at issue occurred in the

  State of Florida or involved Florida residents.

        221. Each Defendant has purposefully availed itself of the privilege of doing

  business within Florida, including within the Designated Forum; and each has

  derived substantial financial gain from doing so. These continuous, systematic, and

  case-related business contacts—including the tortious acts described herein—are
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  such that each Defendant should reasonably have anticipated being brought into

  court in the Designated Forum.

         222. Each Defendant submitted itself to jurisdiction through, among other

  things, pervasive marketing; encouraging the use of its services; and its purposeful

  cultivation of profitable relationships in the State of Florida.

         223. In short, each Defendant has systematically served a market in Florida

  relating to the Insulin Pricing Scheme and has caused injury in Florida such that

  there is a strong relationship among Defendants, the Designated Forum, and the

  litigation.

         224. Courts in the Designated Forum have personal jurisdiction over all

  Defendants pursuant to Fed. R. Civ. P. 4(k)(1)(A) because they would be subject to

  the jurisdiction of a court of general jurisdiction in Florida.

         225. Courts in the Designated Forum also have personal jurisdiction over all

  Defendants under 18 U.S.C. § 1965(b). Courts in the Designated Forum may exercise

  nationwide jurisdiction over the named Defendants where the “ends of justice”

  require national service and Plaintiff demonstrates national contacts. Here, the

  interests of justice require that Plaintiff be allowed to bring all members of the

  nationwide RICO enterprises described herein before a courrt in the Designated

  Forum in a single action for a single trial.




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        C.     Venue

        226. Venue is proper in the Designated Forum pursuant to 28 U.S.C. §

  1391(b) and (c) because each Defendant transacts business in, is found in, and/or has

  agents there, and because some of the actions giving rise to the Complaint took place,

  or had their ultimate injurious impact, there. In particular, at all times relevant,

  Defendants provided pharmacy benefit services, provided mail-order pharmacy

  services, employed sales representatives, promoted and sold diabetes medications,

  and published prices of the at issue drugs in the Southern District of Florida.

        227. Venue is also proper in this District pursuant to 18 U.S.C. § 1965

  because all Defendants reside, are found, have an agent, or transact their affairs in the

  Southern District of Florida, and the ends of justice require that any Defendant

  residing elsewhere be brought before this Court.

                             ADDITIONAL FACTUAL ALLEGATIONS

        A.    Diabetes and Insulin Therapy
                                1. The Diabetes Epidemic

        228. Diabetes occurs when a person’s blood glucose is too high. In people

  without diabetes, the pancreas secretes the hormone insulin, which controls the rate

  at which food is converted to blood glucose. When insulin is lacking or when cells

  stop responding to insulin, however, blood sugar stays in the bloodstream. Over

  time, this can cause serious health problems, including heart disease, blindness, and

  kidney disease.
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        229. There are two basic types of diabetes: Type 1 and Type 2.

  Approximately 5-10% of diabetics are Type 1, which occurs when a person’s

  pancreas does not make—or makes very little—insulin. Those with Type 1 diabetes

  are treated with insulin injections and other diabetes drugs.

        230. Roughly 90-95% of diabetics are Type 2, which develops when a

  person does not produce enough insulin or has become resistant to the insulin they

  produce. Although Type 2 patients can initially be treated with tablets, most patients

  eventually must switch to insulin injections.

        231. Diabetes has been on the rise for decades. In 1958, only 1.6 million

  Americans had diabetes. By the turn of the century, however, that number had

  grown to over ten million. Fourteen years later, that number had tripled. Today,

  more than 38 million Americans—approximately 12% of the country—live with the

  disease.

                             2. Insulin: A Century-Old Drug
        232. Even though diabetes is the eighth leading cause of death in the United

  States, it is a treatable disease and has been for almost a century. Patients who follow

  a prescribed treatment plan consistently avoid severe health complications

  associated with the disease.

        233. In 1922, Frederick Banting and Charles Best, while working at the

  University of Toronto, pioneered a technique for removing insulin from an animal


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  pancreas that could then be used to treat diabetes. Banting and Best obtained a patent

  and then sold their patent rights to the University of Toronto for $1 (equivalent to

  $18 today), reasoning that “[w]hen the details of the method of preparation are

  published anyone would be free to prepare the extract, but no one could secure a

  profitable monopoly.” 32 Banting stated further that “[i]nsulin does not belong to me,

  it belongs to the world.”33

             234. After purchasing the patent, the University of Toronto contracted with

  Defendants Eli Lilly and Novo Nordisk to scale its production. Under this

  arrangement, Eli Lilly and Novo Nordisk were allowed to apply for patents on

  variations to the manufacturing process.

             235. The earliest insulin was derived from animals and, until the 1980s, was

  the only treatment for diabetes. While effective, animal-derived insulin created the

  risk of allergic reaction. This risk was reduced in 1982 when synthetic insulin—

  known as human insulin because it mimics the insulin humans make—was developed

  by Eli Lilly. Compared to animal-derived insulin, human insulin is cheaper to mass-

  produce and causes fewer allergic reactions. Eli Lilly marketed this insulin as

  Humulin. The development of human insulin benefited heavily from government and

  non-profit funding through the National Institutes of Health and the American Cancer


  32
       Michael Bliss, The Discovery of Insulin (2013).
  33
       Id.

                                              61
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  Society.

        236. In the mid-1990s, Eli Lilly introduced the first analog insulin—a

  laboratory-grown and genetically altered insulin. These altered forms of human

  insulin are called “analogs” because they are analogous to the human body’s natural

  pattern of insulin release and more quickly lower blood sugar. Eli Lilly released this

  analog in 1996 under the brand name Humalog at a cost of $21 per vial (equivalent

  to $40 in 2022).

        237. Other rapid-acting analogs include Novo Nordisk’s Novolog and

  Sanofi’s Apidra, which have similar profiles. Rapid-acting insulins are used in

  combination with longer-acting insulins, such as Sanofi’s Lantus and Novo Nordisk’s

  Levemir.

        238. The Manufacturer Defendants introduced these rapid-acting and long-

  acting analog insulins between 1996 and 2007.

        239. In 2015, Sanofi introduced Toujeo, another long-acting insulin similar to

  Lantus. Toujeo, however, is highly concentrated, reducing injection volume as

  compared to Lantus.

        240. In December 2015, Eli Lilly introduced Basaglar—a long-acting insulin

  that is biologically similar to Sanofi’s Lantus.

        241. Most insulin presently used in the United States is analog insulin and not

  human insulin. In 2000, 96% of insulin users used human insulin versus 19% using


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  analog insulin. By 2010, the ratio had switched; only 15% of patients used human

  insulin while 92% used analog insulin. In 2017, for example, less than 10% of the

  units of insulin dispensed under Medicare Part D were human insulins.

        242. Even though insulin was first extracted one hundred years ago, and

  despite its profitability, Eli Lilly, Novo Nordisk, and Sanofi still make nearly all

  insulin sold in the United States. This did not happen by chance.

        243. Many of the at-issue medications are now off-patent. The Manufacturers

  maintain market domination through patent “evergreening.” Drugs usually face

  generic competition when their twenty-year patents expire. While original insulin

  formulas may technically be available for generic use, the Manufacturers “stack”

  patents around the original formulas, making new competition riskier and more

  costly. For example, Sanofi has filed more than seventy patents on Lantus—more

  than 95% of which were filed after the drug was approved by the FDA—potentially

  providing more than three additional decades of patent “protection” for the drug. The

  market therefore remains concentrated.

        244. In 2021, the U.S. House of Representatives Committee on Oversight and

  Reform issued a report following its investigation into drug pricing (“Drug Pricing

  Investigation”). 34 It expressly included inquiry into the Manufacturer Defendants’


  34
    Drug Pricing Investigation: Majority Staff Report, Comm. on Oversight and
  Reform, U.S. H.R., Dec. 2021, https://oversightdemocrats.house.gov/sites/evo-

                                           63
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  insulin pricing strategies,35 and concluded: “Every company in the Committee’s

  investigation engaged in one or more strategies to suppress competition from generics

  or biosimilars and keep prices high.”36 It continued:

              Insulin manufacturers have also used secondary patents to extend
              their market monopolies. A 2020 study by the State of Colorado
              found, “Many insulin products have received additional patents,
              exclusivities, and extensions, adding decades of protection and
              monopoly prices.” According to this study, secondary patents
              enabled Eli Lilly to add 17 years of protection for Humalog, Novo
              Nordisk to add 27 years of protection for NovoLog, and Sanofi to
              add 28 years of protection for Lantus. 37

                             3. The Current Insulin Landscape

           245. While insulin today is generally safer and more convenient to use than

  when originally developed in 1922, there remain questions about whether the

  overall efficacy of insulin has significantly improved over the last twenty years.

           246. For example, while long-acting analogs may have certain advantages

  over human insulins (e.g., they provide greater flexibility around mealtime planning),

  it has yet to be shown that analogs lead to better long-term outcomes. Recent work

  suggests that older human insulins may work as well as newer analog insulins for

  patients with Type 2 diabetes.



  subsites/democrats-oversight.house.gov/files/DRUG%20PRICING%20REPORT%
  20WITH%20APPENDIX%20v3.pdf (last visited Apr. 24, 2024).
  35
       Id.at PDF 4, n.5.
  36
       Id. at PDF 13.
  37
       Id. at PDF 103.
                                            64
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        247. Moreover, all insulins at issue in this case have either been available in

  the same form since the late 1990s or early 2000s or are biologically equivalent to

  insulins that were available then.

        248. As explained in the Journal of the American Medical Association by Dr.

  Kasia Lipska, an endocrinologist at the Yale School of Medicine and Clinical

  Investigator at the Yale-New Haven Hospital Center for Outcomes Research and

  Evaluation:

                We’re not even talking about rising prices for better products here.
                I want to make it clear that we’re talking about rising prices for the
                same product . . . . [T]here’s nothing that’s changed about
                Humalog. It’s the same insulin that’s just gone up in price and now
                costs ten times more. 38

        249. Moreover, production costs have decreased in recent years. A September

  2018 study in BMJ Global Health calculated that, based on production costs, a

  reasonable and profitable price for a one-year supply of human insulin is between

  $48 and $71 per person and between $78 and $133 for analog insulin. Another recent

  study found that the Manufacturers could be profitable charging as little as $2 per

  vial.39 A third study, based on data collected through 2023, concluded that sustainable

  cost-based prices “for treatment with insulin in a reusable pen device could cost as


  38
      Natalie Shure, The Insulin Racket, AM. PROSPECT (June 24, 2019),
  https://prospect.org/health/insulin-racket/ (last visited Apr. 24, 2024).
  39
    Gotham D, Barber MJ, Hill A., Production costs and potential prices for biosimilars
  of human insulin and insulin analogues. BMJ GLOBAL HEALTH 2018;3:e000850.

                                              65
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  little as $96 (human insulin) or $111 (insulin analogues) per year for a basal-bolus

  regimen, $61 per year using twice-daily injections of mixed human insulin, and $50

  (human insulin) or $72 (insulin analogues) per year for a once-daily basal insulin

  injection (for Type 2 diabetes), including the cost of injection devices and needles.”40

        250. Yet, in 2016, diabetics spent an average of $5,705 for insulin. According

  to a 2020 RAND report, the 2018 list price per vial across all forms of insulin was

  just $14.40 in Japan, $12.00 in Canada, $11.00 in Germany, $9.08 in France, $7.52

  in the United Kingdom, and less than $7.00 in Australia. In the United States, it was

  $98.70.41

        251. RAND issued an updated report in 2024 using 2022 data. In its report,

  RAND explained that the gross (or list) price of insulin in the United States had

  “increased dramatically since the early 2010s in the United States.”42 The report

  pointed to studies showing that “manufacturer gross prices increased annually by an




   Melissa J. Barber, et al., Estimated Sustainable Cost-Based Prices for Diabetes
  40

  Medicines, JAMA NETWORK: OPEN, Mar. 27, 2024.
  41
    The Astronomical Price of Insulin Hurts American Families, RAND (Jan. 6, 2021),
  https://www.rand.org/blog/rand-review/2021/01/the-astronomical-price-of-insulin-
  hurts-american-families.html (last visited Apr. 24, 2024).
  42
    Andrew W. Mulcahy, Daniel Schwam, Comparing Insulin Prices in the United
  States to Other Countries, RAND Corporation at 1.


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  average of 13 percent from 2007 to 2018,” which was “far above general inflation

  over the same periods.”43

             252. The RAND report also found that insulin prices in the United States far

  exceeded insulin prices abroad. RAND found that U.S. manufacturer gross prices

  were 971 percent (or 9.71 times) higher than in the thirty-three countries who belong

  to the Organisation for Economic Co-operation and Development (OECD)

  combined.44 In other words, insulin in the United States was more than nine times

  higher than in thirty-three middle- to high-income comparison countries.45 Once

  rebates and other discounts were applied, net prices in the United States remained

  2.33 times higher than in the OECD countries.46 The gross price is the price paid by

  patients who are uninsured, in the deductible phase of their plan, or otherwise paying

  out-of-pocket for insulin.47

             253. While research and development (also known as R&D) costs often

  contribute significantly to the price of a drug, the initial basic insulin research—

  original drug discovery and patient trials—occurred one hundred years ago and those

  costs have long since been recouped. And even recent costs, such as developing the


  43
       Id.
  44
       Id. at v, 22, 30.
  45
       Id.
  46
       Id. at v, 28, 30.
  47
       Id. at vi.
                                              67
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  recombinant DNA fermentation process and the creation of insulin analogs, were

  incurred decades ago. In recent years, the lion’s share of R&D costs is incurred in

  connection with the development of new insulin-related devices and equipment, not

  in connection with the drug formulations themselves.

        254. The House Committee on Oversight and Reform also found that R&D

  costs “d[id] not justify price increases.” According to the committee, “when drug

  companies did invest in R&D, those expenditures often went to research designed to

  protect existing market monopolies.” The committee also found that “drug

  companies often invested in development only after other research—much of it

  federally funded—demonstrated a high likelihood of financial success.”

        255. In response to rising scrutiny, the Manufacturer Defendants recently

  announced limited pricing changes and out-of-pocket limits. On March 1, 2023, Eli

  Lilly announced that it would cap the prices of certain insulin medications at $35 per

  month, with additional reductions to follow later in the year. Specifically, Eli Lilly

  promised that it would list its Lispro injection at $25 per vial effective May 1, 2023,

  and slash the price of its Humalog and Humulin injections by 70% starting in the

  fourth quarter of 2023. The price reductions to date are limited to these medications

  and do not apply to other Eli Lilly diabetes medications like Trulicity and Basaglar.

  These decisions suggest that, prior to March 1, 2023, the prices of these medications

  had not been raised to cover costs of research and development, manufacture,


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  distribution, or any other necessary expense.

        256. Two weeks after Eli Lilly announced that it would be implementing

  pricing changes, on March 14, 2023, Novo Nordisk announced that it would also

  lower the U.S. list prices of several insulin products by up to 75%—specifically,

  Levemir, Novolin, NovoLog, and NovoLog Mix 70/30. Novo Nordisk will also

  reduce the list price of unbranded biologics to match the lowered price of each

  respective branded insulin. The price reductions to date are limited to these

  medications and do not apply to other Novo Nordisk diabetes medications like

  Victoza and Ozempic. These changes went into effect on January 1, 2024, and, as

  with Eli Lilly’s price reduction, suggest that the prices of these medications before

  that date were not increased to cover costs of research and development, manufacture,

  distribution, or any other necessary expense.

        257. These three announcements (the “Price Cuts”) are prospective and do not

  mitigate damages already incurred by payors like Plaintiff.

        258. The Price Cuts are limited to certain insulin medications, and do not

  encompass all at-issue medications. As part of the Insulin Pricing Scheme, PBMs

  provide preferred formulary placement to the most expensive insulins based on list

  prices. Accordingly, the Insulin Pricing Scheme will proceed, with the PBMs

  continuing to target the most expensive at-issue medications, which will likely be the

  at-issue medications not included in the Price Cuts.


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        259. The Price Cuts are woefully insufficient. An Eli Lilly spokeswoman has

  represented that the current list price for a ten-milliliter vial of the fast-acting,

  mealtime insulin Humalog will drop to $66.40 from $274.70, and a ten-milliliter vial

  of Humulin will fall from $148.70 to $44.61.48 These prices far exceed the

  Manufacturer Defendants’ costs and remain significantly higher than prices for the

  same and similar drugs in other countries.

        260. To make matters worse, on November 8, 2023, before the 65% price cut

  for its long-acting insulin Levemir had taken effect, Novo Nordisk announced that it

  would be discontinuing Levemir in the United States, citing manufacturing

  constraints, formulary-placement issues, and “alternative treatments” for patients.

  Levemir is the only branded, long-acting insulin product for which Novo Nordisk

  announced a list price reduction and the only long-acting insulin FDA-approved for

  pregnancy. Yet, Novo Nordisk is discontinuing Levemir—before allowing the price

  reduction to take effect—with supply disruptions beginning in early 2024, followed

  by formal discontinuation of the Levemir FlexPen vial by the end of 2024.

                       4. Insulin Adjuncts: Type 2 Medications

        261. Over the past fifteen years, the Manufacturer Defendants have released

  several non-insulin medications that help control insulin levels. In 2010, Novo


  48
    Tom Murphy, Lilly plans to slash some insulin prices, expand cost cap, AP NEWS
  (Mar. 2, 2023) (available at https://apnews.com/article/insulin-diabetes-humalog-
  humulin-prescription-drugs-eli-lilly-lantus-419db92bfe554894bdc9c7463f 2f3183)

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  Nordisk released Victoza, and thereafter Eli Lilly released Trulicity and Sanofi

  released Soliqua. Novo Nordisk further expanded their GLP-1 patent portfolio with

  the approval of Xultophy and Ozempic. 49 In 2022, Eli Lilly received approval for

  another GLP-1, Mounjaro. Each of these medications can be used in conjunction

  with insulins to control diabetes. The Manufacturers negotiate rebates and other fees

  with the PBMs for “bundles” of insulin and GLP-1 receptor agonist (GLP-1)

  medications, packaging them as a single class of diabetes medications. This practice

  is known as “bundling.”

        262. The Manufacturer Defendants bundle medications to gain formulary

  access for multiple drugs in exchange for increased manufacturer payments to the

  PBMs.

        263. In 2013, Novo Nordisk tied its “exclusive” rebates for insulin to

  formulary access for GLP-1 medication, Victoza. The exclusive rebates of 57.5%

  for Novolin, Novolog, and Novolog Mix 70/30 were more than three times higher

  than the 18% rebate for plans that included two insulin products on their formulary.

  In order to qualify for the exclusive rebate, the plans would also need to list Victoza




  49
    Victoza, Trulicity, Ozempic, and Mounjaro are glucagon-like peptide-1 receptor
  agonists (“GLP-1”) and mimic the GLP-1 hormone produced in the body. Soliqua and
  Xultophy are combination long-acting insulin and GLP-1 drugs.


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  on their formulary, exclude all competing insulin products, and ensure existing

  patients switch from competitor diabetes medications.50

           264. Upon information and belief, all Manufacturer Defendants negotiate

  the prices of insulin and GLP-1 medications through bundling.

           265. The first GLP-1 was approved by the FDA in 2005 and was indicated

  for the treatment of Type 2 diabetes. Currently, the GLP-1 market is consolidated

  among a limited number of patent-holding entities, with Manufacturer Defendants

  Eli Lilly, Novo Nordisk, and Sanofi controlling much of this market.

           266. Through extensive patents and regulatory exclusivities, the

  Manufacturer Defendants have effectively barricaded competition from the GLP-1

  market, giving them the ability to exercise comprehensive control over the price of

  GLP-1 medications.

           267. To date, no generic alternative exists for any GLP-1 medication. The

  Manufacturer Defendants will continue to enjoy patent protection of their respective

  GLP-1 agonist molecules through at least 2030, if not later.51

           268. Novo Nordisk developed and sells three GLP-1 drugs indicated for

  Type 2 diabetes: Victoza (liraglutide), Xultophy (insulin degludec/liraglutide), and


  50
       Senate Insulin Report at 78, 79.
  51
    Rasha Alhiary, et al., Patents and Regulatory Exclusivities on GLP-1 Receptor
  Agonists, J. OF THE AM. MED. ASS’N, Vol. 330, at 650-57 (2023).


                                           72
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  Ozempic (semaglutide). Novo Nordisk holds sixty-two patents related to

  semaglutide and liragutide, forty-six of which are device patents unrelated to the

  therapeutic molecule of the GLP-1. 52

             269. Eli Lilly developed and sells two GLP-1 drugs indicated for Type 2

  diabetes: Trulicity (dulaglutide) and Mounjaro (tirzepatide/GIP). Eli Lilly holds

  eighteen patents related to dulaglutide and tirzepatide. Of the four patents related to

  tirzepatide, two are device patents unrelated to the therapeutic molecule of the GLP-

  1. Eli Lilly has applied for seventy-eight patents related to dulaglutide, seventeen of

  which have been granted to date.53

             270. Sanofi developed Adylxin (lixisenatide) and Soliqua (insulin

  glargine/lixisenatide) but currently only sells Soliqua in the United States. Sanofi

  holds forty-two patents related to lixisenatide, twenty-nine of which are device

  patents unrelated to the therapeutic molecule of the GLP-1.54

             271. This patent stacking and evergreening ensures that generic and other

  branded GLP-1 cannot enter the market and gives Novo Nordisk, Eli Lilly, and

  Sanofi disproportionate pricing power over GLP-1 medications.




  52
    Rasha Alhiary, et al., Delivery Device Patents on GLP-1 Receptor Agonists, J. OF
  THE AM. MED. ASS’N, Vol. 331, at 794-96 (2024).
  53
       Id.
  54
       Id.
                                             73
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        272. In addition to the limited competition in the GLP-1 landscape, the

  Manufacturer and PBM Defendants use this disproportionate pricing power to

  inflate the prices of GLP-1s, consistent with the broader Insulin Pricing Scheme.

                   Figure 4: List and net prices of GLP-1 agonists




        273. As shown above, counterintuitively, list and net prices increased as

  more GLP-1 medications were approved and introduced. Between 2007 and 2017,

  the average list price of GLP-1s rose 15% per year despite the introduction of

  competing brands. The net price increased an average of 10% per year during the

  same period.55




  55
    Ameet Sarpatwari, et al., Diabetes Drugs: List Price Increases Were Not Always
  Reflected In Net Price; Impact Of Brand Competition Unclear, HEALTH AFFAIRS,
  Vol. 40, at 772-78 (2021).
                                           74
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        274. The PBM Defendants are also central to these untethered price

  increases. As shown in the chart above, the growing disconnect between the list and

  net prices of these drugs further reflects the PBM Defendants’ ill-gotten gains

  through identical methods to those employed in the Insulin Pricing Scheme.

        275. The absence of generics in the GLP-1 market allows manufacturers to

  keep prices artificially high. PBMs then realize the benefit of these artificially high

  prices through manufacturer payments in exchange for formulary placement. PBMs

  and manufacturers are thus incentivized to increase prices or maintain high,

  untethered prices for GLP-1s.

        276. GLP-1s are significantly more expensive in the United States than in

  other countries, indicating that the increasing price of GLP-1s are untethered to any

  legal, competitive, or fair market price. For example, in 2023, the list price for a

  one-month supply of Ozempic was about $936 in the United States, $147 in Canada,

  $103 in Germany, $93 in the United Kingdom, $87 in Australia, and $83 in France.

        277. In 2018, Victoza’s list price in the United States was more than double

  its average list price in eleven comparable countries and Trulicity’s list price in the

  United States was more than six times its average list price in eleven comparable

  countries. One study found that drug companies could profitably sell certain GLP-

  1s, including Ozempic, for $0.89-$4.73 per month.




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        278. In March 2024, PBM Defendant Evernorth entered into a financial

  guarantee agreement for GLP-1 spend with Manufacturer Defendants Novo Nordisk

  and Eli Lilly to limit the annual cost increase of GLP-1s to 15%.56

        279. Like the caps put in place for insulins, Evernorth, Eli Lilly, and Novo

  Nordisk’s agreement suggests that the prices of GLP-1s before March 2024 were

  not raised to cover costs of research and development, manufacture, distribution, or

  any other necessary expense. Such cost caps and savings guarantees indicate that

  the increasing price of GLP-1s were untethered to any legal, competitive, or fair

  market price. Further, this agreement is prospective and does not mitigate damages

  already incurred by payors like Plaintiff.

        280. The following is a table of diabetes medications at issue in this lawsuit:




  56
           Evernorth      Health         Services,      Mar.         7,        2024
  https://www.evernorth.com/articles/evernorth-announces-industry-first-financial-
  guarantee-glp-1-spend

                                               76
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    Insulin                                                FDA          Current/Recent
                 Action         Name              Mfr.
     Type                                                  Appr.           List Price
   Human      Rapid-Acting Humulin R              Eli      1982       $178 (vial)
                                                 Lilly
                             Humulin R            Eli          1982   $1784 (vial)
                             500                 Lilly                $689 (pens)
                             Novolin R          Novo           1991   $165 (vial)
                                                Nordis                $312 (pens)
                                                   k
              Intermediate   Humulin N            Eli          1982   $178 (vial)
                                                 Lilly                $566 (pens)
                               Humulin            Eli          1989   $178 (vial)
                                70/30            Lilly                $566 (pens)
                             Novolin N          Novo           1991   $165 (vial)
                                                Nordis                $312 (pens)
                                                   k
                             Novolin 70/30      Novo           1991   $165 (vial)
                                                Nordis                $312 (pens)
                                                   k
   Analog     Rapid-Acting Humalog                Eli          1996   $342 (vial)
                                                 Lilly                $636 (pens)
                             Novolog            Novo           2000   $347 (vial)
                                                Nordis                $671 (pens)
                                                  k
                             Apidra             Sanofi         2004   $341 (vial)
                                                                      $658 (pens)
              Pre-mixed      Humalog              Eli          1999   $93 (vial)
                             50/50               Lilly                $180 (pens)
                             Humalog              Eli          1999   $99 (vial)
                             75/25               Lilly                $140 (pens)
                             Novolog 70/30      Novo           2001   $203 (vial)
                                                Nordis                $246 (pens)
                                                  k
              Long-Acting    Lantus             Sanofi         2000   $340 (vial)
                                                                      $510 (pens)


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                             Levemir             Novo           2005   $370 (vial)
                                                 Nordis                $555 (pens)
                                                    k
                             Basaglar              Eli          2015   $392 (pens)
                             (Kwikpen)            Lilly
                             Toujeo              Sanofi         2015   $466 (pens)
                             (Solostar)                                $622 (max pens)
                             Tresiba             Novo           2015   $407 (vial)
                                                 Nordis                $610 (pens – 100u)
                                                   k                   $732 (pens – 200u)
   Type 2     GLP-1          Trulicity             Eli          2014   $1013 (pens)
   Medicati                  (Dulaglutide)        Lilly
   ons                       Mounjaro              Eli          2022   $1068 (pens)
                             (Tirzepatide/G       Lilly
                             IP)
                             Victoza             Novo           2010   $813 (2 pens)
                             (Liraglutide)       Nordis                $1220 (3 pens)
                                                   k
                             Xultophy            Novo           2016   $1295 (pens)
                             (insulin            Nordis
                             degludec/liragl       k
                             utide)
                             Ozempic             Novo           2017   $1022 (pens)
                             (Semaglutide)       Nordis
                                                   k
                             Rybelsus            Novo           2019   $1029 (30 day
                             (semaglutide        Nordis                supply)
                             tablets)              k
                             Adylxin             Sanofi         2016   Discontinued 2023
                             (lixisenatide)
                             Soliqua             Sanofi         2016   $928 (pens)
                             (insulin
                             glargine/lixise
                             natide)




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        B.    The Dramatic Rise in U.S. Prices for Diabetes Medications

        281. Over the past twenty-five years, the list price of certain insulins has

  increased by more than 1000% (10x). By comparison, $165 worth of consumer goods

  and services in 1997 dollars would, in 2021, have cost $289 (1.75x).57

        282. Since 1997, Eli Lilly has raised the list price of a vial of Humulin R

  (500U/mL) from $165 to $1784 in 2021 (10.8x).

       Figure 5: Rising list prices of Humulin R (500U/mL) from 1997-2021




        283. Since 1996, Eli Lilly has raised the price for a package of Humalog pens




  57
     https://www.bls.gov/data/inflation_calculator.htm (last visited July 3, 2023). The
  Consumer Price Index (CPI) measures “the average change over time in the prices
  paid by urban consumers for a market basket of consumer goods and services.”
  (https://www.bls.gov/cpi/).
                                           79
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  from less than $100 to $663 (6.6x) and from less than $50 per vial to $342 (6.8x).

         Figure 6: Rising list prices of Humalog vials and pens, 1996-2021




        284. From 2006 to 2020, Novo Nordisk has raised Levemir’s list price from

  $162 to $555 (3.4x) for pens and from under $100 to $370 per vial (3.7x).

                 Figure 7: Rising list prices of Levemir, 2006-2021




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        285. From 2002 to 2021, Novo Nordisk raised Novolog’s list price from $108

  to $671 (6.2x) for a package of pens and from less than $50 to $347 (6.9x) per vial.

          Figure 8: Rising list prices of Novolog vials and pens, 2002-2021




        286. Defendant Sanofi has kept pace. It manufactures a top-selling analog

  insulin—Lantus—which has been and remains a flagship brand for Sanofi. Lantus

  has been widely prescribed nationally, including in Florida and Colorado to Plaintiff’s

  Beneficiaries. Sanofi has raised the list prices for Lantus from less than $200 in 2006

  to more than $500 in 2020 (2.5x) for a package of pens and from less than $50 to

  $340 per vial (6.8x).




                                            81
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           Figure 9: Rising list prices of Lantus vials and pens, 2001-2021




        287. The Manufacturer Defendants have similarly increased the prices for

  non-insulin diabetes medications.

        288. Driven by these price hikes, payors’ and diabetics’ spending on these

  drugs has steadily increased with totals in the tens of billions of dollars.

        289. The timing of the price increases reveals that the Manufacturers have not

  only dramatically increased prices for the at-issue treatments, but also done so in

  lockstep.

        290. Between 2009 and 2015, for example, Sanofi and Novo Nordisk raised

  the list prices of their insulins in tandem thirteen times, taking the same price increase

  down to the decimal point within days of each other (sometimes within a few


                                             82
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  hours). 58

           291. This practice, through which competitors communicate their intention

  not to price-compete against one another, is known as “shadow pricing.”

           292. In 2016, Novo Nordisk and Sanofi’s lockstep increases for the at-issue

  drugs represented the highest drug price increases in the pharmaceutical industry.

           293. Eli Lilly and Novo Nordisk have engaged in the same lockstep behavior

  with respect to their rapid-acting analog insulins, Humalog and Novolog. Figure 10

  demonstrates this collusive behavior with respect to Lantus and Levemir. Figure 11

  demonstrates this behavior with respect to Novolog and Humalog.

                   Figure 10: Rising list prices of long-acting insulins




  58
       Senate Insulin Report at 53-54.
                                            83
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                 Figure 11: Rising list prices of rapid-acting insulins




        294. Figure 12 demonstrates this behavior with respect to the human

  insulins—Eli Lilly’s Humulin and Novo Nordisk’s Novolin.

             Figure 12: Rising list price increases for human insulins




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        295. Figure 13 below demonstrates Novo Nordisk and Eli Lilly’s lockstep

  price increases for their Type-2 drugs Trulicity, Victoza, and Ozempic.

                     Figure 13: Rising list prices of Type 2 drugs




        296. Figures 14 and 15 below show how the Manufacturers have raised the

  prices of insulin products in near-perfect unison.59

                 Figures 14 and 15: Lockstep insulin price increases




  59
      https://www.pharmaceutical-technology.com/features/insulin-pricing-could-an-
  e-commerce-approach-cut-costs/?cf-view&cf-closed

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           297. There is clear evidence that these lockstep price increases were carefully

  coordinated to preserve formulary placement for the at-issue medications and to

  allow greater rebates to the PBMs, and further illustrate the perverse economics of

  competing by increasing prices in lockstep.

           298. Eli Lilly was not inclined to lower prices of its insulin products to

  compete with the other drug makers. Documents produced to the House Committee

  on Oversight and Reform60 show that Eli Lilly regularly monitored competitors’

  pricing activity and viewed competitors’ price increases as justification to raise the

  prices of their own products. On May 30, 2014, a senior vice president at Eli Lilly

  sent a proposal to Enrique Conterno—then-President of Lilly Diabetes—for June



  60
       Drug Pricing Investigation at PDF 162.
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  2014 price increases for Humalog and Humulin. The executive reported that Novo

  Nordisk had just executed a 9.9% price increase across its insulin portfolio. Mr.

  Conterno remarked, “While the list price increase is higher than we had planned, I

  believe it makes sense from a competitive perspective.” Eli Lilly took a 9.9% price

  increase shortly thereafter, on June 5, 2014.

        299. Six months later, on November 19, 2014, Mr. Conterno reported to then-

  CEO John Lechleiter that Novo Nordisk had taken another 9.9% price increase on

  NovoLog—the direct competitor to Eli Lilly’s Humalog. Mr. Conterno wrote, “[a]s

  you are aware, we have assumed as part of our business plan a price increase of 9.9%

  for Humalog before the end of the year.” The following Monday—six days after Mr.

  Conterno’s initial email to the CEO—Eli Lilly took price increases of 9.9% on all

  Humalog and Humulin products.

        300. Sanofi also closely monitored competitors’ pricing activity and planned

  its own pricing decisions around Eli Lilly’s and Novo Nordisk’s price increases.

  Executives were aware that Sanofi’s long-acting insulin competitors—particularly

  Novo Nordisk—would likely match its pricing actions on long-acting insulin. In

  internal documents, Sanofi leaders welcomed competitors’ price increases because

  they allowed Sanofi to claim it was maintaining pricing “parity” with competitors.

        301. Sanofi had no incentive or intention to compete to lower its insulin

  pricing. For example, on November 7, 2014, Sanofi executed a price increase of


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  approximately 12% across its family of Lantus products. The following week, a

  Sanofi senior vice president sent an email asking, “[d]id Novo increase the price of

  Levemir following our price increase on Lantus last week? I just want to confirm we

  can still say that Lantus and Levemir are still priced at parity on a WAC [wholesale

  acquisition cost] basis.” The head of Sanofi pricing responded that Novo Nordisk had

  not yet taken the price increase, but noted, “[o]ver the past four price increases on

  Lantus they have typically followed within 1 month.” Novo Nordisk raised the price

  of Levemir by 12% the following week.

        302. An internal Sanofi chart shows that, between April 2013 and November

  2014, each time Sanofi raised the price of Lantus, Novo Nordisk followed suit for

  Levemir:

                           Figure 16: Sanofi price-tracking




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        303. The Manufacturers often used their competitors’ price increases as

  justification for their own increases. For example, before taking price increases on

  Lantus, Sanofi compared the new list price to the prices of competitor products. In

  an April 2018 email exchange about accelerating and increasing previously planned

  price increases for Lantus and Toujeo (from July to April, and from 3% on Lantus to

  5.3%), one senior director requested, “[p]lease confirm how the new WAC of

  Lantus/Toujeo would compare with the WAC of Levemir/Tresiba.” In reply, another

  senior Sanofi leader provided a chart comparing Sanofi prices to those of its

  competition.

        304. Sanofi also engaged in shadow pricing with its rapid-acting insulin

  products, including Apidra. Sanofi was not the market leader in the fast-acting insulin

  space and typically did not act first to raise prices. But when its competitors raised

  prices on their fast-acting insulins, Sanofi quickly followed suit. As a Sanofi slide

  deck explained: “Over the past three years, we have executed a ‘fast follower’

  strategy for Apidra and have executed price increases only after a price increase was

  announced.”

        305. In December 2018, Sanofi’s director of strategic pricing and planning

  emailed diabetes and cardiovascular pricing committee members seeking approval

  for across-the-board price increases for its rapid- and long-acting insulin products,

  including Lantus, Toujeo, and Apidra. The then-Senior Vice President and Head of


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  Sanofi’s North America General Medicines group forwarded the proposal to the then-

  Senior Vice President and Head of Sanofi’s External Affairs and inquired, “[p]rior to

  my approval, just confirming that we are still on for these.” The Head of Sanofi’s

  External Affairs wrote back, “Yes. As of now I don’t see any alternative. Not taking

  an increase won’t solve the broader policy/political issues, and based on intel, believe

  many other manufacturers plan to take increases next year as well.” He added, “[s]o

  while doing it comes with high political risk, I don’t see any political upside to not

  doing it.”

        306. Although Sanofi generally led price increases in the long-acting insulin

  market with its pricing for Lantus, Novo Nordisk often led in the rapid-acting market

  with NovoLog. On May 8, 2017, Novo Nordisk CEO Lars Jorgenson learned that Eli

  Lilly had raised U.S. list prices by approximately 8% across its injectable diabetes

  drug portfolio. Mr. Jorgenson emailed this information to a Novo Nordisk executive

  and asked, “[w]hat is our price increase strategy?” The executive responded, “[Eli

  Lilly] followed our increase on NovoLog, so we’re at parity here, so no action from

  us. They led with Trulicity and based on our strategy, we will follow which will likely

  be on June or July 1st.”

        307. Further     illustrating   the   anticompetitive       scheme   between   the

  Manufacturers, rather than compete by lowering prices, Sanofi raised Lantus’s list

  price to respond to rebate and discount competition from Novo Nordisk. Novo


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  Nordisk manufactures two long-acting insulins called Levemir and Tresiba, as well

  as two rapid-acting insulins, NovoLog and Fiasp. In the long-acting insulin category,

  Sanofi’s Lantus and Novo Nordisk’s Levemir often compete to win the same

  accounts. According to internal memoranda, in 2013, Sanofi believed that Novo

  Nordisk was attempting to minimize the clinical difference between Lantus and

  Levemir and was offering “increased rebates and/or portfolio offers for the sole

  purpose of removing Lantus from favorable formulary access.” According to an

  internal Sanofi memo, “the strategy to close the price differential between the Lantus

  vial and pen before the LOE [loss of exclusivity] period was believed to be critical to

  the overall long-term success of the franchise.”

        308. At the time, Sanofi faced increased pressure from its payor and PBM

  clients to offer more generous rebates and price protection terms or face exclusion

  from formularies, developments that were described as “high risk for our business”

  that had “quickly become a reality.” This market environment created an enormous

  challenge for Lantus and, in order to protect its flagship diabetes franchise, Sanofi

  increased Lantus’s list price so that it could improve its rebate and discount offering

  to payors while maintaining net sales.

        309. Sanofi understood the risk of its decision and “went into 2013 with eyes

  wide open that the significant price increases planned would inflame [its] customers,”

  and that its aggressive pricing would cause a quick reaction from Novo Nordisk. But


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  Sanofi sought to make up for “shortfalls with Lantus demand generation and global

  profit shortfalls,” which it said “put pressure on the US to continue with the price

  increases to cover gaps.” The company conceded that it was “difficult to determine

  whether we would face these risks anyway if we hadn’t taken the price increases.”

        310. Novo Nordisk also engaged in shadow pricing with its long-acting

  insulin, Levemir, increasing Levemir’s list price in lockstep with Lantus in a

  continued effort to offer increased rebates and discounts to payors and displace

  Lantus from preferred formulary placement. Novo Nordisk typically did not act first

  to raise prices. However, when its competitors raised prices, Novo Nordisk followed

  suit. A March 2015 Novo Nordisk pricing committee presentation slide articulated

  this strategy: “Levemir price strategy is to follow market leader.”

        311. On May 19, 2014, Novo Nordisk’s pricing committee discussed how to

  price Levemir in response to Sanofi’s 2013 pricing actions. Based on an internal

  presentation created for this meeting, Novo Nordisk’s pricing committee discussed

  whether it should be a follower in the market in relation to Sanofi, and considered

  external factors like press coverage, payor reactions, profits, and performance. In

  each case, the company’s strategic recommendation was to follow Sanofi’s moves,

  rather than lead. Of note, the presentation shows that the pricing committee

  considered Levemir’s performance, which was ahead of 2014’s annual budgeting by

  $89 million, but that “overall company performance [was] behind.” The presentation


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  recommends following Sanofi’s pricing actions if the brand’s performance is the

  priority, and to lead if the company’s performance is the priority. An excerpt of Novo

  Nordisk’s presentation is shown below:

             Figure 17: Novo Nordisk pricing committee presentation




        312. In alignment with this strategy, Novo Nordisk’s pricing committee

  debated potential pricing scenarios based on Sanofi’s actions, which they projected

  with a great deal of specificity. The presentation provided options regarding whether

  the company should follow Sanofi—and increase list price in July—or lead with a

  9.9% increase in August which it considered “optically less aggressive.” Based on

  internal memoranda, Novo Nordisk’s pricing committee decided to revisit the issue

  with specific recommendations once Sanofi took action.

        313. Less than two weeks later, on May 30, 2014, Farruq Jafery, Vice

  President of Pricing, Contract Operations and Reimbursement, emailed Novo
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 Nordisk’s pricing committee to inform them that “Sanofi took a price increase on

 Lantus effective today: 16.1% vial and 9.9% pen.” He further wrote that the pricing

 committee had “agreed that the best strategy for Levemir is to observe the market and

 maintain list price parity to competitors.” Mr. Jafery then requested that Novo

 Nordisk’s committee vote “ASAP” to raise the list price of Levemir effective May

 31, 2014 (the next day) from $191.28 to $222.08 for vials and from $303.12 to

 $333.12 for pens. Only a few hours after Sanofi took its list price increase, members

 of the pricing committee approved Mr. Jafery’s request and Novo Nordisk moved

 forward with a 16.1% increase on Levemir vial, and a 9.9% increase on Levemir

 FlexPen and FlexTouch.

       314. Another series of emails shows that Novo Nordisk again shadowed

 Sanofi’s price increase in November 2014, increasing Levemir’s list price

 immediately after Sanofi increased Lantus vials and pens by 11.9%. On the morning

 of November 7, 2014, Novo Nordisk’s pricing committee learned that Sanofi

 increased Lantus’s list price overnight. And, by the afternoon they were asked to

 approve the same exact price increase for Levemir, which was approved hours later.

       315. The speed with which Novo Nordisk reacted to Sanofi’s price changes is

 striking. Within twenty-five minutes of learning of Sanofi’s price increase, Rich

 DeNunzio, Senior Director of Novo Nordisk’s Strategic Pricing, emailed Novo

 Nordisk’s pricing committee to alert them of the change and promise a


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 recommendation the same afternoon after reviewing the financial impact of any

 move. By late afternoon, Mr. DeNunzio had requested Novo Nordisk’s pricing

 committee to again “follow [Sanofi’s] 11.9% [list price increase] on November 18th”

 and vote to increase Levemir’s list price, which was promptly approved by Novo

 Nordisk’s Chief Financial Officer for U.S. operations, Lars Green.

       316. Novo Nordisk’s pricing strategy for other diabetes products even became

 the subject of humorous exchanges among senior analysts within the company. After

 a Novo Nordisk analyst shared news of an Eli Lilly price increase for a diabetes

 product on December 24, 2015, a senior director of national accounts wrote,

 “[m]aybe Sanofi will wait until tomorrow morning to announce their price increase .

 . . that’s all I want for Christmas.” The first analyst responded, “I actually started a

 drinking game—I have to take a shot for every response that says ‘what about

 Sanofi,’” and then said, “[m]y poor liver. . . .’” The senior director responded, “Ho

 Ho Ho!!!”

       317. The back-and-forth between Novo Nordisk officials underscores how

 closely it was monitoring Sanofi’s actions and appears to mirror the approach laid

 out in a January 27, 2014, presentation regarding the company’s bidding strategy that

 hinged on CVS Caremark’s business. Novo Nordisk described its bids for the CVS

 Caremark business as “pivotal,” and laid out a game of cat-and-mouse across

 different accounts in which company officials sought to have Levemir be the only


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 therapeutic option on different PBM formularies. Novo Nordisk recognized that

 offering “attractive exclusive rebates to large, receptive customers” would

 “encourage a stronger response from Sanofi.” However, Novo Nordisk was willing

 to take this risk because it would result in “immediate volume and value” for the

 company and could lead to an exclusive deal for CVS’s commercial formulary.

       318. The agreements the Manufacturers had with the PBM Defendants

 deterred competition on lowering prices. For example, following its April 2018 list

 price increase, Novo Nordisk began to face pressure from payors, the media, and

 Congress to reduce the prices of its insulin drugs. On May 29, 2018, Novo Nordisk’s

 U.S. Pricing Committee debated whether it should reduce the list price of its insulin

 drugs by 50% after a string of news reports detailed how patients were struggling to

 afford their medications. Novo Nordisk understood that a 50% cut would be a

 meaningful reduction to patients, significantly narrow the list-to-net gap, head off

 negative press attention, and reduce “pressure” from Congressional hearings.

 However, Novo Nordisk was concerned that a list price reduction would pose

 significant financial risk to the company.

       319. The company’s primary concerns were retributive action from other

 entities in the pharmaceutical supply chain, many of which derive payments that are

 based on a percentage of a drug’s WAC price. A PowerPoint slide created for this

 meeting suggests that the reasons not to lower prices were that “many in the supply


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 will be negatively affected ($) and may retaliate” and that its “[c]ompetitors may not

 follow putting [Novo Nordisk] at a disadvantage”:

           Figure 18: Novo Nordisk presentation on reduced list prices




       320. Despite these concerns, internal memoranda suggest that Novo Nordisk

 was still prepared to lower its list price by 2019 or 2020 if its “must haves” were met,

 which included an agreement from the PBMs that they would not retaliate against

 them by changing their formulary placement and would accept lower rebate

 percentages.

       321. According to internal memoranda, Novo Nordisk’s board of directors

 voted against this strategy in June 2018 and recommended that the company continue

 its reactive posture. The rationale for this decision was the “$33 million downside

 identified (NovoLog only),” “risk of payor [PBM] backlash or demand for current

                                           97
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 rebate on new NDC,” and “high likelihood of immediate pressure to take similar

 action on other products.” Following the decision by its board of directors, on August

 30, 2018, Novo Nordisk decided to continue its strategy to “monitor the market . . .

 to determine if other major pharma companies are taking list price [increases].”

       322. Following years of rebate and list-price increases, the Manufacturers

 faced increased pressure from patients, payors, and the federal government to

 decrease insulin’s list price. However, internal memoranda and correspondence

 suggest that the downstream impact of lowering the list prices presented hurdles for

 pharmaceutical companies.

       323. There is also evidence of direct communications between the

 Manufacturers and the PBM Defendants regarding lowering the prices of insulins.

 For example, a June 23, 2018 email memorializes a conversation Eli Lilly’s President

 of the Diabetes Unit, Enrique Conterno, had with the CEO of OptumRx, who

 allegedly “re-stated that [OptumRx] would be fully supportive of Lilly pursuing a

 lower list price option,” but indicated that OptumRx would encounter challenges,

 namely, “the difficulty of persuading many of their customers to update contracts

 without offering a lower net cost to them.”

       324. In response, an Eli Lilly executive noted, “we wouldn’t be able to lower

 our list price without impacting our net price,” and counseled waiting until early 2020

 to reduce prices. Two weeks before this email, Eli Lilly executives had raised the


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 possibility that PBMs would object to a list price reset because it would (a) result in

 a reduction in administrative fees for PBMs, (b) reduce rebates, which would impact

 PBMs’ ability to satisfy rebate guarantees with some clients, and (c) impair their

 clients’ ability to lower premiums for patients, thereby impacting their market

 competitiveness. An excerpt of this email is shown below:

         Figure 19: Eli Lilly internal email re potential price reductions




       325. Insulin price increases were driven, in part, by tactics the PBMs

 employed in the early 2010s. At that time, the PBMs began to aggressively pressure

 the Manufacturers to raise list prices by implementing formulary exclusions in the

 insulin therapeutic class. When a drug is excluded, it means that it will not be covered

 by the insurer. Formulary exclusions effectively stop manufacturers from reaching

 large blocks of patients and require patients to either switch to a new product or pay


                                           99
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 significantly more to stay on their preferred medication. This tactic boosted the size

 of rebates and catalyzed the upward march of list prices. The Manufacturers

 responded to these formulary exclusion threats by raising list prices aggressively—

 increases that often were closely timed with price changes by competitors.

       326. Internal memoranda and correspondence confirm that PBM formulary

 exclusion lists have contributed to higher rebates and fees in the insulin therapeutic

 class. The Manufacturers have increased rebates in response to formulary exclusion

 threats, in order to preserve their revenue and market share through patient access. In

 addition, increases in rebates and fees are associated with increased list prices, such

 that the PBM Defendants’ demands for increased rebates directly contributed to

 rising insulin prices. As Eli Lilly’s CEO, David Ricks, has explained, Eli Lilly agreed

 to raise list prices to fund higher rebates and fees for the PBMs:

           Getting on [a] formulary is the best way to ensure most people can
           access our medicines affordably—once again, that’s how insurance
           is supposed to work. But that requires manufacturers to pay ever-
           increasing rebates and fees, which can place upward pressure on
           medicines’ list prices. If we cannot offer competitive rebates, our
           medicines may be excluded from formularies, and people cannot
           access them. Last year alone, to ensure our medicines were covered,
           Lilly paid more than $12 billion in rebates for all our medicines, and
           $1 billion in fees. Last year, about eighty cents of every dollar spent
           on our insulins went to pay rebates and fees.
       327. Insulin was among the first classes of drugs to face PBM formulary




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 exclusions, and the number of insulins excluded has increased over time.61 In 2014,

 Express Scripts and CVS Caremark excluded six and seven insulins, respectively.

 OptumRx excluded four insulins in 2016, its first year with an exclusion list. As of

 2022, insulins have faced 193 total plan-years of exclusion across the PBMs since

 2014:

                    Figure 20: Insulin exclusions by plan year




         328. The Manufacturers have also made price-increase decisions due to

 countervailing pressures in their relationships with the PBMs. A higher list-price

 increases the dollar value of rebates, discounts, and other fees that a Manufacturer

 can offer to a PBM—all of which are based on a percentage of the list price. Internal



 61
    Xcenda, Skyrocketing growth in PBM formulary exclusions continues to raise
 concerns       about      patient  access    (May     2022),      available    at
 https://www.xcenda.com//media/ assets/xcenda/english/content-assets/white-papers-
 issue-briefs-studies-pdf/ xcenda_pbm_exclusion_may_2022.pdf.
                                         101
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 documents show that the Manufacturers were sensitive not only to their own bottom

 lines, but also to the bottom lines of PBMs that set formularies, without which a

 Manufacturer’s product would likely lose significant market share.

       329. Exclusions, driven in part by perverse PBM incentives, have had a

 significant impact on patients’ access to insulin. Lower list-priced insulins have been

 available since 2016—including follow-on insulins62 (Admelog, Basaglar, Lyumjev,

 Fiasp), “authorized generic” insulins (Lispro, Insulin Aspart),63 and, more recently,

 biosimilar insulins. PBMs, however, often exclude these insulins from their

 formularies in favor of products with higher list prices and larger rebates. For

 example, two of the three PBM Defendants have excluded the two insulin authorized



 62
    The term “follow-on biologic” is a broad, overarching term. The designation of
 “biosimilarity” is a regulatory designation. “Follow-on biologics” are copies of
 originator innovator biologics. Those approved via the Biologics License Application
 (BLA) regulatory pathway (Public Health Service Act) are referred to as
 “biosimilars.” Those approved via the New Drug Application (NDA) regulatory
 pathway (Food, Drug, and Cosmetic Act) retain the designation “follow-on”
 biologics. See Richard Dolinar, et al., A Guide to Follow-on Biologics and
 Biosimilars with a Focus on Insulin, 24 Endocrine Practice 195-204 (Feb. 2018),
 https://www.sciencedirect.com/science/article/abs/pii/S1530891X20353982#:~:text=
 Follow%2Don%20biologics%20are%20copies,regulations%20involving%20biologi
 cs%20are%20complex (last visited Jan. 5, 2024).
 63
   An authorized generic medicine is a “brand name drug that is marketed without the
 brand name on its label.” Additionally, “even though it is the same as the brand name
 product, a company may choose to sell the authorized generic at a lower cost than the
 brand name drug.” See Food and Drug Administration. FDA listing of authorized
 generics, https://www.fda.gov/media/77725/download (last visited Jan. 5, 2024).


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 generics since 2020, instead favoring the higher list-priced equivalents. Remarkably,

 those PBM Defendants did so even though the list prices for these authorized generic

 insulins can be half the list price of the brand.64

        330. In addition to the exclusions of authorized generic insulins, lower list-

 priced biosimilar insulins have also faced PBM formulary exclusions. The first

 biosimilar insulin was launched in 2021. Due to prevailing market dynamics, two

 identical versions of the product were simultaneously introduced—one with a higher

 list price and large rebates, and one with a lower list price and limited rebates—giving

 payors the option of which to cover. All three PBMs excluded the lower list-priced

 version in 2022, instead choosing to include the identical product with the higher list

 price.65

        331. Excluding lower list-priced medicines from formularies can substantially

 increase out-of-pocket costs for patients in plans using deductibles or coinsurance,

 where cost-sharing is typically determined based on the medicine’s full list price.66



 64
   Tori Marsh, Can’t access generic Humalog? There’s an even cheaper insulin option
 available, GOODRX. (Aug. 26, 2019), https://www.goodrx.com/blog/admelog-now-
 cheaper-than-generic-humalog (last visited Jan. 5, 2024).
 65
   Adam Fein, Five takeaways from the big three PBMs’ 2022 formulary exclusions
 (Jan. 19, 2022), available at https://www.drugchannels.net/2022/01/five-takeaways-
 from-big-three-pbms-2022.html
 66
   Adam Fein, Express Scripts vs. CVS Health: five lessons from the 2020 formulary
 exclusions and some thoughts on patient impact (Jan. 2020), available at https://
 www.drugchannels.net/2020/01/express-scripts-vs-cvs-health-five.html.
                                            103
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 This trend of favoring higher list-priced products has dramatically affected patient

 affordability and access to insulins.

       332. The PBM Defendants and the Manufacturers are complicit in this. There

 has been little, if any, attempt by the PBM Defendants to discourage the

 Manufacturers from increasing the list price of their products. Instead, the PBMs used

 their size and aggressive negotiating tactics, such as the threat of excluding drugs

 from formularies, to extract even more generous rebates, discounts, and fees from the

 Manufacturers, who have increased their insulin list prices in lockstep.

       333. The PBMs thus had every incentive to encourage the Manufacturers to

 raise list prices, since the rebates, discounts, and fees the PBMs negotiate are based

 on a percentage of a drug’s list price—and the PBMs retain a large portion of what

 they negotiate. In fact, the Manufacturers have been dissuaded from decreasing list

 prices for their products, which would have lowered out-of-pocket costs for patients,

 due to concerns that the PBMs and health plans would react negatively.

       334. Diabetes medications have become unaffordable for many diabetics

 because of the Manufacturer and PBM Defendants’ collusive price increases.

       C.     The Pharmaceutical Payment and Supply Chains

       335. The prescription drug industry is comprised of a deliberately opaque

 network of entities engaged in multiple distribution and payment structures. These

 entities include manufacturers, wholesalers, PBMs, pharmacies, payors, and patients.


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       336. Given the complexities of the different parties involved in the

 pharmaceutical industry, pharmaceuticals are distributed in many ways. Generally

 speaking, branded prescription drugs, such as the at-issue diabetes medications, are

 distributed in one of three ways: (a) from manufacturer to wholesaler (distributor),

 wholesaler to pharmacy, and pharmacy to patient; (b) from manufacturer to mail-

 order pharmacy to patient; or (c) from manufacturer to mail-order pharmacy, mail-

 order pharmacy to self-insured payor, and self-insured payor to patient.

       337. The pharmaceutical industry, however, is unique in that the payment

 chain is distinct from the distribution chain. The prices for the drugs distributed in

 the pharmaceutical chain are different for each participating entity—that is, different

 actors pay different prices set by different entities for the same drugs. The unifying

 factor is that the price that each entity in the pharmaceutical chain pays for a drug is

 necessarily tied to the price set by the manufacturer.




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       338. Here is how the payment chain often works:67

                  Figure 21: The pharmaceutical payment chain




       339. The payment chain includes self-insured payors like Plaintiff paying

 PBMs directly. Defendant Express Scripts invoiced Plaintiff directly for its purchases

 of the at-issue diabetes medications.

       340. But there is no transparency in this pricing system. Typically, there are

 two kinds of published prices. One is the WAC, which is a manufacturer’s price for

 the drug to wholesalers (and excludes any discounts, rebates, or price reductions).


 67
   See Karen Van Nuys, et al., Estimation of the Share of Net Expenditures on Insulin
 Captured by US Manufacturers, Wholesalers, Pharmacy Benefit Managers,
 Pharmacies, and Health Plans From 2014 to 2018, JAMA HEALTH FORUM (Nov. 5,
 2021), https://jamanetwork.com/journals/jama-health-forum/fullarticle/2785932.

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 The other is the AWP, which is the price wholesalers charge retailers for a drug. Both

 WAC and AWP, depending on the context, are sometimes colloquially referred to as

 “list price.” 68

        341.        AWP is usually calculated by applying a significant mark-up (such as

 20%) to the manufacturer’s WAC. AWP does not account for discounts available to

 various payers, nor is it based on actual sales transactions.

        342. Publishing compendia such as First DataBank report both the WAC and

 the AWP.

        343. As a direct result of the PBMs’ conduct, AWP persists as the most

 commonly and continuously used benchmark price in negotiating reimbursement and

 payment calculations for both payors and patients.

        D.     The PBMs’ Role in the Pharmaceutical Payment Chain

        344. Pharmacy benefit managers are at the center of the convoluted

 pharmaceutical payment chain, as illustrated in Figure 22 below.




 68
   In general, when this complaint references Defendants’ conspiracy to inflate “list
 prices,” Plaintiff is referring to WAC. Because AWP is based on WAC, when a
 manufacturer raises its WAC, that necessarily results in an increase to the AWP.
                                             107
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                  Figure 22: Insulin distribution and payment chain




       345. Pharmacy benefit managers (including the PBM Defendants) develop

 drug formularies, process claims, create a network of retail pharmacies, set the

 prices in coordination with the Manufacturers that the payor will pay for

 prescription drugs, and are paid by the payor for the drugs utilized by the payor’s

 beneficiaries.

       346. Pharmacy benefit managers also contract with a network of retail

 pharmacies. Pharmacies agree to dispense drugs to patients and pay fees back to

 pharmacy benefit managers. Pharmacy benefit managers reimburse pharmacies for

 the drugs dispensed.


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          347. The PBM Defendants also own mail-order and specialty pharmacies,

 which purchase and take possession of prescription drugs, including those at-issue

 here, and directly supply those drugs to patients by mail.

          348. Often—including for the at-issue drugs—the PBM Defendants purchase

 drugs directly from the Manufacturers and distribute them directly to the patients.

          349. Even where the PBM Defendants’ mail-order pharmacies purchase drugs

 from wholesalers, their costs are set by direct contracts with the manufacturers.

          350. In addition, and of particular significance here, the PBM Defendants

 contract with drug manufacturers, including the Manufacturer Defendants. The

 PBMs extract from the Manufacturers rebates, fees, and other consideration that are

 paid back to the PBM, including the Manufacturer Payments related to the at-issue

 drugs.

          351. The Manufacturers also interact with the PBMs in connection with

 services outside the Insulin Pricing Scheme’s scope, such as health and educational

 programs and patient and prescriber outreach with respect to drugs not at issue here.

          352. These relationships place PBMs at the center of the flow of

 pharmaceutical money and allow them to exert tremendous influence over what drugs

 are available nationwide, on what terms, and at what prices.

          353. Historically and today, the PBM Defendants:

          •    negotiate the price that payors pay for prescription drugs (based on prices
               generated by the Insulin Pricing Scheme);
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       •        separately negotiate a different (and often lower) price that pharmacies
                in their networks receive for the same drug;

       •        set the amount in fees that the pharmacy pays back to the PBM for each
                drug sold (based on prices generated by the Insulin Pricing Scheme);

       •        set the price paid for each drug sold through their mail-order pharmacies
                (based on prices generated by the Insulin Pricing Scheme); and

       •        negotiate the amount that the Manufacturers pay back to the PBM for
                each drug sold (based on prices generated by the Insulin Pricing
                Scheme).

       354. Yet, for the majority of these transactions, only the PBMs are privy to

 the amount that any other entity in this supply chain is paying or receiving for the

 same drugs. This absence of transparency affords Defendants the opportunity to

 extract billions of dollars from this payment and supply chain without detection.

       355. In every interaction the PBMs have within the pharmaceutical payment

 chain, they stand to profit from the prices generated by the Insulin Pricing Scheme.

            1. The Rise of the PBMs in the Pharmaceutical Supply Chain
       356. In the 1960s, pharmacy benefit managers functioned largely as claims

 processors. Over time, however, they have assumed an ever-expanding role as power

 brokers in pharmaceutical payment and distribution chains.

       357. One key role pharmacy benefit managers took on was negotiating with

 drug manufacturers, ostensibly on behalf of payors. In doing so, pharmacy benefit

 managers affirmatively represented that they were using their leverage to drive down

 drug prices.


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       358. In the early 2000s, pharmacy benefit managers started buying

 pharmacies, thereby creating an additional incentive to collude with manufacturers

 to keep certain prices high.

       359. These perverse incentives still exist today with respect to both retail and

 mail-order pharmacies housed within the PBMs’ corporate families. Further recent

 consolidation in the industry has given the PBMs disproportionate market power.

       360. Nearly forty pharmacy-benefit-manager entities combined into what are

 now the PBM Defendants, each of which now is affiliated with another significant

 player in the pharmaceutical chain, e.g., Express Scripts merged with Cigna; CVS

 bought Caremark (and now also owns Aetna); and UnitedHealth Group acquired

 OptumRx.

       361. Figure 23 depicts this market consolidation.




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                            Figure 23: PBM consolidation




          362. After merging with or acquiring all competitors, and now backed by

 multibillion-dollar corporations, the PBM Defendants have taken over the market in

 the past decade, controlling more than 80% of drug benefits for more than 270 million

 Americans.

          363. Together, the PBM Defendants report more than $300 billion in annual

 revenue.

          364. The PBMs use this market consolidation and the resulting purchasing

 power as leverage when negotiating with other entities in the pharmaceutical payment

 chain.



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                2. The Insular Nature of the Pharmaceutical Industry

       365. The insular nature of the pharmaceutical industry has provided

 Defendants with ample opportunity for furtive contact and communication with their

 competitors, as well as the other PBM and Manufacturer Defendants, which

 facilitates their execution of the Insulin Pricing Scheme.

       366. For example, each Manufacturer Defendant is a member of the industry-

 funded Pharmaceutical Research and Manufacturers of America (“PhRMA”) and has

 routinely communicated through PhRMA meetings and platforms in furtherance of

 the Insulin Pricing Scheme. According to PhRMA’s 2019 IRS Form 990, it received

 more than $515 million in “membership dues.” All members are pharmaceutical

 companies.69

       367. David Ricks (Chair and CEO of Eli Lilly), Paul Hudson (CEO of Sanofi),

 and Douglas Langa (President of Novo Nordisk and EVP of North American

 Operations), serve on the PhRMA Board of Directors and/or part of the PhRMA

 executive leadership team.

       368. The PBM Defendants also routinely communicate through direct

 interaction with their competitors and the Manufacturers at trade associations and



 69
    PhRMA 2019 Form 990, https://projects.propublica.org/nonprofits/ organizations/
 530241211/202043189349300519/full; PhRMA, About PhRMA, https://phrma.org/-
 /media/Project/PhRMA/PhRMA-Org/PhRMA-Org/PDF/A-C/About-PhRMA2.pdf
 (last visited Jan. 4, 2023).

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 industry conferences.

       369. Each year during the relevant period, the main PBM trade association,

 the industry-funded Pharmaceutical Care Management Association (“PCMA”), held

 several yearly conferences, including its Annual Meeting and its Business Forum

 conferences.70

       370. The PCMA is governed by PBM executives. As of April 2024, the board

 of the PCMA included Adam Kautzner (President of Express Scripts), Patrick

 Conway (CEO of OptumRx), and David Joyner (Executive Vice President and

 President of Pharmacy Services at CVS Health).

       371. All PBM Defendants are members of the PCMA and, due to their

 leadership positions, wield substantial control over it.

       372. Additionally, the Manufacturer Defendants are affiliate members of the

 PCMA.

       373. Every year, high-level representatives and corporate officers from both

 the PBM and Manufacturer Defendants attend these conferences to meet in person

 and engage in discussions, including those in furtherance of the Insulin Pricing

 Scheme.



 70
    The PCMA’s industry funding in the form of “membership dues” is set out in its
 2019                                     Form                                990,
 https://projects.propublica.org/nonprofits/organizations/383676760/2020429693493
 01134/full (last visited Apr. 5, 2024).
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       374. In fact, for at least the last eight years, all Manufacturer Defendants have

 been “Partners,” “Platinum Sponsors,” or “Presidential Sponsors” of these PBM

 conferences.

       375. Notably, many of the forums at these conferences are specifically

 advertised as offering opportunities for private, non-public communications. For

 example, as Presidential Sponsors of these conferences, Manufacturer Defendants

 each hosted “private meeting rooms” that offer “excellent opportunities for . . . one-

 on-one interactions between PBM and pharma executives.” 71

       376. Representatives from each Manufacturer Defendant have routinely met

 privately with representatives from each PBM Defendant during the Annual

 Meetings and Business Forum conferences that the PCMA holds (and the

 manufacturers sponsor) each year.

       377. In addition, all PCMA members, affiliates and registered attendees of

 these conferences are invited to join PCMA-Connect, “an invitation-only LinkedIn

 Group and online networking community.”72



 71
    PCMA, The PCMA Annual Meeting 2021 Will Take Place at the Broadmoor in
 Colorado Springs, CO September 20 and 21, https://www.pcmanet.org/pcma-
 event/annual-meeting-2021/ (an event “tailored specifically for senior executives
 from PBMs and their affiliated business partners” with “private reception rooms” and
 “interactions between PBM members, drug manufacturers, and other industry
 partners”) (last visited July 3, 2023).
 72
    PCMA, PCMA-Connect, https://www.pcmanet.org/contact/pcma-connect/ (last
 visited Apr. 5, 2024).
                                          115
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       378. As PCMA members, the PBM and Manufacturer Defendants

 undoubtedly used both PCMA-Connect, as well as the private meetings at the PCMA

 conferences, to exchange information and to reach agreements in furtherance of the

 Insulin Pricing Scheme.

       379. Key at-issue lockstep price increases occurred immediately after

 Defendants had convened at PCMA meetings. For example, on September 26 and

 27, 2017, the PCMA held its annual meeting, at which each of the Manufacturer

 Defendants hosted private rooms and executives from each Defendant engaged in

 several meetings throughout the conference. On October 1, 2017, just days after the

 conference, Sanofi increased Lantus’s list price by 3% and Toujeo’s list price by

 5.4%. Novo Nordisk recommended that their company make a 4% list price increase

 effective on January 1, 2018, to match the Sanofi increase.

       380. Likewise, on May 30, 2014, Novo Nordisk raised the list price of

 Levemir a matter of hours after Sanofi made its list price increase on Lantus. These

 price hikes occurred just weeks after the 2014 PCMA spring conference in

 Washington, D.C., attended by representatives of all three PBM Defendants.

       381. The PBMs control the PCMA and have weaponized it to further their

 interests and to conceal the Insulin Pricing Scheme. The PCMA has instituted

 numerous lawsuits and lobbying campaigns aimed at blocking drug pricing

 transparency efforts, including recently suing the Department of Health and Human


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 Services (HHS) to block the finalized HHS “rebate rule,” which would eliminate anti-

 kickback safe harbors for Manufacturer Payments and instead offer them as direct-

 to-consumer discounts.

          382. Notably, the PCMA’s 2019, 2020, and 2021 tax returns report annual

 revenue for “litigation support” totaling $1.01 million, $2.19 million, and $2.92

 million respectively. Prior tax returns similarly reveal millions of dollars in revenue

 for “litigation support” (and tens of millions in revenue for “industry relations”) year

 after year.73

          383. In addition, communications among the PBM Defendants are facilitated

 by the fluidity and frequency with which executives move from one PBM Defendant

 to another. For example:

          • Mark Thierer worked as an executive at Caremark Rx, LLC (now CVS
            Caremark) prior to becoming the CEO of OptumRx in 2016 (and also
            served as Chairman of the Board for PCMA starting in 2012);
          • CVS Health’s current President and CEO Karen Lynch held an executive
            position at Cigna;
          • Amar Desai served as President for Health Care Delivery at CVS Health
            before joining Optum Health, where he now serves as CEO.
          • Trip Hofer served in leadership at CVS Health before becoming CEO of
            Behavioral Health for Optum Health.
          • Bill Wolfe was the President of the PBM Catalyst Rx (now OptumRx) prior
            to becoming the President of Aetna Rx in 2015 (and also served as a PCMA
            board member from 2015-2017 while with Aetna Rx);
          • Derica Rice former EVP for CVS Health and President of CVS Caremark


 73
      See, e.g., PCMA 2019-2021 Form 990s and prior years’ returns on ProPublica.
                                           117
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            previously served as EVP and CFO for Eli Lilly;
       • Duane Barnes was the Vice President of Medco (now Express Scripts)
         before becoming division President of Aetna Rx in 2006 (and also served
         as a PCMA board member);
       • Everett Neville was the division President of Aetna Rx before becoming
         Senior Vice President of Express Scripts;
       • Albert Thigpen was a Senior Vice President at CVS Caremark for eleven
         years before becoming a Senior Vice President at OptumRx in 2011;
       • Harry Travis was the Chief Operating Officer at Medco (now Express
         Scripts) before becoming a Vice President at Aetna Rx in 2008; he also
         served as SVP Member Services Operations for CVS Caremark from 2020-
         2022; and
       • Bill Kiefer was a Vice President of Express Scripts for fourteen years
         before becoming Senior Vice President of Strategy at OptumRx in 2013.
       E.      The Insulin Pricing Scheme

       384. The market for the at-issue diabetes medications is unique in that it is

 highly concentrated with no true generics and few biosimilar options. The drugs and

 biosimilars have similar efficacy and risk profiles.

       385. This affords the PBMs significant leverage that, in theory, could be used

 to negotiate with the Manufacturer Defendants to drive down list prices for the at-

 issue drugs through open competition.

       386. But the PBMs do not want the prices for diabetes medications to

 decrease. A 2022 report by the Community Oncology Alliance put it this way:

            Among the different sources of revenue, the most prolific by far is in
            the form of rebates from pharmaceutical manufacturers that PBMs
            extract in exchange for placing the manufacturer’s product drug on a
            plan sponsor’s formulary or encouraging utilization of the
            manufacturer’s drugs. . . . [T]he growing number and scale of rebates
            is the primary fuel of today’s high drug prices. The truth is that PBMs
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             have a vested interest to have drug prices remain high, and to extract
             rebates off of these higher prices. PBM formularies tend to favor
             drugs that offer higher rebates over similar drugs with lower net costs
             and lower rebates. 74

          387. The Manufacturer Defendants understand that they make more money as

 list prices increase. They also understand that PBM Defendants make more money

 as list prices increase. This is confirmed by the Senate Insulin Report after committee

 review of internal documents produced by the Manufacturer Defendants:

             [B]oth Eli Lilly and Novo Nordisk executives, when considering
             lower list prices, were sensitive to the fact that PBMs largely make
             their money on rebates and fees that are based on a percentage of a
             drug’s list price.75

          388. The documents eventually released by the Senate Finance Committee

 also indicate how the Manufacturer Defendants’ pricing strategy focuses on the

 PBMs’ profitability. In an internal August 6, 2015, email, Novo Nordisk executives

 debated delaying increasing the price of an at-issue drug to make the increase more

 profitable for CVS Caremark, stating:

             Should we take 8/18 [for a price increase], as agreed to by our
             [pricing committee], or do we recommend pushing back due to the
             recent CVS concerns on how we take price? . . . We know CVS has
             stated their disappointment with our price increase strategy (ie taking
             just after the 45th day) and how it essentially results in a lower price
 74
   Community Oncology Alliance & Frier Levitt, Pharmacy Benefit Manager Exposé:
 How PBMs Adversely Impact Cancer Care While Profiting at the Expense of Patients,
 Providers,       Employers,        and        Taxpayers        (Feb.        2022),
 https://communityoncology.org/research-publications/studies/pbm-dirty-tricks-
 expose/.
 75
      Senate Insulin Report at 89.


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           protection, admin fee and rebate payment for that quarter/time after
           our increase . . . it has been costing CVS a good amount of money.76

       389. The Manufacturer Defendants also understand that because of the PBMs’

 market dominance, most payors accept the baseline national formularies offered by

 the PBMs with respect to the at-issue drugs.

       390. The Insulin Pricing Scheme was born from these understandings. Both

 sets of Defendants realized that if the Manufacturers artificially inflated their list

 prices to facilitate large, undisclosed Manufacturer Payments back to the PBMs, both

 the PBMs and Manufacturers would generate billions of unearned dollars. The plan

 worked.

       391. Over the past several years the Manufacturers have raised prices in

 unison and have paid correspondingly larger Manufacturer Payments to the PBMs.

       392. In exchange for the Manufacturers artificially inflating their prices and

 paying the PBMs substantial amounts in Manufacturer Payments, the PBM

 Defendants grant the Manufacturer Defendants’ diabetes medications elevated prices

 and preferred status on their national formularies. During the relevant period, the

 rebate amounts (as a proportion of the list price) grew year-over-year while list prices

 themselves increased.



 76
   Letter from Raphael A. Prober, Counsel for Novo Nordisk Inc., to Charles E.
 Grassley & Ron Wyden, S. Fin. Comm. (Mar. 8, 2019), https://www.finance.senate.
 gov/imo/media/doc/Novo_ Redacted.pdf (last visited Apr. 24, 2024).
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       393. For example, in July 2013, Sanofi offered rebates between 2% and 4%

 for preferred placement on CVS Caremark’s commercial formulary. Five years later,

 in 2018, Sanofi rebates were as high as 56% for preferred placement. In 2015, Sanofi

 offered OptumRx rebates up to 42% for Lantus for preferred formulary placement.

 That figure grew to 79.75% by 2019. Similarly, in 2014, Novo Nordisk offered

 Express Scripts 25% rebates for Levemir. That figure climbed to 47% in 2017.

       394. Beyond increased rebate demands, the PBM Defendants have also

 sought and received larger and larger administrative fees from the Manufacturers

 during the relevant period.

       395. A recent study by the Pew Charitable Trust estimated that, between 2012

 and 2016, the amount of administrative and other fees that the PBMs requested and

 received from the Manufacturers tripled, reaching more than $16 billion. The study

 observed that although rebates were sent to payors during this period, PBMs retained

 the same volume of rebates in pure dollars, due to the overall growth in rebate

 volume, as well as increases in administrative fees and spread pricing (charging a

 client payor more for a drug than the PBM pays the pharmacy).

       396. Thus—and contrary to their public representations—the PBM

 Defendants’ negotiations and agreements with the Manufacturer Defendants (and the

 formularies that result from these agreements) have caused and continue to cause

 precipitous price increases for the at-issue drugs.


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        397. As a result of the Insulin Pricing Scheme, every payor, including

 Plaintiff, that pays or reimburses for the at-issue drugs has been overcharged.

        398. Moreover, the PBMs use this false price to misrepresent the amount of

 “savings” they generate for diabetics, payors, and the healthcare system. For

 example, in January 2016, Express Scripts’ president Tim Wentworth stated at the

 34th annual JP Morgan Healthcare Conference that Express Scripts “saved our clients

 more than $3 billion through the Express Scripts National Preferred Formulary.”77

 Likewise, in April 2019, CVS Caremark president Derica Rice stated: “Over the last

 three years . . . CVS Caremark has helped our clients save more than $141 billion by

 blunting drug price inflation, prioritizing the use of effective, lower-cost drugs and

 reducing the member’s out-of-pocket spend.”78

        399. In making these representations, the PBMs fail to disclose that the

 amount of “savings” generated is calculated based on the false list price, which is not

 paid by any entity in the pharmaceutical payment chain and which all Defendants are

 directly responsible for artificially inflating.

        400. The Insulin Pricing Scheme is a coordinated effort between the

 77
   Surabhi Dangi-Garimella, PBMs Can Help Bend the Cost Curve: Express Scripts’
 Tim Wentworth, AJMC (Jan. 12, 2016), https://www.ajmc.com/view/pbms-can-help-
 bend-the-cost-curve-express-scripts-tim-wentworth (last visited Apr. 5, 2024).
 78
    CVS Health, CVS Health PBM Solutions Blunted the Impact of Drug Price
 Inflation, Helped Reduce Member Cost, and Improved Medication Adherence in 2018
 (Apr. 11, 2019), https://www.cvshealth.com/news-and-insights/press-releases/cvs-
 health-pbm-solutions-blunted-the-impact-of-drug-price (last visited Apr. 5, 2024).
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 Manufacturer and PBM Defendants that created enormous profits for Defendants.

 Each of the Defendants agreed to and participated in the scheme. For example:

       a.   The Manufacturers and the PBMs are in constant communication and

            regularly meet and exchange information to construct and refine the

            PBM formularies that form and fuel the scheme. As part of these

            communications, the Manufacturers are directly involved in determining

            not only where their own diabetes medications are placed on the PBMs’

            formularies and with what restrictions, but also in determining the same

            for competing products. Though their communications and written

            contracts, the Manufacturers and the PBMs also agree to rebates, fees,

            and other payments—that is, kickbacks—in exchange for preferred

            formulary access.

       b.   The Manufacturers and the PBMs share confidential and proprietary

            information with each other in furtherance of the Insulin Pricing Scheme,

            such as market data gleaned from the PBMs’ drug utilization tracking

            efforts and mail-order pharmacy claims, internal medical efficacy

            studies, and financial data. Defendants then use this information in

            coordination to set the false prices for the at-issue medications and to

            construct their formularies in the manner that is most profitable for both

            sets of Defendants. The data that is used to further this coordinated


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            scheme is compiled, analyzed, and shared either by departments directly

            housed within the PBM or by subsidiaries of the PBM, as is the case with

            OptumRx (which utilizes OptumInsight and Optum Analytics).

       c.   The Manufacturers and the PBMs engage in coordinated outreach

            programs directly to patients, pharmacies, and prescribing physicians to

            convince them to switch to the diabetes medications that are more

            profitable for the PBMs and Manufacturers, even drafting and editing

            letters in tandem to send out to diabetes patients on behalf of the PBMs’

            clients. For example, the Grassley-Wyden committee recently released

            an email in which Eli Lilly discussed paying Defendant UnitedHealth

            Group and OptumRx additional rebates for every client that was

            converted to formularies that exclusively preferred Eli Lilly’s at-issue

            drugs, including Humalog. The email continued: “United’s leadership

            committee made one ask of Lilly – that we are highly engaged in the

            communication/pull through plan.79 I of course indicated we fully expect

            to support this massive patient transition [to Eli Lilly’s at-issue drugs

            favored by United] and provider education with the full breadth of Lilly



 79
    “Pull through” is an industry term that refers to marketing to physicians by
 Manufacturers aimed at moving market share and increasing sales for a certain
 product following the PBM granting that product preferred placement on its
 formulary.
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              resources. UHC also proactively thanked Lilly for our responsiveness,

              solution generation and DBU execution.”

       401. Rather than using their prodigious bargaining power to lower drug prices

 as they claim, Defendants used their dominant positions to work together to generate

 billions of dollars in illicit profits at the expense of payors and diabetics.

       F.     The Manufacturers React to Threats of Formulary Exclusion by
              Increasing Rebates Offered to the PBMs

       402. Although the PBM Defendants have insisted they had no control over

 how the Manufacturers price their insulin products, their threats of formulary

 exclusion illustrate how they used new insulin competitors with lower prices to

 leverage even higher rebates on the existing insulin drugs.

       403. In the face of formulary exclusion threats based on new entrants in the

 insulin market, the Manufacturers have willingly met the PBM Defendants’ demands

 for increased rebates in order to retain preferred formulary placement and block

 competitors. For example, in 2016, Sanofi and Novo Nordisk enhanced their rebate

 offers at the same time Eli Lilly introduced Basaglar, a follow-on biologic to Lantus.

 Basaglar is a long-acting insulin and is “[c]linically . . . very similar” to Sanofi’s

 Lantus. Because of its near clinical equivalence, Basaglar posed a competitive threat

 in the long-acting insulin market. The PBMs threatened to switch to Basaglar because

 it was priced lower and they expected Eli Lilly to offer larger discounts in response.

       404. A 2016 Sanofi memo describes the market dynamic whereby a

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 threatened new market entrant would lead not to lower prices, but to greater rebates:

               Figure 24: Sanofi memo on introduction of Basaglar




       405. In an attempt to avoid PBMs switching to Basaglar, Sanofi and Novo

 Nordisk increased their rebate bids to respond to Eli Lilly. For example, according to

 Sanofi internal memoranda, sometime around April 2016, Express Scripts requested

 bids for its 2017 national commercial formulary and indicated its desire to add only

 one insulin glargine product to its basal insulin category. Express Scripts

 communicated to Sanofi that “with the right competitive price, [it] would not have

 significant challenges moving [from Lantus and Toujeo] to Basaglar” and that Sanofi

 must enhance its current rebate rate of 42% to maintain access for their basal insulins.

       406. An internal Sanofi memo describes the dynamic where, at “the right

 competitive price,” Express Scripts would not have a challenge moving Basaglar into

 a preferred position on its formulary:




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                    Figure 25: Sanofi memo on Basaglar pricing




       407. Rebate contracts confirm that Sanofi increased its offer up to almost 55%

 off its WAC of $248.51 for Lantus vials and $372.76 for Lantus pens.

       408. For the Manufacturers, the mere threat of exclusion has pressured them

 to offer substantially greater rebates to maintain formulary position. This is because

 formulary exclusions are likely to cause significant loss of a manufacturer’s market

 share, leading to lower revenue. On the other hand, being the exclusive therapy on a

 formulary has the opposite effect, which incentivizes Manufacturers to offer large

 discounts to acquire or maintain such status. The use of formulary exclusions has thus

 led to a market dynamic in which Manufacturers offer ever-higher rebates to avoid

 exclusion, which has led to higher list prices.

       409. For example, before 2013, Sanofi offered an average rebate of 5% on

 Lantus. However, beginning in 2013, competitors sought to “[d]isplace Lantus in

 High Control Plans and Markets . . . through increased rebates” to capture market

 share. In response, Sanofi increased its rebate and discount offerings to remain on

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 their formulary. A Sanofi memo further explains this dynamic:

             Figure 26: Sanofi memo on increased rebates for Lantus




       410. While the PBM Defendants have touted that using formulary exclusions

 in the insulin therapeutic class was a way to drive down costs for their clients, internal

 correspondence and memoranda show that increased use of formulary exclusions did

 exactly the opposite: WAC (list) prices have continued to increase, leading to higher

 costs for payors and higher prices for patients at the pharmacy counter.

       411. For example, in 2013, when Express Scripts threatened to move patients

 to other diabetes drugs to “break even on [the] rebate line” unless Sanofi increased

 its Medicare Part D rebate offer for Lantus, Sanofi considered increasing its rebate

 offer from 7.45% to 15% in order to prevent formulary exclusion. Sanofi also faced


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 similar pressure to increase rebates for Express Scripts’ commercial contracts.

 Internal Sanofi memoranda show that “Sanofi was notified by [Express Scripts] that

 Lantus was positioned to be removed from the formulary effective 2013 . . . [and as

 a result] rebates were re-negotiated.” An excerpt from this memo, discussing the

 threat to Lantus, illustrates that the threats used by Express Scripts to drive up rebates

 on Sanofi’s flagship insulin product Lantus:

          Figure 27: Sanofi presentation on formulary threats to Lantus




       412. According to internal memoranda, in 2014, Express Scripts and its

 affiliated businesses managed the prescription drug claims of over 4.6 million people,

 representing 15% of the total business in the Medicare Part D channel. Rebate

 agreements confirm Sanofi renegotiated rebates and entered into an agreement to

 provide up to 10.625% for Lantus, effective January 1, 2014. Rebates were

 renegotiated again that same year, and Sanofi increased its rebate offer up to

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 14.625%, effective October 1, 2014.

       413. CVS Caremark and OptumRx used similar formulary exclusion threats

 to drive up Lantus rebates. Around this same time, other PBMs learned that Sanofi

 had offered competitive rebates to Express Scripts which caused them to question

 their rebate status with Lantus. As a result, they too demanded higher rebates and

 threatened to exclude Lantus from their formulary to achieve this result.

       414. For example, in 2014, OptumRx threatened to remove Lantus from its

 commercial formulary. Sanofi offered an enhanced rebate for FY2015 in the 15%

 range, but OptumRx rejected Sanofi’s offer and took steps to remove Lantus from its

 commercial formulary. Sanofi responded with a last-minute bid of a 45% rebate for

 Tier 2, which OptumRx countered with 45% for Tier 3. According to Sanofi,

 OptumRx’s counteroffer was “ultimately accepted over access concerns to future

 products and the need to secure access to patient lives.”

       415. Similarly, in 2016, Express Scripts threatened to remove Lantus and

 Toujeo from its Medicare Part D formulary and requested that Sanofi submit its “best

 and final offer” or else face formulary exclusion. According to internal memoranda,

 during negotiations, Express Scripts told Sanofi that it was justified in removing

 Lantus and Toujeo from its Medicare Part D formulary because it had allowed “quite

 a few years of price increases” and that Novo Nordisk’s rebate offer was more

 competitive. In response to Express Scripts’ threat, Sanofi discussed revising its


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 rebate offer up to 40% with 4% price protection for Lantus and Toujeo.

       416. Although contracts with PBMs included larger and larger rebates, the

 Manufacturers still expected to remain profitable. For example, on July 28, 2017, one

 Sanofi official wrote to colleagues after considering their offer to CVS Caremark for

 placement on the Part D formulary: “After inclusion of additional fees, we are still

 profitable up to an 89% rebate.” The official included an analysis that assumed “CVS

 would need to shift 68.9% of [its] glargine volume to Novo to break even (at an

 assumed 81% rebate offer).” In its analysis, Sanofi compared various negotiation

 scenarios including a “no contract” scenario, which it determined would be more

 profitable to the company even with the resulting reduction in sales volume and

 revenue. One of the deciding factors was optics. As one colleague put bluntly: “How

 would it look to be removed from the largest Medicare plan?”

       417. As the PBMs expanded the practice of using formulary exclusions to

 extract greater rebates, Sanofi’s counterstrategy was to bundle unrelated products that

 had been excluded—Lantus and an epinephrine injection called Auvi-Q—to win

 formulary inclusion for both. (Bundling is a practice where manufacturers offer

 rebates and discounts for multiple products, but only if certain conditions are met.)

       418. Sanofi faced significant financial pressure across all accounts and sought

 to include bundling agreements in several of its contracts. While negotiating contracts

 for the 2015/16 plan year, Express Scripts advised Sanofi that it needed to be far more


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 aggressive with rebate offers to gain access to the PBM’s commercial book of

 business than in past years. Internally, Sanofi officials warned in a memo that “Novo,

 specifically Levemir, has changed the game with regard to rebates,” and that Sanofi

 would “need to rebate aggressively.” A separate presentation describes “[c]ontracts

 that increase Lantus rebates if Auvi-Q is added to [the] formulary thus creating a

 bundled arrangement,” and notes that the company had even considered a “triple

 product bundle” with Toujeo, despite concerns about the arrangements triggering

 Medicaid best price.

       419. This counterstrategy was not limited to Sanofi. An internal memo shows

 that Sanofi’s competitors were using the same strategy: “Lantus is losing accounts

 and share within the institutional channel because of aggressive discounting and

 bundled contract offerings from Novo Nordisk and Lilly.”

       420. For example, Novo Nordisk secured contract terms from CVS

 Caremark’s Part D business in 2013 that tied its “exclusive” rebates for insulin to

 formulary access for its Type 2 diabetes drug Victoza. The exclusive rebates of 57.5%

 for Novolin, Novolog, and Novolog Mix 70/30 were more than three times higher

 than the 18% rebate for plans that included two insulin products on their formulary.

 To qualify for the exclusive rebate, the plans would also need to list Victoza, a GLP-

 1 agonist, on their formulary, exclude all competing insulin products, and ensure

 “existing patients using a [c]ompeting [p]roduct may not be grandfathered.”


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       G.    Defendants Downplay the Insulin Pricing Scheme and Its Harms

       421. On April 10, 2019, the U.S. House of Representatives Committee on

 Energy and Commerce held a hearing on industry practices titled, “Priced Out of a

 Lifesaving Drug: Getting Answers on the Rising Cost of Insulin.”80

       422. Representatives from all Defendants testified at the hearing and admitted

 that the price for insulin had increased exponentially over the past fifteen years.

       423. Further, each Defendant conceded that the price that diabetics pay out-

 of-pocket for insulin is too high. For example:

       •     Dr. Sumit Dutta, SVP and Chief Medical Officer of OptumRx since
             2015, testified: “A lack of meaningful competition allows the
             [M]anufacturers to set high [list] prices and continually increase them
             which is odd for a drug that is nearly 100 years old and which has seen
             no significant innovation in decades. These price increases have a real
             impact on consumers in the form of higher out-of-pocket costs.”

       •     Thomas Moriarty, General Counsel for CVS admitted: “A real barrier in
             our country to achieving good health is cost, including the price of insulin
             products which are too expensive for too many Americans. Over the last
             several years, prices for insulin have increased nearly 50 percent. Over
             the last ten years, [the] list price of one product, Lantus, rose by 184
             percent.”

       •     Mike Mason, Senior Vice President of Eli Lilly, testified when
             discussing how much diabetics pay out-of-pocket for insulin: “[I]t’s
             difficult for me to hear anyone in the diabetes community worry about
             the cost of insulin. Too many people today don’t have affordable access

 80
    Transcripts available at https://www.congress.gov/event/116th-congress/house-
 event/109299?s=1&r=3 (last visited Apr. 24, 2024) (hereinafter Priced Out of a
 Lifesaving Drug).
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             to chronic medications.”

       •     Kathleen Tregoning, Executive Vice President for External Affairs at
             Sanofi, testified: “Patients are rightfully angry about rising out-of-pocket
             costs for many medicines and we all have a responsibility to address a
             system that is clearly failing too many people. . . . [W]e recognize the
             need to address the very real challenges of affordability. . . . [S]ince 2012,
             average out-of-pocket costs for Lantus have risen approximately 60
             percent for patients.”

       •     Doug Langa, Executive Vice President of Novo Nordisk, testified: “On
             the issue of affordability, . . . I will tell you that at Novo Nordisk we are
             accountable for the list prices of our medicines. We also know that list
             price matters to many, particularly those in high-deductible health plans
             and those that are uninsured.”

       424. None of the testifying Defendants claimed that the significant increase in

 the price of insulin was related to competitive factors such as increased production

 costs or improved clinical benefit.

       425. Instead, the written testimony of Novo Nordisk President Doug Langa

 recognized “misaligned incentives” that have led to higher drug costs, including for

 insulin: “Chief among these misaligned incentives is the fact that the rebates

 pharmaceutical companies pay to PBMs are calculated as a percentage of WAC [list]

 price. That means a pharmaceutical company fighting to remain on formulary is

 constrained from lowering WAC price, or even keeping the price constant, if a

 competitor takes an increase. This is because PBMs will then earn less in rebates and

 potentially choose to place a competitor’s higher-priced product on their formulary

 to the exclusion of others.” Likewise, Mr. Langa’s responses to questions for the


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 record conceded that “[t]he disadvantage of a system in which administrative fees are

 paid as a percentage of the list price is that there is increased pressure to keep list

 prices high.” The hearing transcript records Mr. Langa’s further comments in this

 regard:

           So as you heard from last week from Dr. Cefalu from the [American
           Diabetes Association], there is this perverse incentive and
           misaligned incentives and this encouragement to keep list prices
           high. And we’ve been participating in that system because the higher
           the list price, the higher the rebate. . . . There’s a significant demand
           for rebates. . . . [W]e’re spending almost $18 billion a year in rebates,
           discount, and fees, and we have people with insurance with diabetes
           that don’t get the benefit of that. (emphasis added)

        426. Eli Lilly admitted that it raises list prices as a quid pro quo for formulary

 positions. At the April 2019 Congressional hearing, Mike Mason, Senior Vice

 President of Eli Lilly, testified:

           Seventy-five percent of our list price is paid for rebates and discounts
           . . . . $210 of a vial of Humalog is paid for discounts and rebates. . . .
           We have to provide rebates [to PBMs] in order to provide and
           compete for that [formulary position] so that people can use our
           insulin.

 In the very next question, Mr. Langa of Novo Nordisk was asked, “[H]ave you ever

 lowered a list price?” His answer, “We have not.”

        427. Sanofi’s Executive Vice President for External Affairs, Kathleen

 Tregoning, similarly testified:

           The rebates [are] how the system has evolved. . . . I think the system
           became complex and rebates generated through negotiations with
           PBMs are being used to finance other parts of the healthcare system
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           and not to lower prices to the patient.

 Her written response to questions for the record acknowledged that “it is clear that

 payments based on a percentage of list price result in a higher margin [for PBMs]

 for the higher list price product than for the lower list price product.”

       428. The PBM Defendants also conceded at the April 2019 Congressional

 hearing that they grant preferred, or even exclusive, formulary position because of

 higher Manufacturer Payments paid by the Manufacturer Defendants.

       429. In her responses to questions for the record, Amy Bricker—former

 President of Express Scripts and a former PCMA board member—confirmed that

 “manufacturers lowering their list prices” would give patients “greater access to

 medications.” Yet when asked to explain why Express Scripts did not grant an insulin

 with a lower list price preferred formulary status, she answered: “Manufacturers do

 give higher discounts [i.e., payments] for exclusive [formulary] position . . . .” When

 asked why the PBM would not include both costly and lower-priced insulin

 medications on its formulary, Ms. Bricker stated plainly, “We’ll receive less discount

 in the event we do that.”81


 81
    Buried in Express Scripts’ 2017 10-K is the following: “We maintain contractual
 relationships with numerous pharmaceutical manufacturers, which provide us with,
 among other things administrative fees for managing rebate programs, including the
 development and maintenance of formularies that include particular manufacturer’s
 products . . . .” That is, the Manufacturers pay the PBMs to effectively participate in
 the creation of formularies that payors are required to adopt as a condition for

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       430. As Dr. Dutta, Senior Vice President of OptumRx, reasoned, the cheaper

 list-priced alternative Admelog is not given preference on the formulary because “it

 would cost the payer more money to do that . . . [b]ecause the list price is not what

 the payer is paying. They are paying the net price.”82

       431. But payors do not pay the net price, even when rebates are passed

 through, because the PBMs receive and retain countless other forms of payments that

 drive up the gap between the list price and the net price retained by drug

 manufacturers. By giving preference to drugs with higher list prices based on the

 illusion of a lower net price, the PBMs are causing health plan payors and members

 to pay more while the PBMs keep greater profits for themselves. In other words,

 under the Insulin Pricing Scheme, PBMs and manufacturers can make a drug with a

 lower list price effectively more expensive for payors and then ostensibly save payors

 from that artificially inflated price by giving preference to drugs that had higher list

 prices to begin with (yielding higher Manufacturer Payments to the PBMs).

       432. On May 10, 2023, the U.S. Senate Committee on Health, Education,

 Labor, and Pensions held a hearing titled, “The Need to Make Insulin Affordable for




 obtaining PBM services. Express Scripts Annual Report (Form 10-K) (FYE Dec. 31,
 2017) at 24. It also notes that its business would be “adversely affected” if it were to
 “lose [its] relationship with one or more key pharmaceutical manufacturers.” Id.
 82
   Priced Out of a Lifesaving Drug at lines 1394-95. As noted in the hearing, even the
 “cheaper” alternative Admelog “costs over $200 a bottle.” Id. at lines 3121-26.

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 All Americans.” At this hearing, the CEOs and presidents of the Manufacturer and

 PBM Defendants doubled down on their testimony from 2019. David Ricks, for

 example, the Chair and CEO of Eli Lilly, testified that his company raised list prices

 and agreed to pay ever-increasing rebates to secure formulary placement:

            Getting on formulary is the best way to ensure most people can
            access our medicines affordably . . . . But that requires manufacturers
            to pay ever-increasing rebates and fees, which can place upward
            pressure on medicines’ list prices. . . . Last year alone, to ensure our
            medicines were covered, Lilly paid more than $12 billion in rebates
            for all our medicines, and $1 billion in fees.

        433. Paul Hudson, the CEO of Sanofi, likewise indicated that PBMs prefer

 drugs with higher list prices and that the manufacturers have responded accordingly.

 In discussing a drug Sanofi introduced with a lower list price, Hudson explained: “It

 just didn’t get listed in any way. If price is really the motivator, it would have been

 listed.”

        434. While all Defendants acknowledged before Congress their participation

 in conduct integral to the Insulin Pricing Scheme, none revealed its inner workings

 or the connection between their coordination and the economic harm that payors, like

 Plaintiff, and its Beneficiaries, were unwittingly suffering. Instead, to obscure the

 true reason for precipitous price increases, each Defendant group pointed the finger

 at the other as the responsible party.

        435. The PBM Defendants testified to Congress that the Manufacturer

 Defendants are solely responsible for their list price increases and that the
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 Manufacturer Payments that the PBMs receive are not correlated to rising insulin

 prices.

       436. This testimony is false. The amount the Manufacturers kick back to the

 PBM Defendants is directly correlated to an increase in list prices. On average, a $1

 increase in Manufacturer Payments is associated with a $1.17 increase in list price.83

 Thus, reducing or eliminating Manufacturer Payments would lower prices and reduce

 out-of-pocket expenditures.

       437. Further, in large part because of the increased list prices and related

 Manufacturer Payments, the PBMs’ profit per prescription has grown substantially

 over the same period that insulin prices have steadily increased. For example, since

 2003, Express Scripts has seen its profit per prescription increase more than 500%

 per adjusted prescription.84

       438. Novo Nordisk’s President Doug Langa submitted written testimony to

 Congress in April 2019 acknowledging “there is no doubt that the WAC [list price]

 is a significant component” of “what patients ultimately pay at the pharmacy

 counter.” Yet, the Manufacturers urged upon Congress the fiction that the PBMs were

 83
    Neeraj Sood, et al., The Association Between Drug Rebates and List Prices, USC
 Schaeffer Center for Health Policy and Economics (Feb. 11, 2020),
 https://healthpolicy.usc.edu/research/the-association-between-drug-rebates-and-list-
 prices/ (last visited Apr. 24, 2024).
 84
   David Balto, How PBMs Make the Drug Price Problem Worse, THE HILL (Aug. 31,
 2016, 5:51 p.m.), https://thehill.com/blogs/pundits-blog/healthcare/294025-how-
 pbms-make-the-drug-price-problem-worse (last visited Apr. 24, 2024).
                                          139
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 solely to blame for insulin prices because of their demands for rebates in exchange

 for formulary placement. The Manufacturers claimed their hands were tied and

 sought to conceal their misconduct by falsely suggesting that they have not profited

 from rising insulin prices.

       439. Given the Manufacturers’ claims that rebates were the sole reason for

 rising prices, each was asked directly during the Congressional hearing to guarantee

 it would decrease list prices if rebates were restricted or eliminated. The

 spokespersons for Eli Lilly, Novo Nordisk, and Sanofi all said only that they would

 “consider it.”

       440. In addition, a 2020 study from the Institute of New Economic Thinking

 titled “Profits, Innovation and Financialization in the Insulin Industry,” demonstrates

 that during the time insulin price increases were at their steepest, distributions to the

 Manufacturers’ shareholders in the form of cash dividends and share repurchases

 totaled $122 billion. In fact, during this time, the Manufacturers spent a significantly

 lower proportion of profits on R&D compared to shareholder payouts. The paper also

 notes that “[t]he mean price paid by patients for insulin in the United States almost

 tripled between 2002 and 2013” and that “per-person spending on insulin by patients

 and insurance plans in the United States doubled between 2012 and 2016, despite




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 only a marginal increase in insulin use.”85

         441. The 2022 Community Oncology Alliance report found:86

              [T]here are several important ways that PBM rebates increase the
              costs of drugs for both plan sponsors and patients. . . . PBMs employ
              exceedingly vague and ambiguous contractual terms to recast
              monies received from manufacturers outside the traditional
              definition of rebates, which in most cases must be shared with plan
              sponsors. Rebate administration fees, bona fide service fees, and
              specialty pharmacy discounts/fees are all forms of money received
              by PBMs and rebate aggregators which may not be shared with (or
              even disclosed to) the plan sponsor. These charges serve to increase
              the overall costs of drugs, while providing no benefit whatsoever to
              plan sponsors. . . . The total drug spend of a plan sponsor, regardless
              of whether it is a federal or state governmental program or a self-
              funded employer, will inevitably increase because PBMs are
              incentivized to favor expensive drugs that yield high rebates. . . .

         442. In January 2021, the Senate Finance Report detailed Congress’s findings

 after reviewing more than 100,000 pages of internal company documents from

 Sanofi, Novo Nordisk, Eli Lilly, CVS Caremark, Express Scripts, OptumRx, and

 Cigna. The report concluded, among other things:

         a.     The Manufacturer Defendants retain more revenue from insulin than
                they did in the 2000s. For example, Eli Lilly has reported a steady
                increase in Humalog revenue for more than a decade—from $1.5 billion
                in 2007 to $3 billion in 2018.

         b.     The Manufacturer Defendants have aggressively raised the list price of
                their insulin products absent significant advances in the efficacy of the
                drugs.

 85
   Rosie Collington, Profits, Innovation and Financialization in the Insulin Industry,
 Inst. For New Econ. Thinking (Apr. 2020), https://www.ineteconomics.org/
 research/research-papers/        profits-innovation-and-financialization-in-the-insulin-
 industry (last visited July 3, 2023).
 86
      Community Oncology Alliance, supra n.74.
                                              141
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        c.    The Manufacturer Defendants only spend a fraction of their revenue
              related to the at-issue drugs on research and development—Eli Lilly
              spent $395 million on R&D costs for Humalog, Humulin, and Basaglar
              between 2014-2018 during which time the company generated $22.4
              billion in revenue on these drugs.
        443. The truth is that, despite their finger-pointing in front of Congress, the

 Manufacturers and PBMs are both responsible for their concerted efforts in creating

 and effectuating the Insulin Pricing Scheme.

        H.     All Defendants Profit from the Insulin Pricing Scheme

        444. The Insulin Pricing Scheme affords the Manufacturer Defendants the

 ability to pay the PBM Defendants exorbitant, yet secret, Manufacturer Payments in

 exchange for formulary placement, which garners the Manufacturer Defendants

 greater revenues from sales without decreasing their profit margins. During the

 relevant period, the PBM Defendants granted national formulary position to each at-

 issue drug in exchange for large Manufacturer Payments and inflated prices.

        445. The Manufacturer Defendants also use the inflated price to earn hundreds

 of millions of dollars in additional tax breaks by basing their deductions for donated

 insulins on the inflated list price.

        446. Because of the increased list prices, and related Manufacturer Payments,

 the PBMs’ profit per prescription has grown exponentially during the relevant period

 as well. A recent study published in the Journal of the American Medical Association

 concluded that the amount of money that goes to the PBM Defendants for each


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 insulin prescription increased more than 150% from 2014 to 2018. In fact, for

 transactions in which the PBM Defendants control the PBM and the pharmacy (e.g.,

 CVS Caremark-CVS pharmacy), these Defendants were capturing an astonishing

 40% of the money spent on each insulin prescription (up from only 25% just four

 years earlier), even though they do not contribute to the development, manufacture,

 innovation, or production of the product.87

          447. The PBM Defendants profit from the artificially inflated prices created

 by the Insulin Pricing Scheme in several ways, including by: (a) retaining a

 significant, yet undisclosed, percentage of the Manufacturers Payments, (b) using the

 inflated list price to generate profits from pharmacies, and (c) relying on the inflated

 list price to drive up the PBMs’ margins through their own mail-order pharmacies.

      1. The PBMs Pocket a Substantial Share of Manufacturers’ Secret Payments

          448. The first way in which the PBMs profit from the Insulin Pricing Scheme

 is by keeping a significant portion of the secret Manufacturer Payments.

          449. The amount that the Manufacturers pay the PBMs has increased over

 time both in real dollars and as a proportion of the ever-increasing list prices.

          450. Historically, contracts between PBMs and payors allowed the PBMs to

 keep most or all of the rebates they received, rather than forwarding them to the

 payor.


 87
      Van Nuys, supra n.65.
                                           143
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          451. Over time, payors secured contract provisions guaranteeing that PBMs

 would pay them all or some portion of the rebates that the Manufacturers paid to the

 PBMs. Critically, however, “rebates” are only one aspect of the total secret

 Manufacturer Payments, particularly as “rebates” are narrowly defined and qualified

 by vague exceptions in the PBM Defendants’ contracts with payors.

          452. Indeed, as described in the Senate Insulin Report, the PBMs and

 Manufacturers coordinate to determine the contract options made available to payors:

 “Contracts between PBMs and manufacturers provide a menu of options from which

 their health plan clients can choose certain terms and conditions.”88

          453. The contracts between the PBMs and Manufacturers also “stipulate terms

 the plans must follow regarding factors such as formulary placement and competition

 from other drugs in the therapeutic class.” 89 Thus, the Manufacturers ultimately

 played a role in dictating the terms and conditions of the contracts that payors like

 Plaintiff entered into with PBMs. Of course, the payors were not involved in the

 coordination or the negotiation of the contracts between the PBMs and

 Manufacturers, and the PBMs disclosed only the fact that such relationships may

 exist. But the terms of the contracts, the consideration exchanged between the PBMs

 and Manufacturers, and the means of reaching these determinations all were—and



 88
      Senate Insulin Report at 40.
 89
      Id. at 44.
                                             144
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 remain—shrouded in secrecy.

       454. The PBM and Manufacturer Defendants thus created a “hide-the-ball”

 system where payors like Plaintiff are not privy to rebate negotiations or contracts

 between the Manufacturers and the PBMs. The consideration exchanged between

 them (and not shared with payors) is continually labeled and relabeled. As more

 payors moved to contracts that required PBMs to remit some or all manufacturer

 “rebates” through to the payor, the PBMs renamed the Manufacturer Payments to

 shield them from scrutiny and from their payment obligations.

       455. Payments once called “rebates” in contracts with payors like Plaintiff

 were then termed “administrative fees,” “volume discounts,” “service fees,”

 “inflation fees,” or other industry terms designed to obfuscate the substantial sums

 being secretly exchanged between the PBM Defendants and the Manufacturers.

       456. Just last year, the Senate Commerce, Science and Transportation

 Committee released testimony from David Balto—a former antitrust attorney with

 the Department of Justice and Policy Director for the Federal Trade Commission’s

 Bureau of Competition—from a hearing on fairness and transparency in drug pricing.

 Mr. Balto’s testimony describes how PBMs “transformed from ‘honest brokers’

 supposedly negotiating with drug companies to obtain lower costs for insurers and

 patients into oligopolists using the rebates they extract from drug manufacturers and

 pharmacies to enrich themselves.” He further testified:


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          The PBM rebate system turns competition on its head with PBMs
          seeking higher, not lower prices to maximize rebates and profits. In
          the past decade, PBM profits have increased to $28 billion annually.
          . . . . PBMs establish tremendous roadblocks to prevent payors from
          knowing the amount of rebates they secure. Even sophisticated
          buyers are unable to secure specific drug by drug rebate information.
          PBMs prevent payors from being able to audit rebate information.
          As the Council of Economic Advisors observed, the PBM market
          lacks transparency as “[t]he size of manufacturer rebates and the
          percentage of the rebate passed on to health plans and patients are
          secret.” Without adequate transparency, plan sponsors cannot
          determine if the PBMs are fully passing on any savings, or whether
          their formulary choices really benefit the plan and subscribers.90

       457. The renamed, and secret, Manufacturer Payments are substantial. The

 use of “administrative fees” instead of “rebates” is one example. A heavily redacted

 complaint filed by Defendant Express Scripts in 2017 revealed that Express Scripts

 retains up to thirteen times more in “administrative fees” than it remits to payors in

 rebates. In fact, administrative fees can dwarf rebates. In just one alleged invoice

 Express Scripts was seeking payment for in that lawsuit, “administrative fees” were

 more than three-and-a-half times the amount billed for formulary rebates and price

 protection rebates combined.91

       458. Although the proportion of rebates retained by PBMs remains a secret,

 commentators have suggested that PBMs “designate as much as twenty-five or



 90
   https://www.competitionpolicyinternational.com/pbms-the-middlemen-who-drive-
 up-drug-costs/ (last visited Apr. 5, 2024).
 91
   Express Scripts, Inc. v. Kaleo, Inc., No. 4:17-cv-01520-RLW (E.D. Mo. 2017);
 Balto, supra n.84.


                                          146
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 thirty percent of the negotiated rebates as fees to avoid sharing the rebates.”92

            459. A review of Texas-mandated PBM disclosures also showed that PBMs

 retain a much greater percentage of manufacturer rebates than they lead on.93 Under

 Texas law, certain PBMs are required to report “aggregated rebates, fees, price

 protection payments, and any other payments collected from pharmaceutical drug

 manufacturers.” Between 2016 and 2021, the PBMs reported that they retained

 between 9% and 21% of total manufacturer payments.94 Administrative fees, the

 report estimated, grew from $3.8 billion in 2018 to $5.8 billion in 2022.

            460. Administrative fees typically are based on a percentage of the drug

 price—as opposed to a flat fee—such that even if the actual “administrative” cost

 associated with processing two drugs is the same, the “administrative fee” would be

 correspondingly higher for the higher-priced drug, which again creates (by design) a

 perverse incentive to give preference to more expensive drugs. Moreover, the PBM

 Defendants’ contracts with payors narrowly define “rebates” by tying them to patient

 drug utilization. Thus, rebates for formulary placement (which are not tied to patient


 92
    Joanna Shepherd, Pharmacy Benefit Managers, Rebates, and Drug Prices:
 Conflicts of Interest in the Market for Prescription Drugs, YALE L. & POLICY REV.,
 https://openyls.law.yale.edu/bitstream/handle/20.500.13051/17295/auto
 _convert.pdf?sequence=3&isAllowed=y (last visited Apr. 20, 2024).
 93
   Adam Fein, Texas Shows Us Where PBMs’ Rebates Go, Drug Channels (Aug. 9,
 2022), https://www.drugchannels.net/2022/08/texas-shows-us-where-pbms-
 rebates-go.html (last visited Apr. 20, 2024).
 94
      Id.

                                           147
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 drug utilization) are characterized as “administrative fees” that are not remitted to

 payors. Such payments are beyond a payor’s contractual audit rights because those

 rights are limited to “rebate” payments and these “administrative fees” have been

 carved out from the definition of “rebates.”

          461. The opaque nature of these arrangements between the Manufacturers and

 PBM Defendants also makes it impossible for a given payor to discover, much less

 assess or confront, conflicts of interest that may affect it or its members. The Senate

 Insulin Report observed with respect to these arrangements: “Relatively little is

 publicly known about these financial relationships and the impact they have on

 insulin costs borne by consumers.”95

          462. Not surprisingly, the PBMs have gone to great lengths to obscure these

 renamed Manufacturer Payments to avoid scrutiny from payors and others.

          463. For example, as to the Manufacturer Payments now known as “inflation

 fees,” the PBMs often create a hidden gap between how much the Manufacturers pay

 them to increase their prices and the amount in “price protection guarantees” that the

 PBMs agree to pay back to their client payors.

          464. In particular, the Manufacturer Defendants often pay the PBM

 Defendants “inflation fees” to increase the price of their diabetes medications. The

 thresholds for these payments are typically set at around 6% to 8%—if the


 95
      Senate Insulin Report at 4.
                                            148
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 Manufacturer Defendants raise their prices by more than the set percentage during a

 specified time period, then they pay the PBM Defendants an additional “inflation

 fee” (based on a percentage of the list prices).

        465. For many of their clients, the PBMs have separate “price protection

 guarantees,” providing that if the overall drug prices for that payor increase by more

 than a set amount, then the PBMs will remit a portion of the amount to the client.

        466. The PBMs set these “price protection guarantees” at a higher rate than

 the thresholds that trigger the Manufacturers’ “inflation fees,” usually around 10%-

 15%.

        467. Thus, if the Manufacturers increase their list prices more than the 6% (or

 8%) inflation fee rate, but less than the 10-15% client price protection guarantee rate,

 then the PBMs keep all of these “inflation fee” payments. This is a win-win for the

 Manufacturers and PBM Defendants—they share and retain the entire benefit of

 these price increases while the PBM contracts with payors imply that payors are

 protected from price hikes by their price protection guarantees.

        468. The PBM Defendants also hide the renamed Manufacturer Payments

 using “rebate aggregators.” Rebate aggregators, also referred to as rebate GPOs, are

 entities that negotiate rebates and fees with and collect payments from drug

 manufacturers on behalf of a large group of pharmacy benefit managers and other

 entities that contract for pharmaceutical drugs.


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        469. Each PBM Defendant owns or is closely affiliated with at least one

 rebate aggregator. As relevant here, Express Scripts established and controls Ascent;

 CVS Caremark established and controls Zinc; and OptumRx established and controls

 Emisar.

        470. The PBMs established these GPOs between 2018 and 2021, in response

 to mounting pressure from payors to pass through more rebates and other payments

 collected from the Manufacturers and anticipated Congressional action that would

 have required more transparency from the PBMs.

        471. . To avoid passing these rebates and other payments through to payors,

 the PBMs adjusted their business models by adding rebate aggregators to the

 pharmaceutical payment chain. As summarized by the recent Community Oncology

 Alliance report: 96

           PBMs have increasingly “delegated” the collection of manufacturer
           rebates to “rebate aggregators,” which are often owned by or
           affiliated with the PBMs, without seeking authorization from plan
           sponsors and without telling plan sponsors. . . . Even some of the
           major PBMs (i.e., the “Big Three” PBMs) sometimes find
           themselves contracting with other PBMs’ rebate aggregators for the
           collection of manufacturer rebates. . . . In both the private sector and
           with respect to government health care programs, the contracts
           regarding manufacturer rebates (i.e., contracts between PBMs and
           rebate aggregators, as well as contracts between PBMs/rebate
           aggregators and pharmaceutical manufacturers) are not readily
           available to plan sponsors.




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       472. The rebate-aggregator GPOs perform the same commercial contracting

 function that the PBMs once handled themselves, including negotiating with and

 collecting rebates from the Manufacturers. They add no real value to the transactions

 they facilitate. The rebate aggregators, however, do retain a portion of the rebates

 they collect and impose additional fees on the Manufacturers, including new

 administrative and “data” fees, purportedly for their services.

       473. Payors cannot trace these additional amounts, as they are negotiated and

 collected by the PBMs’ affiliated GPOs and not the PBM-entities that contract with

 payors. These amounts are not subject to audit, nor do the PBMs disclose the various

 “fees” the GPOs collect and retain to the SEC or elsewhere.

       474. Additionally, further impeding adequate oversight, certain rebate-

 aggregators are located offshore, including Defendant Ascent, in Switzerland, and

 Defendant Emisar, which has significant operations in Ireland.

       475. All told, the advent of rebate aggregators in the already complicated

 chain of financial transactions between drug manufacturers, pharmacy benefit

 managers, and payors creates an additional veil obfuscating the rebate payment trail

 and facilitates the PBMs’ extraction of mislabeled rebates and additional fees from

 the Manufacturers without adding any value.

       476. In an attempt to quantify the revenue PBMs receive from retained

 rebates, a 2023 report calculated PBM compensation from rebates and other


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 kickbacks between 2018 and 2022 (the period during which rebate aggregators were

 introduced), and found that this compensation had doubled, from $3.8 billion to $7.6

 billion.97 “This growth was fueled by increases in traditional administrative fees as

 well as the emergence of new data and PBM contracting entity fees.” 98 During the

 same period, “administrative fees” grew from $3.8 to $5.8 billion.99

            477. Before establishing Emisar, OptumRx worked with another rebate

 aggregator, the Coalition for Advanced Pharmacy Services, or “CAPS.” CAPS is also

 a subsidiary of OptumRx, and ultimately of UnitedHealth Group. A 2017 audit

 conducted by a local governmental entity on OptumRx related to its PBM activities

 from 2013 to 2015 was unable to verify the percentage of rebates OptumRx remitted

 to its client payor because OptumRx would not allow the auditor access to its rebate

 contracts. The audit report explained:

              Optum[Rx] has stated that it engaged the services of an aggregator
              to manage its rebate activity. Optum[Rx] shared that under this
              model, they are paid by their aggregator a certain amount per
              prescription referred. Then, the aggregator, through another entity,
              seeks rebates from the drug manufacturers, based upon the referred

 97
    Eric Percher, Trends in Profitability and Compensation of PBMs and PBM
 Contracting      Entities,   Nephron       Research     (Sept.    18,    2023),
 https://nephronresearch.bluematrix.com/sellside/AttachmentViewer.action?encrypt
 =1c65fc0e-f558-4f1d-891f-21c196a9f1ad&fileId=7276_04a77b17-d298-48a2-
 bd15-1c5ed22a6984&isPdf=false (last visited Nov. 6, 2024).
 98
      Id.
 99
   Adam Fein, Texas Shows Us Where PBMs’ Rebates Go, Drug Channels (Aug. 9,
 2022),        https://www.drugchannels.net/2022/08/texas-shows-us-where-pbms-
 rebates-go.html (last visited Nov. 6, 2024).

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              [Payor Client] prescription utilization, and retains any rebate
              amounts that may be received. Optum[Rx] states that they have paid
              [Payor Client] all amounts it has received from its aggregator, and
              that they do not have access to the contracts between the aggregator
              (and its contractors) and the manufacturer. However, our
              understanding is that Optum[Rx] has an affiliate relationship with its
              aggregator. 100

          478. A footnote in the audit report clarifies that “Optum[Rx] contracted with

 Coalition for Advanced Pharmacy Services (CAPS), and CAPS in turn contracted

 with Express Scripts, Inc. (ESI).”101

          479. In other words, according to this report, OptumRx contracted with its

 own affiliate aggregator, CAPS, which then contracted with OptumRx’s co-

 conspirator Express Scripts, which then contracted with the Manufacturers for

 rebates related to OptumRx’s client’s drug utilization. OptumRx then used this

 complex relationship to mask the amount of Manufacturer Payments generated from

 its client’s utilization.

          480. A subsequent audit by the same local entity, covering the period

 September 2017 to September 2018, concluded:

              Several material weaknesses in Broward’s agreement with Optum
              were identified, many of which are commonplace across pharmacy
              benefit manager agreements in general. Due to contract weaknesses,
              a comparison of Broward’s PBM agreement, including rebate

 100
     Laura Rogers & Stacey Thomas, Broward County Florida, Audit of Pharmacy
 Benefit Management Services Agreement, No. 18-13 (Dec. 7, 2017), available at
 https://cragenda.broward.org/docs/2018/CCCM/20180109_555/25990_2017_1212
 %20Exh1_OptumRx%20-%20Revised%20Item.pdf (last visited Nov. 6, 2024).
 101
       Id. n.3.

                                             153
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             amounts received, to the Consultant’s marketplace data is not
             feasible. Broward could save an estimated $1,480,000 per year in net
             prescription drug benefit expenses (based upon minimum rebate
             guarantees) by switching from its current flawed agreement with
             Optum, to an agreement with its Coalition, which offers clearly
             defined terms, increased rebate guarantees and cost saving
             requirements.102

          481. Among other “loopholes” discovered in the contract were several

 “flawed” (i.e., vague and manipulable) definitions, including (a) the definition of

 “Rebates,” which “allows the exclusion of monies that should be included” and (b)

 limitations with respect to “Pass Through Transparency Pricing.”

          482. The January 2021 Senate Insulin Report summarized the Senate Finance

 Committee’s findings from its two-year probe into the Insulin Pricing Scheme and

 contained the following observation on these rebate aggregators:

             [T]he recent partnership between Express Scripts and Prime
             Therapeutics may serve as a vehicle to avoid increasing legislative
             and regulatory scrutiny related to administrative fees by channeling
             such fees through a Swiss-based group purchasing organization
             (GPO), Ascent Health. While there are several regulatory and
             legislative efforts underway to prohibit manufacturers from paying
             administrative fees to PBMs, there is no such effort to change the
             GPO safe harbor rules. New arrangements used by PBMs to collect
             fees should be an area of continued investigative interest for
             Congress.103

          483. Federal regulations governing Medicare attempt to capture all possible



 102
    Broward Cnty., Fla., Analysis of Broward County’s Prescription Drug Coverage,
 https://www.broward.org/Auditor/Reports/Reports/082019_Exh1_BCRxDrug_19-
 15.pdf (last visited July 3, 2023).
 103
       Senate Insulin Report at 83.

                                              154
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 forms of Direct or Indirect Remuneration (DIR) to PBMs (and plan sponsors),

 defining the term as “any form of price concession” received by a plan sponsor or

 PBM “from any source,” including “discounts, chargebacks, rebates, cash discounts,

 free goods contingent on a purchase agreement, up-front payments, coupons, goods

 in kind, free or reduced-price services, grants, legal judgment amounts, settlement

 amounts from lawsuits or other legal action, and other price concessions or similar

 benefits and specifically including “price concessions from and additional contingent

 payments to network pharmacies that cannot reasonably be determined at the point

 of sale.”104

        484. The Department of Health and Human Services, Centers for Medicare &

 Medicaid Services (CMS) considers all of the following as DIR: rebates, grants,

 reduced price administrative services, PBM-retained rebates, PBM rebate guarantee

 amounts, all post-point of sale payments by pharmacies that are not included in the

 negotiating price including dispensing incentive payments, prompt pay discounts,

 and payment adjustments. On the other hand, “bona fide service fees from

 pharmaceutical manufacturers” and “remuneration for administrative services with

 no impact on the sponsor’s or PBM’s drug cost (e.g., PBM incentive payments)” are



 104
      CMS, Final Medicare Part D DIR Reporting Guidance for 2021 at 7,
 https://www.cms.gov/ files/document/final2021dirreportingreqsmemo508v3.pdf (last
 visited Jan. 15, 2023).


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 not considered DIR but only to the extent they reflect fair market value for services

 rendered.105

          485. Because the PBM Defendants retain and conceal most of the secret

 Manufacturer Payments that they receive, they reap exorbitant profits from the

 Insulin Pricing Scheme.

          486. Even when payor clients receive a portion of the Manufacturer Payments

 from their PBM, the payors are significantly overcharged, given the extent to which

 Defendants have deceptively and egregiously inflated the prices of the at-issue drugs.

        2. The Insulin Pricing Scheme Allows the PBMs to Profit Off Pharmacies

          487. A second way the PBM Defendants profit off the Insulin Pricing

 Scheme is by using the Manufacturers’ inflated price to derive profit from the

 pharmacies with whom they contract nationwide.

          488. Each PBM Defendant decides which pharmacies are included in the

 PBM’s network and how much it will reimburse these pharmacies for each drug

 dispensed.

          489. The PBMs pocket the spread between the amount that the PBMs are paid

 by their clients, like Plaintiff, for the at-issue drugs (which are based on the prices

 generated by the Insulin Pricing Scheme) and the amount the PBM reimburses the

 pharmacy (which is often less). In other words, the PBMs charge a client payor more


 105
       Id. at 6-7.
                                          156
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 for a drug than the PBM pays the pharmacy and pockets the difference.

       490. More specifically, the PBM Defendants negotiate with their client payors

 a reimbursement rate that the client pays the PBM for each prescription drug

 dispensed by a pharmacy. The PBM Defendants negotiate a separate rate that they

 pay to pharmacies for each drug dispensed.

       491. These rates are tied to AWP. For example, a PBM may purchase an

 insulin from the pharmacy at a rate of AWP-15%, and the client may reimburse the

 PBM at a rate of AWP-13%. The PBM pockets the spread (2% of AWP in this

 example) between the rates.

       492. Because the PBM Defendants’ revenue from the spread pricing is tied to

 AWP, the higher the AWP, the greater the amount of money made by the PBMs. In

 the above example, if the AWP is $100 for a drug, the PBM would make $2 on the

 spread, but if the AWP is $1000 for the same drug, the PBM would make $20 on the

 spread from the same sale (AWP-15% = $850; AWP-13% = 870).

       493. When a PBM is affiliated with a retail pharmacy, the PBM earns the

 entire retail margin in addition to the pricing spread described above.

       494. The PBM Defendants, therefore, like the Manufacturers, directly benefit

 from inflated insulin prices.

       495. In addition, because the PBM Defendants’ client payors pay for

 thousands of different prescription drugs, the client payors cannot practically keep


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 track of the AWP for each prescription drug on a given formulary or how those prices

 change over time. The client payors, therefore, are unlikely to independently observe

 the AWP inflation resulting from the Insulin Pricing Scheme. And the PBM

 Defendants have no incentive to alert their client payors to increasing AWPs since

 the PBM Defendants directly profit from those increases.

       496. In addressing this form of spread pricing, the National Association of

 Insurance Commissioners states: “Pharmacy pricing is complex, and the process is

 not transparent. Plan sponsors are often unaware of the difference between the

 amount they are billed and the pharmacy reimbursement.”106

       497. A bipartisan bill introduced in the Senate in 2022 (the Pharmacy Benefit

 Manager Transparency Act—S. 4293)—would have criminalized this practice of

 spread pricing, which the bill defined as “[c]harg[ing] a health plan or payer a

 different amount for a prescription drug’s ingredient cost or dispensing fee than the

 amount the pharmacy benefit manager reimburses a pharmacy for the prescription

 drug’s ingredient cost or dispensing fee where the pharmacy benefit manager retains




 106
     NAIC, Guide to Understanding Pharmacy Benefit Manager and Associated
 Stakeholder Regulation—NAIC White Paper Draft as of Apr. 16, 2023, available at:
 https://content.naic.org/sites/default/files/inline-files/NACDS%20Comments _0.pdf
 (last visited Apr. 24, 2024).


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 the amount of any such difference.” The bill has not yet been enacted. 107

       498. The PBMs’ industry-funded trade association, PCMA, spent $7.8 million

 on lobbying in 2021, $8.66 million on lobbying in 2022, and $15.43 million on

 lobbying in 2023. 108

       499. The PBMs often disclose the general concept of spread pricing to payors,

 but only in vague terms that require no accountability. And because the spread-

 pricing revenue is not defined as a “rebate” in PBM contracts with payors, it falls

 outside payors’ audit rights.

       500. This spread pricing, like the secret Manufacturer Payment negotiation,

 happens behind closed doors. There is no transparency, no commitment from the

 PBM Defendants to consider the cost-effectiveness of a drug, and no communication

 to either the payor or the pharmacy to let them know if they are getting a fair deal.

       501. The higher the Manufacturers’ list prices, the more money the PBMs

 make off the spread. At the same time, a Beneficiary’s out-of-pocket co-pay or

 deductible cost often is more than if the client had simply paid cash outside of his or

 her plan. On top of this, the PBM contracts generally allow no rebates to payors where

 the Beneficiary is responsible for 100% of the drug cost, e.g., under his or her

 107
    https://www.govtrack.us/congress/bills/117/s4293 (last visited Jan. 10, 2023). A
 new PBM Transparency Act (S.127) was introduced in July 3, 2023.
 108
    OpenSecrets, Client Profile: Pharmaceutical Care Management Ass’n Annual
 Lobbying      Totals,      https://www.opensecrets.org/orgs/pharmaceutical-care-
 management-assn/lobbying?id=D000028342 (last visited Apr. 16, 2024).
                                          159
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 deductible.

       502. The PBM Defendants also use the Insulin Pricing Scheme to generate

 additional profits from pharmacies by charging the pharmacies post-purchase fees,

 including DIR (Direct or Indirect Remuneration) fees, based on the list prices—and

 again, the higher the list price for each diabetes medication sold, the greater the fees

 the PBMs generate. They also apply “retrospective” discounts so, for example, a

 payor’s (and member’s co-pay or deductible) cost may be $100, but the price may be

 discounted post-purchase between the PBM and the (often self-owned) pharmacy to

 $90, with the spread going to the PBM.

       503. The Centers for Medicare & Medicaid Services (CMS) addressed these

 and similar DIR issues in a proposed rule in 2017. While noting the growth of

 “pharmacy price concessions” that “are negotiated between pharmacies and their

 sponsors or PBMs,” CMS nevertheless concluded:

           When manufacturer rebates and pharmacy price concessions are not
           reflected in the price of a drug at the point of sale, beneficiaries might
           see lower premiums, but they do not benefit through a reduction in
           the amount they must pay in cost-sharing, and thus, end up paying a
           larger share of the actual cost of a drug. Moreover, given the increase
           in manufacturer rebates and pharmacy price concessions in recent
           years, the point-of-sale price of a drug that a Part D sponsor reports
           on a PDE record as the negotiated price is rendered less transparent
           . . . . 109


 109
    Medicare Program; Contract Year 2019 Policy and Technical Changes, 82 Fed.
 Reg. 56336 (Nov. 29, 2017), https://www.govinfo.gov/content/pkg/FR-2017-11-
 28/pdf/2017-25068.pdf.

                                            160
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 CMS expressed further concern that when rebates and other price concessions are

 not reflected in the negotiated point-of-sale drug price, it “can impede beneficiary

 access to necessary medications, which leads to poorer health outcomes and higher

 medical care costs for beneficiaries . . . .”110

             504. So, the PBM Defendants make money “coming and going.” In a pre-

 PBM world, a competitively priced drug might have a (hypothetical) net cost to a

 health plan of $50, and that is what it paid. Now, the PBMs coordinate with

 Manufacturers to increase the list price to $150. The PBMs then “negotiate” the

 inflated price down to $100 and take a $50 rebate, some of which may be forwarded

 to the payor, whose net cost is less than the inflated list price, but whose real-world

 cost is considerably more than if the PBMs were not involved.

             505. At the same time, the PBMs receive “administrative fees” for including

 certain drugs on its formularies, which are not considered “rebates.” The PBMs also

 receive “service fees” or other payment for “administrative services” provided to the

 Manufacturers such as “formulary compliance initiatives,” “education services,” or

 the sale of non-patient identifiable claim information. All of these revenue streams

 are outside the typical definition of “rebates” found in contracts between the PBM

 Defendants and payors.

             506. The PBMs then charge payors administrative fees for providing


 110
       Id.
                                             161
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 pharmacy benefit management services and charges for drug costs (a/k/a ingredient

 costs) and per-prescription dispensing fees, as well as additional administrative fees

 for services not included in the PBMs’ general administrative obligations. The PBMs

 then receive rebates and/or discounts (pre-purchase or post-purchase) from the

 pharmacies, which the PBMs often own. These too are excluded from the definition

 of “rebates.” These and other vaguely described revenue streams are sometimes

 disclosed, but only in hazy, overly generalized terms. And they are beyond a payor’s

 contractual rights to audit for “transparency” purposes because they are not defined

 “rebates.”

       507. Additionally, the PBMs may take months to pay rebates to payors and

 the PBMs retain all interest on, and the time-value of, the rebates pending payment.

 This is one example of a PBM “disclosure” excerpted from a payor’s PBM contract

 with Express Scripts:

          This disclosure provides an overview of the principal revenue
          sources of Express Scripts, Inc. and Medco Health Solutions, Inc.
          (individually and collectively referred to herein as “ESI”), as well as
          ESI’s affiliates. In addition to administrative and dispensing fees
          paid to ESI by our clients for pharmaceutical benefit management
          (“PBM”) services, ESI and its affiliates derive revenue from other
          sources, including arrangements with pharmaceutical manufacturers,
          wholesale distributors, and retail pharmacies. Some of this revenue
          relates to utilization of prescription drugs by members of the clients
          receiving PBM services. ESI may pass through certain manufacturer
          payments to its clients or may retain those payments for itself,
          depending on the contract terms between ESI and the client. . . .
          Formulary rebate amounts vary based on the volume of utilization as
          well as formulary position applicable to the drug or supplies, and
          adherence to various formulary management controls, benefit design
          requirements, claims volume, and other similar factors, and in
                                          162
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          certain instances also may vary based on the product’s market-share.
          ESI often pays an amount equal to all or a portion of the formulary
          rebates it receives to a client based on the client’s PBM agreement
          terms. ESI retains the financial benefit of the use of any funds held
          until payment of formulary rebate amounts is made to the client. In
          addition, ESI provides administrative services to formulary rebate
          contracted manufacturers, which include, for example, maintenance
          and operation of the systems and other infrastructure necessary for
          managing and administering the PBM formulary rebate process and
          access to drug utilization data, as allowed by law, for purposes of
          verifying and evaluating the rebate payments and for other purposes
          related to the manufacturer’s products. ESI receives administrative
          fees from the participating manufacturers for these services.
          (emphasis added)

       508. Payors have no access to, and no knowledge of, the intricacies of the

 dealings between the PBM Defendants and the Manufacturers that are shrouded by

 such vague “disclosures” (which vary in detail, but not in substance, in all three of

 the PBM Defendants’ adhesive contracts). These disclosures could be summed up in

 a single sentence: “We pass along ‘rebates’ to client payors, except when we don’t.”

         3. The Insulin Pricing Scheme Increases PBM Mail-Order Profits
       509. Another way the PBM Defendants profit from the Insulin Pricing

 Scheme is through their mail-order pharmacies. The higher the price that PBM

 Defendants can get customers to pay for diabetes medications, the greater the profits

 PBM Defendants realize through their mail-order pharmacies.

       510. Because the PBMs base the prices they charge for the at-issue diabetes

 medications on the Manufacturers’ prices, the more the Manufacturers inflate their

 prices, the more money the PBMs make.

       511. When a PBM has its own mail-order pharmacy, its profits are even
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 greater than when they are dispensed through its retail network pharmacies. When a

 PBM dispenses prescription drugs through its own mail-order pharmacy, it captures

 the entire retail margin as increased by the Insulin Pricing Scheme.

       512. The PBM Defendants have colluded with the Manufacturers so that the

 PBMs often know when the Manufacturers are going to raise their prices. The PBMs

 purchase a significant volume of the at-issue drugs before the price increase goes into

 effect. Then, after the Manufacturers raise their price, the PBMs charge their mail-

 order customers based on the increased prices and pocket the difference. The PBMs

 make significant amounts of money through this arbitrage scheme.

       513. The PBM Defendants also charge the Manufacturer Defendants fees

 related to their mail-order pharmacies, such as pharmacy supplemental discount fees,

 that are directly tied to the Manufacturers’ price. Once again, the higher the price is,

 the more money the PBMs make on these fees.

       514. In sum, each way in which the PBM Defendants make money on diabetes

 medications is tied directly to coordination with the Manufacturers to establish

 artificially higher prices and inducing ever-increasing secret Manufacturer Payments.

 The PBMs are not lowering the price of diabetes medications as they publicly

 represent. On the contrary, they are making billions of dollars at the expense of payor

 clients and those clients’ Beneficiaries by fueling these skyrocketing prices.




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       I.     Plaintiff Purchased At-Issue Drugs Directly from Defendants

       515. One benefit Plaintiff provides the Beneficiaries of its healthcare plan is

 payment for a large portion of their pharmaceutical purchases. In this role, Plaintiff

 has spent significant amounts on the at-issue diabetes medications during the

 relevant period.

       516. Because Plaintiff maintains a self-funded plan, it does not rely on a third-

 party insurer to pay for its insured’s medical care, pharmaceutical benefits, or

 prescription drugs. Rather, Plaintiff directly contracts with, and directly pays, PBMs

 (and their affiliated pharmacies) for pharmaceutical benefits and prescription drugs,

 including the at-issue medications.

       517. Indeed, Plaintiff’s contracts with its PBM, Express Scripts (including

 Express Scripts, Inc. and Cigna Health), include express provisions for Plaintiff’s

 direct payment to the PBMs. For example, Plaintiff’s 2023 Sponsor Agreement with

 Express Scripts binds Express Scripts to invoice Plaintiff biweekly for claim

 reimbursements, which Plaintiff was required to pay within three days of receipt.

       518. Plaintiff is the only named party that pays the full purchase price for the

 at-issue drugs, and the only named party that has not knowingly participated in the

 Insulin Pricing Scheme. Neither the PBM Defendants nor the Manufacturer

 Defendants suffer losses from the Insulin Pricing Scheme. Instead, they both benefit

 from—and have conspired together to orchestrate—the scheme.


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        519. As part of purchasing the at-issue drugs from Express Scripts, Plaintiff

 directly pays and paid the PBM artificially inflated costs resulting from the Insulin

 Pricing    Scheme, including     “claims    reimbursements,”     “ingredient   costs,”

 “dispensing fees,” “administrative fees,” “inflation fees,” “discounts,” and more—

 all of which are associated with Plaintiff’s purchase of the at-issue drugs from

 Express Scripts. Because the at-issue drugs are potentially life-saving medications,

 and because the Defendants control the market for these drugs, Plaintiff has had no

 choice but to pay these exorbitant, artificially inflated prices directly to Express

 Scripts.

        520. To administer its health plans’ pharmaceutical program, Plaintiff relies

 on the PBMs as administrative agents, for the supposed purposes of limiting its

 administrative burden and controlling pharmaceutical drugs costs.

        521. During the relevant period, Plaintiff relied on Express Scripts to provide

 PBM services to its health plans. These PBM services included developing and

 offering formularies for Plaintiff’s prescription plan, constructing and managing

 Plaintiff’s pharmacy network (which included the PBMs’ retail and mail-order

 pharmacies), processing pharmacy claims, and providing mail-order pharmacy

 services to Plaintiff.

        522. In providing PBM services to Plaintiff, including developing and

 offering formularies for Plaintiff’s prescription plan, constructing and managing


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 Plaintiff’s pharmacy network (which included the PBMs’ retail and mail-order

 pharmacies), processing pharmacy claims, and providing mail-order pharmacy

 services, Express Scripts—in direct coordination with the Manufacturer Defendants

 and utilizing the false prices generated by the Insulin Pricing Scheme—set the

 amounts Plaintiff paid for the at-issue medications. Plaintiff paid Express Scripts

 directly for the at-issue drugs and paid those PBM Defendants to manage pharmacy

 benefits related to the at-issue drugs.

       J.     Defendants Deceived Plaintiff
       523. At no time has either Defendant group disclosed the Insulin Pricing

 Scheme or the false list prices produced by it.

                 1. The Manufacturer Defendants Deceived Plaintiff
       524. At all times relevant, the Manufacturer Defendants knew that the list

 prices, net prices, and payors’ net costs (purchase prices) generated by the Insulin

 Pricing Scheme were false, excessive, and untethered to any legal, competitive, or

 fair market price.

       525. The Manufacturer Defendants knew that these prices did not bear any

 rational relationship to the actual costs incurred or prices realized by Defendants, did

 not result from transparent or competitive market forces, and were artificially and

 arbitrarily inflated for the sole purpose of generating profits for Defendants.

       526. The insulin market, and Defendants’ business arrangement relating to it,


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 exhibits the key features of an oligopoly—the concentration of numerous competitors

 into a small group of firms that dominates the market, high barriers to entry, the

 ability to set and control prices, firm interdependence, and maximal revenues.

       527. The Manufacturer Defendants also knew that payors, including Plaintiff,

 relied on the false list prices generated by the Insulin Pricing Scheme to pay for the

 at-issue drugs.

       528. The Manufacturer and PBM Defendants further knew that Plaintiff—like

 any reasonable consumer and particularly one with fiduciary obligations to its

 Beneficiaries—expected to pay a price reflecting the lowest fair market value for the

 drugs (which was not necessarily the same as the lowest price in the market, given

 that all prices were inflated due to the Insulin Pricing Scheme).

       529. Despite this knowledge, the Manufacturer Defendants published list

 prices generated by the Insulin Pricing Scheme throughout the United States and

 Florida in publishing compendia, in various promotional and marketing materials

 distributed by entities downstream in the drug supply chain, and directly to

 pharmacies, who then used these prices to set the amount that the pharmacies charged

 for the at-issue drugs.

       530. The Manufacturer Defendants also published these prices to the PBMs,

 who then used them to charge diabetics and payors for the at-issue drugs.

       531. By publishing their prices in every U.S. state, the Manufacturers held


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 each of these prices out as a reasonable price on which to base the prices payors

 actually pay for the at-issue drugs.

          532. These representations are false. The Manufacturer Defendants knew that

 their artificially inflated list prices were not remotely related to their cost, their fair

 market value in a competitive market, or the net price received for the at-issue drugs.

          533. During the relevant period, the Manufacturer Defendants published

 prices in every state within the U.S. in the hundreds of dollars per dose for the same

 at-issue drugs that would have been profitable to Manufacturers at prices less than

 $10 per dose.

          534. The Manufacturer Defendants also have publicly represented that they

 price the at-issue drugs according to each drug’s value to the health care system and

 the need to fund innovation. For example, briefing materials prepared for Dave

 Ricks, Eli Lilly CEO, as a panelist at the 2017 Forbes Healthcare Summit included

 “Reactive Key Messages” on pricing that emphasized the significant research and

 development costs for insulin. During the relevant period, executives from Sanofi

 and Novo Nordisk also falsely represented that research and development costs were

 key factors driving the at-issue price increases.111

          535. Contrary to the Manufacturer Defendants’ representations, between

 2005 and 2018, Eli Lilly spent $680 million on R&D costs related to Humalog while

 111
       Drug Pricing Investigation at PDF 188-94.

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 earning $31.35 billion in net sales during that same period. In other words, Eli Lilly

 made more than 46 times its reported R&D costs on Humalog during this portion of

 the relevant period, i.e., R&D costs amounted to about 2% of net sales (whereas

 R&D costs for pharmaceuticals typically amount to around 20% of total revenues).

 Novo Nordisk has spent triple the amount it spends on R&D on stock buyouts and

 shareholder dividend payouts in recent years. 112

             536. The Senate Insulin Report found that the PBMs consider insulins to be

 “interchangeable” from “a clinical perspective” and that Manufacturers “focus their

 R&D efforts on new insulin-related devices, equipment, and other mechanical parts

 that are separate from insulin’s formulation.” 113

             537. A House Oversight Committee staff report concluded that “drug

 companies’ claims that reducing U.S. prescription drug prices will harm innovation

 is overblown” and that “[m]any drug companies spent a significant portion of their

 R&D budget on finding ways to suppress generic and biosimilar competition while

 continuing to raise prices, rather than on innovative research.” 114


 112
       Id.
 113
       Senate Insulin Report at 5, 17.
 114
    U.S. House of Representatives, Drug Pricing Investigation: Industry Spending on
 Buybacks, Dividends and Executive Compensation (July 2021) at PDF 3,
 https://oversightdemocrats.house.gov/sites/democrats.oversight.house.gov/files/CO
 R%20Staff%20Report%20-
 %20Pharmaceutical%20Industry%20Buybacks%20Dividends%20Compared%20to
 % 20Research.pdf (last visited Jan. 10, 2023).
                                             170
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       538. In sum, the Manufacturer Defendants affirmatively withheld the truth

 from Plaintiff and specifically made misrepresentations in furtherance of the Insulin

 Pricing Scheme and to induce Plaintiff’s reliance to purchase the at-issue drugs.

                      2. The PBM Defendants Deceived Plaintiff

       539. The PBM Defendants ensured that the Manufacturer Defendants’

 artificially inflated list prices harmed diabetics and payors by preferring the highest-

 priced at-issue drugs for preferred formulary placement and by requiring that their

 contracts with both pharmacies and with payors include such prices as the basis for

 payment.

       540. The PBM Defendants perpetuate the use of the artificially inflated insulin

 prices because it allows them to obscure the actual price any entity in the drug pricing

 chain is paying for the at-issue drugs. This lack of transparency affords Defendants

 the opportunity to construct and perpetuate the Insulin Pricing Scheme, and to profit

 therefrom at the expense of payors nationwide.

       541. At all times relevant, the PBMs have purposefully, consistently, and

 routinely misrepresented that they negotiate with Manufacturer Defendants and

 construct formularies for the benefit of payors and patients by lowering the price of

 the at-issue drugs and by promoting the health of diabetics. Representative examples

 include:

       •     CVS Caremark has for the past decade stated in its annual reports that its
             design and administration of formularies are aimed at reducing the costs

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             and improving the safety, effectiveness, and convenience of prescription
             drugs. CVS Caremark has further stated that it maintains an independent
             panel of doctors, pharmacists, and other medical experts to review and
             approve the selection of drugs based on safety and efficacy for inclusion
             on one of CVS Caremark’s template formularies and that CVS
             Caremark’s formularies lower the cost of drugs.

       •     Express Scripts has consistently represented that it works with clients,
             manufacturers, pharmacists, and physicians to increase efficiency in the
             drug distribution chain, to manage costs in the pharmacy benefit chain
             and to improve members’ health outcomes. Its annual reports
             consistently claim that in making formulary recommendations, Express
             Scripts’ Pharmacy & Therapeutics Committee considers the drug’s
             safety and efficacy, without any information on or consideration of the
             cost of the drug, including any discount or rebate arrangement that
             Express Scripts negotiates with the Manufacturer, and that Express
             Scripts fully complies with the P&T Committee’s clinical
             recommendations regarding drugs that must be included or excluded
             from the formulary based on their assessment of safety and efficacy.

       •     OptumRx has stated in its annual reports over the past decade that
             OptumRx’s rebate contracting and formulary management assist
             customers in achieving a low-cost, high-quality pharmacy benefit. It has
             consistently claimed that it promotes lower costs by using formulary
             programs to produce better unit costs, encouraging patients to use drugs
             that offer improved value and that OptumRx’s formularies are selected
             for health plans based on their safety, cost, and effectiveness. 115

       542. In addition to these general misrepresentations, the PBM Defendants

 have purposefully, consistently, and routinely made misrepresentations about the at-

 issue diabetes medications. Representative examples include:

       •     In a public statement issued in November 2010, CVS Caremark

 115
    See, e.g., CVS Health Annual Reports (Form 10-K) (FY 2010-19); OptumRx
 Annual Reports (Form 10-K) (FY 2010-19); Express Scripts Annual Reports (Form
 10-K) (FY 2010-17).


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             represented that it was focused on diabetes to “help us add value for our
             PBM clients and improve the health of plan members . . . a PBM client
             with 50,000 employees whose population has an average prevalence of
             diabetes could save approximately $3.3 million a year in medical
             expenditures.” 116

       •     In 2010, Andrew Sussman, Chief Medical Officer of CVS Caremark,
             stated on national television that “CVS is working to develop programs
             to hold down [diabetes] costs.”117

       •     In a public statement issued in November 2012, CVS Caremark
             represented that formulary decisions related to insulin products “is one
             way the company helps manage costs for clients.” 118

           • In 2017, Express Scripts’ CEO, discussing a program involving insulin,
             “disputed the idea that Express Scripts contributes to rising drug
             costs.” 119

       •     In 2016, Glen Stettin, Senior Vice President and Chief Innovation
             Officer at Express Scripts, said in an interview with a national
             publication that “[d]iabetes is wreaking havoc on patients, and it is also
             a runaway driver of costs for payors . . . [Express Scripts] helps our

 116
    Chain Drug Review, CVS Expands Extracare for Diabetes Products (May 11,
 2010),         https://www.chaindrugreview.com/cvs-expands-extracare-for-diabetes-
 products/ (last visited Apr. 17, 2024).
 117
     CBS News, Diabetes Epidemic Growing (June 22, 2010, 11:29 a.m.),
 https://www.cbsnews.com/news/diabetes-epidemic-growing/ (last visited Apr. 17,
 2024).
 118
     Jon Kamp & Peter Loftus, CVS’ PBM Business Names Drugs It Plans to Block
 Next Year, WALL ST. J. (Nov. 8, 2012), Jon Kamp & Peter Loftus, CVS’ PBM Business
 Names Drugs It Plans to Block Next Year, WALL ST. J. (Nov. 8, 2012),
 http://online.wsj.com/article/SB10001424127887324439804578107040729812454.
 html (last visited Apr. 17, 2024).
 119
    Katie Thomas, Express Scripts to Offer Cheaper Drugs for Uninsured Customers,
 N.Y.         TIMES,          May          8,     2017,        available       at
 https://www.nytimes.com/2017/05/08/health/express-scripts-drug-prescriptions-
 prices.html (last visited Apr. 18, 2024).


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                clients and diabetes patients prevail over cost and care challenges created
                by this terrible disease.” 120 Mr. Stettin also claimed that Express Scripts
                “broaden[s] insulin options for patients and bend[s] down the cost curve
                of what is currently the costliest class of traditional prescription
                drugs.” 121

          •     In a 2018 Healthline interview, Mark Merritt, long the President of the
                PBM trade association, PCMA, misrepresented that: “[Through their
                formulary construction], PBMs are putting pressure on drug companies
                to reduce insulin prices.” 122

          •     CVS Caremark’s Chief Policy and External Affairs Officer claimed in
                the April 2019 hearings that CVS Caremark “has taken a number of steps
                to address the impact of insulin price increases. We negotiate the best
                possible discounts off the manufacturers’ price on behalf of employers,
                unions, government programs, and beneficiaries that we serve.”123

          •     Dr. Sumit Dutta, SVP and Chief Medical Officer of OptumRx, testified
                before the U.S. Congress in the April 2019 hearing that for “insulin
                products . . . we negotiate with brand manufacturers to obtain significant


 120
    Angela Mueller, Express Scripts Launches Program to Control Diabetes Costs, ST.
 LOUIS            BUS.             J.            (Aug.        31,           2016),
 https://www.bizjournals.com/stlouis/news/2016/08/31/express-scripts-launches-
 program-to-control.html (last visited Apr. 17, 2024).
 121
     Express Scripts, PR NEWSWIRE, Express scripts Launches Diabetes Care Value
 ProgramSM, Guaranteeing More Affordable, High-Quality Diabetes Care, Aug. 23,
 2016,          https://www.prnewswire.com/news-releases/express-scripts-launches-
 diabetes-care-value-program-guaranteeing-more-affordable-higher-quality-diabetes-
 care-
 300320485.html#:~:text=The%20new%20program%20%E2%80%93%20part%20o
 f,anticipated%20increase%20in%20diabetes%2Ddrug (last visited Apr. 17, 2024).
 122
     Dave Muoio, Insulin Prices: Are PBMs and Insurers Doing Their Part?,
 Population       Health        Learning           Network         (Dec.         2016),
 https://www.hmpgloballearningnetwork.         com/site/frmc/article/insulin-prices-are-
 pbms-and-insurers-doing-their-part (last visited Apr. 17, 2024).
 123
       Priced Out of a Lifesaving Drug at lines 715-18.


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                discounts off list prices on behalf of our customers.”124 In May 2023,
                OptumRX’s CEO, Heather Cianfrocco, told the U.S. Senate Committee
                on Health, Education, Labor, and Pensions that OptumRx “has been at
                the forefront of efforts to improve access to affordable insulin and
                provide comprehensive care to patients with diabetes.”125

          •     The PBM-funded trade association PCMA’s website acknowledges that
                “the insulin market is consolidated, hindering competition and limiting
                alternatives, leading to higher list prices on new and existing brand
                insulins,” but then misleadingly claims that “PBMs work hard to drive
                down costs using formulary management and rebates.”126

          543. The PBM Defendants falsely represent that they negotiate with the

 Manufacturer Defendants to lower the price of the at-issue diabetes medications not

 only for payors, but also for diabetic patients. For example:

          •     Express Scripts’ code of conduct, effective beginning in 2015, states: “At
                Express Scripts we’re dedicated to keeping our promises to patients and
                clients . . . This commitment defines our culture, and all our collective
                efforts are focused on our mission to make the use of prescription drugs
                safer and more affordable.”127


 124
       Id. at lines 903-06.
 125
     Heather Cianfrocco Written Testimony, The Need to Make Insulin Affordable for
 All              Americans             (May              10,              2023),
 https://www.help.senate.gov/imo/media/doc/Cianfrocco%20Written%20Testimony
 %20HELP%20Committee%20_Final.pdf.
 126
     PCMA, PCMA on National Diabetes Month: PBMs Lowering Insulin Costs,
 Providing Support to Patients (Nov. 16, 2020), https://www.pcmanet.org/pcma-on-
 national-diabetes-month-pbms-lowering-insulin-costs-providing-support-to-patients/
 (last visited Apr, 17, 2024); Visante, Insulins: Managing Costs with Increasing
 Manufacturer Prices (2020), https://www. pcmanet.org/ wp-content/uploads/
 2020/08/PCMA_Visante-Insulins-Prices-and-Costs-.pdf.
 127
    Express Scripts, Code of Conduct, https://www.express-scripts.com/aboutus/
 codeconduct/ExpressScriptsCodeOfConduct.pdf (last visited Apr. 16, 2024).


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          •    Amy Bricker—former President of Express Scripts and PCMA board
               member—testified before Congress in April 2019: “At Express Scripts
               we negotiate lower drug prices with drug companies on behalf of our
               clients, generating savings that are returned to patients in the form of
               lower premiums and reduced out-of-pocket costs.” 128

          •    Ms. Bricker also testified that “Express Scripts remains committed to . . .
               patients with diabetes and creating affordable access to their
               medications.” 129

          •    OptumRx CEO John Prince testified to the Senate: “We reduce the costs
               of prescription drugs [and] we are leading the way to ensure that those
               discounts directly benefit consumers. . . . OptumRx’s pharmacy care
               services business is achieving better health outcomes for patients,
               lowering costs for the system, and improving the healthcare experience
               for consumers. . . . OptumRx negotiates better prices with drug
               manufacturers for our customers and for consumers.130

          •    In its 2017 Drug Report, CVS Caremark stated that the goal of its
               pharmacy benefit plans is to ensure “that the cost of a drug is aligned with
               the value it delivers in terms of patient outcomes . . . [I]n 2018, we are
               doing even more to help keep drugs affordable with our new Savings
               Patients Money initiative.” 131

          •    The PCMA website touts PBMs as “the only entity in the prescription
               drug supply and payment chain dedicated to reducing drug costs” and
               (contradicting the PBM representatives’ Congressional testimony), that
               “when new manufacturers enter the market at a lower list price, PBMs




 128
       Priced Out of a Lifesaving Drug at lines 803-06.
 129
       Id. at lines 838-40.
 130
     Senate Insulin Report—Hearing Transcript at 174, available at https://www.
 finance.senate.gov/imo/media/doc/435631.pdf (last visited Apr. 17, 2024).
 131
       CVS Health, 2017 Drug Trend Report (Apr. 5, 2018), (last visited Apr. 17, 2024).


                                             176
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            use the competition to drive costs down.”132

       544. Not only have the PBM Defendants intentionally misrepresented that

 they use their market power to save payors money, but they have also specifically

 and falsely disavowed that their conduct drives prices higher. Representative

 examples include:

        •   On an Express Scripts’ earnings call in February 2017, CEO Tim
            Wentworth stated: “Drugmakers set prices, and we exist to bring those
            prices down.”133

       •    Larry Merlo, head of CVS Caremark sounded a similar refrain in
            February 2017: “Any suggestion that PBMs are causing prices to rise is
            simply erroneous.” 134

       •    In 2017, Express Scripts’ Wentworth went on CBS News to argue that
            PBMs play no role in rising drug prices, stating that PBMs work to
            “negotiate with drug companies to get the prices down.”135

       •    During the April 2019 Congressional hearings, when asked if PBM-

 132
    PCMA, PBMs Reduce Insulin Costs: PBMs are working to improve the lives of
 patients living with diabetes and their families, https://www.pcmanet.org/insulin-
 managing-costs-with-increasing-manufacturer-prices/ (last visited Apr. 17, 2024).
   Samantha Liss, Express Scripts CEO Addresses Drug Pricing 'Misinformation', St.
 133

 Louis Post-Dispatch (Feb. 17, 2017), https://www.stltoday.com/business/local/
 express-scripts-ceo-addresses-drug-pricing-misinformation/article_8c65cf2a-96ef-
 5575-8b5c-95601ac51840.html (last visited Apr. 17, 2024).
 134
     Lynn R. Webster, Who Is To Blame For Skyrocketing Drug Prices?, THE HILL (July
 27, 2017, 11:40 AM), https://thehill.com/blogs/pundits-blog/healthcare/344115-who-
 is-to-blame-for-skyrocketing-drug-prices (last visited Apr. 17, 2024).
 135
    CBS News, Express Scripts CEO Tim Wentworth Defends Role of PBMs in Drug
 Prices (Feb. 7, 2017), https://www.cbsnews.com/news/express-scripts-tim-
 wentworth-pbm-rising-drug-prices-mylan-epipen-heather-bresh/ (last visited Apr. 17,
 2024).


                                         177
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                negotiated rebates and discounts were causing the insulin price to
                increase, OptumRx’s Chief Medical Officer Sumit Dutta answered, “we
                can’t see a correlation just when rebates raise list prices.”136

          •     In 2019, when testifying Congress on the rising price of insulins, Amy
                Bricker—then with Express Scripts, now with CVS—testified, “I have
                no idea why the prices [for insulin] are so high, none of it is the fault of
                rebates.”137

          545. All of the PBM Defendants’ public statements regarding insulin pricing

 have been consistent with the misrepresentations above and below. None has

 contradicted those misrepresentations or revealed the Insulin Pricing Scheme.

          546. Although Plaintiff’s employees responsible for managing its health plans

 were not following the various Congressional hearings when they occurred and were

 not exposed to the misrepresentations detailed above, the Defendants’ public

 pronouncements have been consistent with those misrepresentations.

          547. Express Scripts represented to Plaintiff that it was interested in lowering

 costs for Plaintiff and its Beneficiaries. Never did Express Scripts disclose that it

 benefits from higher list prices for the at-issue drugs and would be discouraging

 competition on list prices behind the scenes.

          548. Indeed, throughout the relevant period, Express Scripts has consistently

 and repeatedly represented that: (a) its interests are aligned with their payor clients;

 (b) it works to lower the price of the at-issue drugs and, in doing so, achieve


 136
       Priced Out of a Lifesaving Drug at lines 1019-22.
 137
       Id. at lines 1016-17.
                                             178
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 substantial savings for diabetics and payors; and (c) that monies it receives from

 manufacturers and its formulary choices are for the benefit of payors and diabetics.

             549. Indeed, the PBM Defendants have promised to avoid conflicts of

 interest. For example, the PCMA has Principles of Professional and Ethical Conduct

 to which all PCMA members, including the three PBM Defendants, have agreed.138

 This code of ethics requires the PBM Defendants to “[a]void any and all conflicts

 of interest and advise all parties . . . of any situations where a conflict of interest

 exists.” 139

             550. Each PBM Defendant has also published a code of conduct requiring

 employees and entities to avoid conflicts of interest.140 Despite these obligations,

 the PBM Defendants have substantial pecuniary interests that conflict with their

 duties to Plaintiff. The PBM Defendants artificially inflate the price of insulin for

 their profit, to the detriment of payors, including Plaintiff.


 138
        Principles    of Professional      and     Ethical   Conduct,     PCMA,
 https://www.pcma.org/about/principles-of-professional-and-ethical-conduct/ (last
 visited Apr. 20, 2024).
 139
       Id.
 140
         Code      of     Conduct,    Express     Scripts,   https://www.express-
 scripts.com/aboutus/codeconduct/ExpressScriptsCodeOfConduct.pdf (last visited
 Apr. 20, 2024); Code of Conduct, CVS Caremark, https://media.corporate-
 ir.net/media_files/irol/99/99533/corpgov/codeofconduct03.pdf (last visited Apr. 20,
 2024); Code of Conduct, UnitedHealth Group, https://professionals.optumrx.com
 /content/dam/optum3/professional-optumrx/resources/FWA_CoCs_2018.pdf (last
 visited Apr. 20, 2024).


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       551. The PBM Defendants understand that payors like Plaintiff rely on the

 PBMs to achieve the lowest prices for the at-issue drugs and to construct formularies

 designed to improve access to medications. Plaintiff did so. Indeed, Express Scripts’

 CEO told the U.S. Senate that PBMs “exist to help solve the challenge[]” of rising

 drug prices, including insulin, by “negotiating with large pharmaceutical

 manufacturers to lower the cost of drugs for employers, health plans, federal and state

 governments, and most importantly, patients.”141

       552. Throughout the relevant period, the PBM Defendants also falsely

 claimed they are transparent about the Manufacturer Payments and that the amounts

 remitted (or not) to payors. In fact, the PBM Defendants’ disclosures of their ties to

 the Manufacturer Defendants were vague, equivocal, and misleading. Their manner

 of defining “rebates” in payor contracts is misleading and subject to undefined and

 indeterminable conditions and exceptions. The PBM Defendants thereby facilitated

 and obtained secret Manufacturer Payments far above and beyond the amounts of

 “rebates” remitted to payors.

       553. The PBM Defendants’ internal processes and accounting were and are

 abstruse and opaque, allowing them to overtly mislead the public and payors like



 141
    Adam Kautzner, Testimony Before the U.S. S. Comm. on Health, Educ., Labor,
 & Pensions, The Need to Make Insulin Affordable for All Americans (May 10, 2023),
 https://www.help.senate.gov/imo/media/doc/Kautzner%20Express%20Scripts%20
 HELP%20Hearing%20Testimony%2005102023.pdf.

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 Plaintiff.

        554. In 2011, for example, OptumRx’s President stated: “We want our clients

 to fully understand our pricing structure . . . . Every day we strive to show our

 commitment to our clients, and one element of that commitment is to be open and

 honest about our pricing structure.”142

        555. In a 2017 CBS News interview, Express Scripts’ CEO represented,

 among other things, that Express Scripts was “absolutely transparent” about the

 Manufacturer Payments they receive and that payors “know exactly how the dollars

 flow” with respect to these Manufacturer Payments.143

        556. When testifying before the Senate Finance Committee, CVS Executive

 Vice President Derica Rice stated, “[A]s it pertains to transparency overall, we at

 CVS Caremark are very supportive. We provide full visibility to our clients of all our

 contracts and the discounts that we negotiate on their behalf. . . . And transparency—




 142
    UnitedHealth Group, Prescription Solutions by OptumRx Receives 4th Consecutive
 TIPPS Certification for Pharmacy Benefits Transparency Standards (Sept. 13, 2011),
 https://web.archive.org/web/20210805182422/https://www.unitedhealthgroup.com/n
 ewsroom/2011/0913tipps.html (last visited Apr. 17, 2024).
 143
    CBS News, Express Scripts CEO Tim Wentworth Defends Role of PBMs in Drug
 Prices (Feb 7, 2017), https://www.cbsnews.com/news/express-scripts-tim-
 wentworth-pbm-rising-drug-prices-mylan-epipen-heather-bresh/ (last visited Apr. 17,
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 today we report and fully disclose not only to our clients, but to CMS [Medicare].”144

             557. At the same hearing, Steve Miller of Cigna (Express Scripts) testified:

 “we are really a strong proponent for transparency for those who pay for health care.

 So the patient should know exactly what they are going to pay. Our plan sponsors

 need to know exactly what is in their contract.” 145

             558. John Prince of OptumRx chimed in: “Senator, if our discounts were

 publicly available, it would hurt our ability to negotiate effectively. Our discounts are

 transparent to our clients.”146

             559. And when testifying before Congress in April 2019, Amy Bricker, then

 a Senior Vice President of Defendant Express Scripts, touted transparency with

 payors and echoed Mr. Prince’s need for confidentiality around discounts:147

             Ms. Bricker. The rebate system is 100 percent transparent to the plan
             sponsors and the customers that we service. To the people that hire us,
             employers of America, the government, health plans, what we negotiate
             for them is transparent to them. . . The reason I’m able to get the
             discounts that I can from the manufacturer is because it’s confidential
             [to the public].

             ***

             Mr. Sarbanes. Yeah, because it is a secret. What about if we made it
             completely transparent? Who would be for that?

 144
      Senate Insulin Report Hearing Transcript at 28, 32, https://www.
 finance.senate.gov/imo/media/doc/ 435631.pdf (last visited Apr. 17, 2024).
 145
       Id. at 32.
 146
       Id.
 147
       Priced Out of a Lifesaving Drug at lines 2469-2506.

                                              182
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       ***
       Ms. Bricker. Absolutely not . . . . It will hurt the consumer. . . because .
       . . prices will be held high.

       560. The PBMs also intentionally withhold information about their use of

 affiliated rebate aggregators (like Defendants Zinc, Ascent, and Emisar) to negotiate

 and collect rebates and additional fees from the Manufacturers. The PBMs use these

 GPOs to obfuscate the payment trail of rebates and these additional “fees,” which are

 promised to payors under their sponsor agreements with the PBMs. The PBMs do

 not disclose the amounts collected by or details about the rebate aggregators in their

 SEC filings, nor do they disclose their existence or activity to payors publicly, in

 sponsor agreements or RFP responses, or in other communications. These amounts

 are also not subject to audit because they are not classified as rebates collected by the

 PBMs.

       561. As recently as May 2022, JC Scott—President of the PBM trade group

 PCMA—testified before the Senate Commerce Committee:

           PBMs are proud of the work they do to reduce prescription drug
           costs, expand affordable access to medications, and improve patient
           outcomes. PBMs negotiate with drug companies to lower
           prescription drug costs PBMs advocate for patients in the fight to
           keep prescription drugs accessible and affordable.

 Mirroring the PCMA website, Mr. Scott also testified, “The PBM industry is the




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 only stakeholder in the chain dedicated to seeking lower costs.”148

       562. During the relevant period—as seen above—the PBM Defendants

 represented to Plaintiff that they constructed formularies and negotiated with the

 Manufacturer Defendants for the benefit of payors and patients to maximize drug cost

 savings while promoting the health of diabetics.

       563. Throughout the relevant period, the PBMs consistently made similar

 misrepresentations directly to payors nationwide through bid proposals, member

 communications, invoices, formulary change notifications, and through extensive

 direct-to-consumer pull through efforts engaged in with the Manufacturers.

       564. All such representations are false—the Manufacturer and PBM

 Defendants in fact coordinated to publish the false prices and to construct the PBM

 formularies, causing the price of the at-issue drugs to skyrocket. For example:

       a.    In 2018, the United States spent $28 billion on insulin compared with

             $484 million in Canada. The average American insulin user spent $3490

             on insulin in 2018 compared with $725 among Canadians.149

       b.    Diabetics who receive their medications from federal programs that do



 148
          https://www.pcmanet.org/jc-scott-testifies-before-a-senate-panel-about-pbm-
 value/ (last visited Apr. 17, 2024).
 149
    Schneider, T., Gomes, T., Hayes, K. N., Suda, K. J., & Tadrous, M., Comparisons
 of Insulin Spending and Price Between Canada and the United States. Mayo Clinic
 Proceedings, 97(3), 573–78 (2022).

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             not use the PBMs also pay significantly less. In December 2021, the

             United States House of Representatives Committee on Oversight and

             Reform issued its Drug Pricing Investigation Report finding that federal

             health care programs that negotiate directly with the Manufacturers (like

             the Department of Veterans Affairs), and which are thus outside the PBM

             Defendants’ scheme, paid $16.7 billion less from 2011 through 2017 for

             the at-issue drugs than the Medicare Part D program, which relies on the

             PBM Defendants to set their at-issue drug prices.150

       565. Defendants knew that their representations were false when they made

 them and coordinated to withhold the truth from payors, including Plaintiff.

       566. Defendants concealed the falsity of their representations by closely

 guarding their pricing negotiations, structures, agreements, sales figures, and the flow

 of money and other consideration among them.

       567. The Defendants have never revealed the full amount of any drug-specific

 Manufacturer Payments exchanged between them. Despite the claims of transparency

 to Plaintiff and to the public and despite Plaintiff’s contracts with Express Scripts,

 Plaintiff does not know, and cannot learn, of the full extent of the Manufacturer



 150
          https://www.fiercepharma.com/pharma/house-oversight-committee-blasts-
 pharma-for-outrageous-prices-and-anticompetitive-conduct (last visited Apr. 5,
 2024).

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 Payments and other agreements between PBMs and the Manufacturer Defendants.

          568. The PBM Defendants do not disclose the terms of the agreements they

 make with the Manufacturers or the Manufacturer Payments they receive. Nor do

 they disclose the details related to their agreements (formal or otherwise) with

 pharmacies. All those revenue streams are beyond the scope of the payors’

 contractual audit rights.

          569. Further, although        PBMs     negotiate drug-specific   rebates   with

 Manufacturers,151 the PBM rebate payments to payor clients and summaries of such

 payments are in the aggregate, rather than on a drug-by-drug basis. It is impossible

 for payors like Plaintiff to tease out drug-specific rebates, much less the other

 undisclosed Manufacturer Payments. This allowed the PBM Defendants to hide the

 large Manufacturer Payments that they receive for the at-issue diabetes medications.

          570. The PBM Defendants have gone so far as to sue governmental entities to

 block the release of details on their pricing agreements with the Manufacturers and

 pharmacies.

          571. Even when audited by payors, the PBM Defendants routinely refuse to

 disclose their agreements with the Manufacturers and pharmacies by relying on

 overly broad confidential agreements and claims of trade secrets and by erecting

 other unnecessary roadblocks and restrictions.


 151
       Senate Insulin Report at 40.
                                               186
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         572. Beneficiaries of the Plaintiff’s health plans have no choice but to pay

 prices flowing from the Manufacturers’ inflated list prices because Beneficiaries need

 these medications to survive and the Manufacturer Defendants produce virtually all

 diabetes medications available in the United States. The list prices generated by the

 Defendants’ coordinated efforts directly impact out-of-pocket costs at the point of

 sale.

         573. In sum, the entire insulin pricing structure created by the Defendants—

 from the false prices to the Manufacturers’ misrepresentations related to the reasons

 behind the prices, to the inclusion of the false prices in payor contracts, to the non-

 transparent Manufacturer Payments, to the misuse of formularies, to the PBMs’

 representations that they work to lower prices and promote the health of diabetics—

 is both unconscionable, deceptive, and unfair and immensely lucrative for

 Defendants.

         574. Plaintiff did not know, because the Defendants affirmatively concealed,

 (a) that the Manufacturers and PBMs coordinated to create the PBM formularies in

 exchange for money and other consideration; (b) that the list prices were falsely

 inflated; (c) that the list prices were manipulated to satisfy PBM profit demands; (d)

 that the list prices and net costs (purchase prices) paid by Plaintiff bore no relationship

 to the fair market value of the drugs themselves or the services rendered by the PBMs

 in coordinating their pricing; or (e) that the entire insulin pricing structure Defendants


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 created was false.

       K.     The Insulin Pricing Scheme Has Damaged Plaintiff
       575. Plaintiff provides health and pharmacy benefits to its Beneficiaries,

 including employees and their dependents, who have numbered in the thousands

 throughout the relevant period.

       576. One benefit Plaintiff provides the Beneficiaries of its healthcare plan is

 paying for their pharmaceutical needs.

       577. Plaintiff entered into agreements with Cigna Health and Express Scripts,

 Inc. whereby the PBMs agreed to provide Plaintiff prescription drug benefits and

 other at-issue services. Pursuant to its contracts with these Express Scripts

 Defendants, Plaintiff committed to paying the PBMs directly for its Beneficiaries

 pharmaceutical claims.

       578. Plaintiff was unaware of the Insulin Pricing Scheme. Plaintiff relied on

 Defendants’ public statements and material omissions.

       579. Defendants’ Insulin Pricing Scheme has cost Plaintiff millions of dollars

 in overcharges.

       580. Express Scripts failed to adhere to principles of good faith and fair

 dealing in carrying out its PBM contracts with Plaintiff. Its relationship with Plaintiff

 was inherently unbalanced and its contracts adhesive. Express Scripts, at all times

 relevant, had superior bargaining power and superior knowledge of their


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 relationships with the Manufacturer Defendants, including those that ultimately

 dictate the drug costs Plaintiff incurred. Although Express Scripts was supplying a

 vital service of a quasi-public nature, it exploited its superior position to mislead

 Plaintiff and thwart its expectations, all at great expense to Plaintiff.

       581. The Defendants’ misrepresentations, omissions, and misconduct—

 including and as manifested in the Insulin Pricing Scheme—directly and proximately

 caused economic damage to Plaintiff as a payor/purchaser of Defendants’ at-issue

 diabetes medications.

       582. A substantial proportion of the money Plaintiff spent on diabetes

 medications is attributable to Defendants’ inflated prices, which did not arise from

 competitive market forces but, instead, are directly attributable to the Insulin Pricing

 Scheme.

       583. Because of Defendants’ success in concealing the Insulin Pricing

 Scheme through act and omission, no payor, including Plaintiff, knew, should have

 known, or could have known during the relevant period that the prices for the at-issue

 diabetes medications were (and remain) artificially inflated due to the Insulin Pricing

 Scheme.

       584. As a result, despite receiving some rebates and incurring drug costs based

 on discounts off list prices, Plaintiff has unknowingly overpaid for the Manufacturer

 Defendants’ diabetes medications, which would have cost less but for the Insulin


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 Pricing Scheme.

       585. In addition, because of the inflated AWPs caused by the Insulin Pricing

 Scheme, Plaintiff’s Beneficiaries had greater out-of-pocket expenses (because their

 co-pays are tied to AWP). As a result, those Beneficiaries reached their annual

 spending caps sooner, such that Plaintiff was obligated to pay more for those

 Beneficiaries to cover the remainder of the plan year.

       586. In short, the Insulin Pricing Scheme has directly and proximately caused

 Plaintiff to substantially overpay for diabetes medications.

       587. Because Defendants continue to generate exorbitant, unfair, and

 deceptive prices for the at-issue drugs through the Insulin Pricing Scheme, the harm

 to Plaintiff is ongoing.

       L.     Defendants’ Recent Efforts in Response to Rising Insulin Prices

       588. In reaction to mounting political and public outcry, Defendants have

 taken steps on Capitol Hill and in the public relations space to protect and further the

 Insulin Pricing Scheme.

       589. First, in response to public criticism, Defendants have increased their

 spending to spread their influence in Washington D.C.

       590. For example, in recent years Novo Nordisk’s political action committee

 (“PAC”) has doubled its spending on federal campaign donations and lobbying

 efforts. In 2017 alone, Novo Nordisk spent $3.2 million lobbying Congress and


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 federal agencies, which (at that point) was its biggest ever investment in directly

 influencing U.S. policymakers. By 2023, that number had risen to over $5.1 million.

 Eli Lilly and Sanofi also have contributed millions of dollars through their PACs in

 recent years. In 2023, Eli Lilly spent over $8.4 million in lobbying and Sanofi spent

 over $5.4 million.

          591. Second, Defendants have recently begun publicizing programs

 ostensibly aimed at lowering the cost of insulins.

          592. These affordability measures fail to address the structural issues that

 caused the price hikes. Rather, these are public relations measures that do not solve

 the problem.

          593. For example, in March 2019, Defendant Eli Lilly announced that it

 would produce an authorized generic version of Humalog, “Insulin Lispro,” and

 promised that it would “work quickly with supply chain partners to make [the

 authorized generic] available in pharmacies as quickly as possible.”

          594. At the time, Eli Lilly told the Senate Finance Committee that “we can

 provide a lower-priced insulin more quickly without disrupting access to branded

 Humalog, on which thousands of insured patients depend and which will remain

 available for people who want to continue accessing it through their current insurance

 plans.” 152

 152
       Joseph B. Kelly Letter to S. Fin. Comm., Mar. 8, 2019.

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       595. When it launched Lispro, its press release said the drug was the “same

 molecule” as Humalog, yet would be sold at half the price of Humalog. Eli Lilly

 expressly said it was to help make insulin medications “more affordable.” 153

       596. What Eli Lilly failed to tell the Committee and the public was that its

 rebate deals with the PBMs incentivized them to exclude Lispro from their

 formularies. For example, even though Lispro at $137.50 would be available at half

 the price of Humalog, which remained on-formulary, Express Scripts’ exclusion list

 for 2019154 specifically blocked it from its formulary. 155

       597. Likewise, in the months after Eli Lilly’s announcement, reports raised

 questions about the availability of “Insulin Lispro” in local pharmacies. Following

 these news reports, the staff of the Offices of U.S. Senators Elizabeth Warren and

 Richard Blumenthal prepared a report examining the availability of this drug. The

 investigative report, Inaccessible Insulin: The Broken Promise of Eli Lilly's

 Authorized Generic, concluded that Eli Lilly’s lower-priced, authorized generic



 153
    Eli Lilly & Co., March 4, 2019, Press Release, Lilly to Introduce Lower-Priced
 Insulin, available at https://investor.lilly.com/node/40881/pdf> (last viewed Apr. 17,
 2024).
   See Express Scripts 2019 National Preferred Formulary Exclusions, https://
 154

 www.express-scripts.com/art/pdf/Preferred_Drug_List_ Exclusions2019.pdf
 155
    Todd Boudreaux, Express Scripts Won’t Cover Lilly’s Generic Insulin, https://
 beyondtype1.org/express-scripts-wont-cover-generic-insulin/ (last visited Apr. 17,
 2024).


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 insulin is widely unavailable in pharmacies across the country, and that the company

 has not taken meaningful steps to increase insulin accessibility and affordability.156

         598. Eli Lilly did lower the price of Lispro by 40% effective January 1, 2022;

 but as of January 2023, Lispro did not appear on CVS Caremark’s formulary and

 Humalog had been removed. The January 2023 formularies for Express Scripts and

 OptumRx expressly excluded Lispro.

         599. In 2019, Novo Nordisk partnered with Walmart to offer ReliOn brand

 insulins for a discounted price at Walmart. However, experts have warned that the

 Walmart/Novo Nordisk insulins are not substitutes for most diabetics’ regular

 insulins and should only be used in an emergency or when traveling. For many

 diabetics, especially Type 1 diabetics, these insulins can be dangerous. In any event,

 ReliOn is not included on any of the PBM Defendants’ formularies as of January

 2023.

         600. Thus, Defendants’ “lower priced” insulin campaigns have not addressed

 the problem and the PBMs continue to exclude drugs with lower list prices despite

 their assurances of cost-savings for payors and Beneficiaries.




 156
      Sen. Elizabeth Warren & Sen. Richard Blumenthal, Inaccessible Insulin: The
 Broken Promise of Eli Lilly’s Authorized Generic, (Dec. 2019),
 https://www.warren.senate.gov/imo/media/doc/Inaccessible%20Insulin%20report.pd
 f (last visited Apr. 17, 2024).
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                        TOLLING OF THE STATUTES OF LIMITATION

       601. Plaintiff has diligently pursued and investigated the claims asserted

 herein. Through no fault of its own, Plaintiff did not learn, and could not have learned,

 the factual bases for its claims or the injuries suffered therefrom until recently.

 Consequently, the following tolling doctrines apply.

       A.     Discovery Rule

       602. Plaintiff did not know about the Insulin Pricing Scheme until shortly

 before filing this Complaint. Plaintiff was unaware that it was economically injured

 and unaware that any economic injury was wrongfully caused. Nor did Plaintiff

 possess sufficient information concerning the injury complained of here, or its cause,

 to put Plaintiff or any reasonable person on inquiry notice to determine whether

 actionable conduct was involved.

       603. The PBM and Manufacturer Defendants refused to disclose the actual

 prices of diabetes medications realized by Defendants or the details of Defendants’

 negotiations and payments between each other or their pricing structures and

 agreements—Defendants        labeled   these    trade   secrets,   shrouded   them    in

 confidentiality agreements, and circumscribed payor audit rights to protect them.

       604. Each Defendant group also affirmatively blamed the other for the price

 increases described herein, both during their Congressional testimonies and through

 the media. All disavowed wrongdoing and falsely claimed that their dealings with


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 payors like Plaintiff were honest and transparent.

        605. Plaintiff did not discover until shortly before filing this Complaint facts

 sufficient to cause a reasonable person to suspect that Defendants were engaged in

 the Insulin Pricing Scheme or that Plaintiff had suffered economic injury as a result

 of any or all Defendants’ wrongdoing. Nor would diligent inquiry have disclosed the

 true facts had Plaintiff been aware of any cause to undertake such an inquiry.

        606. Even today, lack of transparency in the pricing of diabetes medications

 and the arrangements, relationships, and agreements between and among the

 Manufacturer Defendants and the PBM Defendants, i.e., the Insulin Pricing Scheme,

 continue to obscure Defendants’ unlawful conduct from Plaintiff and the general

 public.

        607. For these reasons, the applicable statutes of limitations did not begin to

 run until 2022, at the earliest.

        B.    Fraudulent Concealment
        608. Through the acts, omissions, and misrepresentations alleged throughout

 this Complaint, Defendants fraudulently concealed the fact of Plaintiff’s economic

 injury and its cause.

        609. Defendants cannot rely upon any statute-of-limitations defense because

 they purposefully concealed the Insulin Pricing Scheme, their generation of false list

 prices, and the fact that the prices for the at-issue diabetes medications were


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 artificially inflated. The Defendants deliberately concealed their behavior and active

 role in the Insulin Pricing Scheme and other unlawful conduct.

        610. Defendants’ acts, omissions, and misrepresentations were calculated

 to—and did—lull and induce payors, including Plaintiff, into forgoing legal action

 or any inquiry that might lead to legal action. Defendants’ acts, omissions, and

 representations were intended to and, in fact, did prevent Plaintiff from discovering

 its claims.

        611. Defendants knowingly and fraudulently concealed the facts alleged

 herein. Defendants knew of the wrongful acts set forth above, had information

 pertinent to their discovery, and concealed them from the public. As a result of

 Defendants’ conduct, Plaintiff did not know, and could not have known through the

 exercise of reasonable diligence, of the existence or scope of the Insulin Pricing

 Scheme or of Plaintiff’s causes of action.

        612. Defendants continually and secretly engaged in the Insulin Pricing

 Scheme. Only Defendants and their agents knew or could have known about

 Defendants’ unlawful actions because Defendants made deliberate efforts to conceal

 their conduct. As a result of the above, Plaintiff was unable to obtain vital information

 bearing on its claims absent any fault or lack of diligence on its part.

        613. As alleged herein, and among other things, Defendants affirmatively

 concealed: (a) that the Manufacturers and PBMs coordinated to create the PBM


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 formularies in exchange for money and other consideration; (b) that the list prices

 were falsely inflated and manipulated; (c) that the list prices and net costs (purchase

 prices) paid by payors and patients bore no relationship to the fair market value of

 the drugs themselves or the services rendered by the PBMs in coordinating their

 pricing; (d) that the at-issue insulin drugs were selected for inclusion or preferred

 status on the formularies based on higher prices (and greater potential revenues for

 Defendants) rather than because of cost-effectiveness or because they were beneficial

 to payors’ Beneficiaries; (e) the exchange of various payments and pricing

 agreements between the Manufacturers and PBMs; or (f) that the entire insulin

 pricing structure Defendants created was false.

        614. As alleged more fully herein, the PBM Defendants have blocked drug

 pricing transparency efforts.

        615. As alleged more fully herein, the Manufacturer Defendants have testified

 to Congress that they were not responsible for skyrocketing insulin prices, claiming

 that they had no control over the pricing, blaming the PBM Defendants for the high

 prices, and suggesting that they have not profited from astronomical insulin prices.

        616. Meanwhile, the PBM Defendants testified to Congress that the

 Manufacturer Defendants were solely responsible for the list price increases and that

 the payments that the PBMs receive from the Manufacturer Defendants are unrelated

 to rising insulin prices.


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       617. As alleged herein, the PBM Defendants concealed the Insulin Pricing

 Scheme through vague and manipulable definitions of terms in their contracts,

 including by hiding the fees that the Manufacturer Defendants paid to the PBM

 Defendants and which the PBM Defendants retained and did not pass along to payors

 as Rebates.

       618. The PBM Defendants also concealed payments they received from the

 Manufacturer Defendants through their affiliated rebate aggregators, hiding them in

 complex contractual relationships—often with other Defendants—and not reporting

 them on their quarterly SEC filings.

       619. Defendants coordinated to affirmatively withhold the truth about the

 Insulin Pricing Scheme from payors, including Plaintiff, patients, and the public and

 concealed the falsity of representations made to payors, including Plaintiff, by closely

 guarding their pricing negotiations, structures, agreements, sales figures, and the flow

 of money and other consideration between them.

       620. Plaintiff did not know, and could not reasonably have discovered, the full

 extent of agreements between the PBM Defendants and the Manufacturer Defendants

 or payments the Manufacturer Defendants made to the PBMs because Defendants

 actively concealed these agreements and payments.

       621. Despite the claims of transparency made to payors, including Plaintiff,

 and to the public, Defendants have never revealed the full amount of drug-specific


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 payments they have exchanged or received. Payors, including Plaintiff, and patients

 reasonably relied on Defendants’ claims of transparency.

       622. Defendants intended that their actions and omissions would be relied

 upon by the public, to include payors and patients. Plaintiff did not know, and did

 not have the means to know, the truth due to Defendants’ actions and omissions.

       623. Payors, including Plaintiff, and patients reasonably relied on Defendants’

 affirmative statements to Congress and the public, and in contracts between PBMs

 and their clients, that Defendants were working to lower insulin prices and provide

 payors with cost savings.

       624. The purposes of the statute of limitations are satisfied because

 Defendants cannot claim any prejudice due to an alleged late filing where the Plaintiff

 filed suit promptly upon discovering the facts essential to its claims, described herein,

 which Defendants knowingly concealed.

       625. In light of the information set forth above, it is clear that Defendants had

 actual or constructive knowledge that their conduct was deceptive, in that they

 consciously concealed the schemes set forth herein.

       626. Any applicable statutes of limitation therefore have been tolled.

       C.    Equitable Estoppel

       627. Defendants were under a continuous duty to disclose to Plaintiff the true

 character, quality, and nature of the prices upon which payments for diabetes


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 medications were based, and the true nature of the services being provided—all of

 which would be and are now material to Plaintiff.

       628. Instead of disclosing these facts, Defendants knowingly misrepresented

 and concealed them with a reasonable expectation that Plaintiff would act upon the

 misrepresentations and omissions.

       629. Being unaware of the true facts and the economic harm it was suffering,

 and having no cause to inquire further, Plaintiff did indeed rely in good faith to its

 detriment on Defendants’ misrepresentations and omissions.

       630. In short, through Defendants’ acts, omissions, and misrepresentations as

 alleged throughout this Complaint, Defendants knowingly misrepresented and

 concealed material facts with the expectation that Plaintiff would act upon them,

 which Plaintiff did in good faith and to its detriment.

       631. Accordingly, Defendants are equitably estopped from relying on any

 statutes of limitations in defense of this action.

       D.     Continuing Violations

       632. The acts, omissions, and misrepresentations alleged throughout this

 Complaint have continued to the present day. Defendants’ systematic misconduct

 constitutes a continuous, unbroken violation of the law that has caused, and continues

 to cause, continuous economic harm to Plaintiff.

       633. Accordingly, all applicable statutes of limitations are tolled.


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                                    CLAIMS FOR RELIEF

                                     Count I
     Violations of the Racketeer Influenced and Corrupt Organizations Act
                         (“RICO”), 18 U.S.C. § 1962(c)
                             (against all Defendants)

       634. Plaintiff re-alleges and incorporates herein by reference each of the

 allegations contained in paragraphs 1-600.

       635. Plaintiff brings this count against all Defendants for violations of 18

 U.S.C. § 1962(c).

       636. Defendants Eli Lilly, Novo Nordisk, Sanofi, Express Scripts, OptumRx,

 and CVS Caremark are (1) culpable “persons” who (2) willfully and knowingly (3)

 committed and conspired to commit two or more acts of mail and wire fraud (4)

 through a “pattern” of racketeering activity that (5) involves an “association in fact”

 enterprise, (6) the results of which had an effect on interstate commerce.

       A.    Defendants Are Culpable “Persons” Under RICO
       637. Defendants Eli Lilly, Novo Nordisk, Sanofi, Express Scripts, OptumRx,

 and CVS Caremark, separately, are “persons” as that term is defined in 18 U.S.C. §

 1961(3) because each is capable of holding a legal or beneficial interest in property.

       638. Each one of Defendants Eli Lilly, Novo Nordisk, Sanofi, Express

 Scripts, OptumRx, and CVS Caremark are separate entities and “persons” that are

 distinct from the RICO enterprises alleged below.




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       B.    The Manufacturer-PBM RICO Enterprises

       639. For the purposes of this claim, the RICO enterprises are nine separate

 associations-in-fact consisting of one of each of the PBM Defendants and one of

 each of the Manufacturer Defendants, including those entities’ directors, employees,

 and agents. They are the Eli Lilly-CVS Caremark Enterprise; the Eli Lilly-Express

 Scripts Enterprise; the Eli Lilly-OptumRx Enterprise; the Novo Nordisk-CVS

 Caremark Enterprise; the Novo Nordisk-Express Scripts Enterprise; the Novo

 Nordisk-OptumRx Enterprise; the Sanofi-CVS Caremark Enterprise; the Sanofi-

 Express Scripts Enterprise; and the Sanofi-OptumRx Enterprise.

       640. These association-in-fact enterprises are collectively referred to herein

 as the “Manufacturer-PBM Enterprises.”

       641. Each Manufacturer-PBM Enterprise is a separate, ongoing, and

 continuing business organization consisting of corporations and individuals

 associated for the common purpose of manufacturing, selling, and facilitating the

 purchase of the Manufacturer Defendants’ products, including the at-issue drugs. For

 example:

       (a) Each of the three Eli Lilly enterprises associates for the common purpose
           of manufacturing, selling, distributing, and facilitating the purchase of Eli
           Lilly medications including Prozac, Cymbalta, and Zyprexa, as well as
           the at-issue Eli Lilly insulin and insulin-analog medications (Trulicity,
           Humulin N, Humulin R, Humalog, and Basaglar), which are Eli Lilly’s
           primary source of revenue.
       (b) Each of the three Novo Nordisk Enterprises associates for the common

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           purpose of manufacturing, selling, distributing, and facilitating the
           purchase of Novo Nordisk medications for the treatment of obesity,
           hemophilia, and hormone imbalance, as well as the at-issue Novo Nordisk
           insulin and insulin-analog medications (Novolin R, Novolin N, Novolog,
           Levemir, Tresiba, Victoza, and Ozempic), which account for more than
           three-quarters of Novo Nordisk’s revenue.

       (c) Each of the three Sanofi Enterprises associates for the common purpose
           of manufacturing, selling, distributing, and facilitating the purchase of
           Sanofi medications including Ambien, Plavix, and Dupixent, as well as
           the at-issue Sanofi insulin and insulin-analog medications (Lantus,
           Toujeo, Apidra, and Soliqua).

       642. Each Manufacturer-PBM Enterprise engaged in the shared purpose of

 exchanging false list prices and secret Manufacturer Payments for preferred

 formulary positions for the at-issue drugs in order to control the market for diabetes

 medications and profit off diabetics and payors, including the Plaintiff.

       643. The members of each enterprise are bound by contractual relationships,

 financial ties, and the ongoing coordination of activities.

       644. There is also a common communication network by which each

 Manufacturer-PBM Enterprise shares information and meets on a regular basis.

 These communications include, but are not limited to, communications relating to

 the use of false list prices for the at-issue diabetes medications and the regular flow

 of Manufacturer Payments from each Manufacturer Defendant to each PBM

 Defendant in exchange for formulary placement.

       645. Each Manufacturer-PBM Enterprise functions as a continuing but

 separate unit separate and apart from the pattern of racketeering activity in which it

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 engages. Each Manufacturer-PBM Enterprise, for example, engages in the

 manufacture, distribution, and sale of medications and other products other than the

 at-issue insulin and insulin-analog medications. Additionally, each Manufacturer

 engages in conduct other than mail and wire fraud in furtherance of the Insulin

 Pricing Scheme.

       646. At all relevant times, each of the Manufacturer-PBM Enterprises was

 operated and conducted for unlawful purposes by each Manufacturer Defendant and

 PBM Defendant, namely, carrying out the Insulin Pricing Scheme.

       647. Each Manufacturer-PBM Enterprise derived secret profits from these

 activities that were greater than those any one of the Manufacturer Defendants or

 PBMs could obtain absent their misrepresentations regarding and collusion in their

 pricing schemes.

       648. The Manufacturer-PBM Enterprises resulted in benefits for the

 Defendants that could not have been achieved absent the enterprises. For example,

 the Manufacturer Defendants achieved formulary access without real price

 reductions by raising list prices and paying kickbacks to the PBM Defendants. The

 PBM Defendants likewise could not have obtained inflated rebates, administrative

 fees, and other payments without colluding with the Manufacturers to raise list

 prices. In other words, each Manufacturer-PBM Enterprise engaged in a scheme to

 corrupt the insulin market by artificially inflating list prices in exchange for preferred


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 formulary placement.

        649. To accomplish this common purpose, each Manufacturer Defendant

 periodically and systematically inflated the prices of the at-issue drugs and then

 secretly paid a significant, yet undisclosed, portion of this inflated price back to

 Express Scripts, CVS Caremark, and OputmRx in the form of Manufacturer

 Payments.

        650. Each Manufacturer-PBM Enterprise did so willfully and with

 knowledge that Plaintiff paid for the at-issue drugs at prices directly based on the

 false list prices.

        651. Each Manufacturer-PBM Enterprise’s inflation of the list prices and

 secret Manufacturer Payments was a quid pro quo exchange for preferred formulary

 placement.

        652. Each Manufacturer-PBM Enterprise concealed from Plaintiff that these

 false prices and secret Manufacturer Payments resulted in each Manufacturer

 gaining formulary access without requiring significant price reductions and resulted

 in higher profits for the PBM Defendants, whose earnings increase the more inflated

 the price is and the more payments they receive from each Manufacturer Defendant.

        653. Each Manufacturer-PBM Enterprise also shares a common purpose of

 perpetuating the use of the false list prices for the at-issue drugs as the basis for the

 price that payors, including the Plaintiff, and diabetics pay for diabetes medications.


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        654. The Manufacturer Defendants would not be able to offer large pricing

 spreads to the PBMs in exchange for favorable formulary positions without the use

 of the false list prices as the basis for the price paid by diabetics and payors, including

 the Plaintiff, for the at-issue drugs.

        655. The PBM Defendants share this common purpose because nearly all

 profit and revenue generated from the at-issue drugs is tied to the false inflated prices

 generated by the Insulin Pricing Scheme. Without diabetics and payors, including

 Plaintiff, paying for diabetes medications based on the inflated list prices, their

 profits from the Insulin Pricing Scheme would decrease.

        656. As a result, CVS Caremark, Express Scripts, and OptumRx have, with

 the knowing and willful participation and assistance of each Manufacturer

 Defendant, engaged in hidden profit-making schemes falling into four general

 categories: (1) garnering undisclosed Manufacturer Payments from each

 Manufacturer Defendant that each PBM retains to a large extent; (2) generating

 substantial profits from pharmacies because of the falsely inflated prices; (3)

 generating profits on the diabetes medications sold through the PBMs’ own mail-

 order and retail pharmacies; and (4) keeping secret discounts each Manufacturer

 Defendant provides in association with the PBMs’ mail-order and retail operations.

        657. At all relevant times, each PBM and each Manufacturer Defendant has

 been aware of their respective Manufacturer-PBM Enterprise’s conduct, has been a


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 knowing and willing participant in and coordinator of that conduct and has reaped

 profits from that conduct.

       658. None of the PBMs or Manufacturers alone could have accomplished the

 purposes of the Manufacturer-PBM Enterprises without the other members of their

 respective enterprises.

       C.     The Enterprises Misrepresent and Fail to Disclose Material Facts
              in Furtherance of the Insulin Pricing Scheme
       659. Each Manufacturer-PBM Enterprise knowingly made material

 misrepresentations to the public and the Plaintiff in furtherance of the Insulin Pricing

 Scheme, including publishing artificially inflated prices for insulin on published

 indices and representing that:

       a. the false list prices for the at-issue diabetes medications were reasonably
          related to the actual prices realized by Defendants and were a reasonable
          and fair basis on which to base the price Plaintiff paid for these drugs;
       b. each Manufacturer priced its at-issue drugs according to each drug’s value
          to the healthcare system and the need to fund innovation;
       c. the Manufacturer Payments paid back to the PBMs for each at-issue drug
          were for Plaintiff’s benefit;
       d. all “rebates” and discounts negotiated by the PBMs with the Manufacturer
          Defendants were passed through to the Plaintiff;
       e. the “rebates” negotiated by the members of each enterprise saved Plaintiff
          money;
       f. each Manufacturer Defendant and PBM was transparent with Plaintiff
          regarding the Manufacturer Payments and the PBMs did not retain any
          funds associated with prescription drug rebates or any the margin between
          guaranteed reimbursement rates and the actual amount paid to the
          pharmacies; and
       g. The PBM Defendants constructed formularies in a manner that lowered
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           the price of the at-issue drugs and promoted the health and safety of
           diabetics.
       660. Each false list price published by the Manufacturer Defendants

 constituted a material misrepresentation to Plaintiff and the public, in that each

 purported to be a fair market price for the medication at issue, and each failed to

 disclose the fraudulent spread between the list price and the net price of the

 medication or the basis therefor.

       661. Examples of other specific affirmative representations by each RICO

 Defendant in furtherance of each enterprise’s Insulin Pricing Scheme are set forth in

 paragraphs 541-74, among others.

       662. At all times relevant to this Complaint, each Manufacturer-PBM

 Enterprise knew the above-described representations to be false.

       663. At all times relevant to this Complaint, each Manufacturer-PBM

 Enterprise intentionally made these representations for the purpose of inducing

 Plaintiff into paying artificially inflated prices for diabetes medications.

       664. Plaintiff relied on the material misrepresentations and omissions made

 by each Manufacturer-PBM Enterprise in paying prices for the at-issue diabetes

 medications based upon the false prices generated by Insulin Pricing Scheme.

       665. Additionally, each PBM-Manufacturer Enterprise relied on the list

 prices negotiated and published by the other PBM-Manufacturer enterprises in

 setting their own list prices and determining the value of the kickbacks paid to the

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 PBMs. Plaintiff was injured by the inflated prices that arose as a result.

        666. Express Scripts convinced Plaintiff to pay prices for the at-issue drugs

 based upon the false list prices by using the misrepresentations listed above to

 convince Plaintiff that they had secured lower prices when, in fact, they did the

 opposite, all while concealing the Insulin Pricing Scheme.

        667. Without these misrepresentations and each Defendant’s failure to

 disclose the Insulin Pricing Scheme, each Manufacturer-PBM Enterprise could not

 have achieved its common purpose, as Plaintiff would not have been willing to pay

 these false list prices.

        D.     Defendants’ Use of the U.S. Mails and Interstate Wire Facilities
        668. Each of the Manufacturer-PBM Enterprises engaged in and affected

 interstate commerce because each engaged in the following activities across state

 boundaries: the sale, purchase and/or administration of diabetes medications; the

 setting and publishing of the prices of these drugs; and/or the transmission of pricing

 information of diabetes medications; and/or the transmission and/or receipt of sales

 and marketing literature; and/or the transmission of diabetes medications through

 mail-order and retail pharmacies; and/or the transmission and/or receipt of invoices,

 statements, and payments related to the use or administration of diabetes

 medications; and/or the negotiations and transmissions of contracts related to the

 pricing of and payment for diabetes medications.


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        669. Each Manufacturer-PBM Enterprise participated in the administration

 of diabetes medications to millions of individuals located throughout the United

 States, including in Florida.

        670. Each Manufacturer Defendant’s and PBM Defendant’s illegal conduct

 and wrongful practices were carried out by an array of employees, working across

 state boundaries, who necessarily relied upon frequent transfers of documents and

 information and products and funds through the U.S. mails and interstate wire

 facilities.

        671. The nature and pervasiveness of the Insulin Pricing Scheme, which

 included each Manufacturer Defendant’s and PBM Defendant’s corporate

 headquarters operations, necessarily required those headquarters to communicate

 directly and frequently by the U.S. mails and by interstate wire facilities with each

 other and with pharmacies, physicians, payors, and diabetics throughout Florida and

 the United States.

        672. Each Manufacturer-PBM Enterprise’s use of the U.S. mails and

 interstate wire facilities to perpetrate the Insulin Pricing Scheme involved thousands

 of communications including:

        a. marketing materials about the published prices for diabetes medications,
           which each Manufacturer Defendant sent to the PBM Defendants located
           across the country, including in Florida;
        b. written and oral representations of the false list prices of diabetes
           medications that each Manufacturer Defendant and PBM Defendant made
           at least annually and, in many cases, several times during a single year to
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           the public;
       c. thousands of written and oral communications discussing, negotiating, and
          confirming the placement of each Manufacturer Defendant’s diabetes
          medications on the PBM Defendants’ formularies;
       d. written and oral representations made by each Manufacturer Defendant
          regarding information or incentives paid back to each PBM Defendant for
          each diabetes medications sold and/or to conceal these incentives or the
          Insulin Pricing Scheme;
       e. written communications made by each Manufacturer Defendant, including
          checks, relating to Manufacturer Payments paid to the PBM Defendants to
          persuade them to advocate the at-issue diabetes medications;
       f. written and oral communications with U.S. government agencies that
          misrepresented what the published prices were or that were intended to
          deter investigations into the true nature of the published prices or to
          forestall changes to reimbursement based on something other than
          published prices;
       g. written and oral communications with payors, including the Plaintiff,
          regarding the prices of diabetes medications;
       h. written and oral communications to the Plaintiff, including marketing and
          solicitation material sent by the PBM Defendants regarding the existence,
          amount, or purpose of payments made by each Manufacturer Defendant to
          each PBM for the diabetes medications described herein and the purpose
          of the PBM Defendants’ formularies;
       i. transmission of published prices to third parties and payors, including
          Plaintiff; and
       j. receipts of money on at least tens of thousands of occasions through the
          U.S. mails and interstate wire facilities—the wrongful proceeds of the
          Insulin Pricing Scheme.
       673. Although Plaintiff pleads the dates of certain communications in

 allegations incorporated into this Count, it cannot allege the precise dates of others

 without access to books and records within each RICO Defendant’s exclusive

 custody and control. Indeed, an essential part of the successful operation of the

 Insulin Pricing Scheme depended upon secrecy, and each Manufacturer Defendant
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 and PBM Defendant took deliberate steps to conceal its wrongdoing.

       E.    Conduct of the Manufacturer-PBM Enterprises’ Affairs
       674. Each Manufacturer and PBM Defendant participates in the operation

 and management of Manufacturer-PBM Enterprises with which it is associated and,

 in violation of Section 1962(c) of RICO, and conducts or participates in the conduct

 of the affairs of those association-in-fact RICO enterprises, directly or indirectly.

 Such participation is carried out in the following ways, among others:

       a. Each Manufacturer Defendant directly controls the secret Manufacturer
          Payments it provides to the PBMs for its diabetes medications.
       b. Each PBM Defendant directly manages and controls its drug formularies
          and the placement of the at-issue diabetes medications on those
          formularies.
       c. Each PBM Defendant intentionally selects higher-priced diabetes
          medications for formulary placement and excludes lower priced ones in
          order to generate larger profits and coordinate with the Manufacturer
          Defendants to increase the availability and use of higher-priced
          medications because they are more profitable for both groups of
          Defendants.
       d. Each Manufacturer Defendant directly controls the publication of the false
          list prices generated by the Insulin Pricing Scheme.
       e. Each Manufacturer Defendant directly controls the creation and
          distribution of marketing, sales and other materials used to inform the
          PBMs of the profit potential from its diabetes medications.
       f. Each PBM Defendant directly controls the creation and distribution of
          marketing, sales, and other materials used to inform payors and the public
          of the benefits and cost-saving potential of each PBM’s formularies and
          negotiations with the Manufacturers.
       g. Each PBM Defendant directs and controls each enterprise’s direct
          relationships with payors such as the Plaintiff by negotiating the terms of
          and executing the contracts that govern those relationships.
       h. Each PBM Defendant directs and controls each enterprise’s Insulin Pricing

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            Scheme by hiding, obfuscating, and laundering Manufacturer Payments
            through its affiliated entities in order to retain a large and undisclosed
            proportion of the Manufacturer Payments to the detriment of payors,
            including Plaintiff.
       i. Each PBM Defendant distributes through the U.S. mail and interstate wire
          facilities promotional and other materials which claim that the
          Manufacturer Payments paid from each Manufacturer Defendant to the
          PBMs save Plaintiff and other payors money on the at-issue drugs.
       j. Each Manufacturer Defendant represented to the Plaintiff—by publishing
          and promoting false list prices without stating that these published prices
          differed substantially from the prices realized by each Manufacturer
          Defendant and PBM—that the published prices of diabetes medications
          reflected or approximated the actual price realized by Defendants and
          resulted from transparent and competitive fair market forces.
       F.     Defendants’ Patterns of Racketeering Activity
       675. Each Manufacturer Defendant and PBM Defendant has conducted and

 participated in the affairs of their respective Manufacturer-PBM Enterprises through

 a pattern of racketeering activity, including acts that are unlawful under 18 U.S.C. §

 1341, relating to mail fraud, and 18 U.S.C. § 1343, relating to wire fraud.

       676. Each Manufacturer Defendant’s and PBM Defendant’s pattern of

 racketeering involved thousands, if not hundreds of thousands, of separate instances

 of use of the U.S. mails or interstate wire facilities in furtherance of the Insulin

 Pricing Scheme. Each of these mailings and interstate wire transmissions constitutes

 a “racketeering activity” within the meaning of 18 U.S.C. § 1961(1). Collectively,

 these violations constitute a “pattern of racketeering activity,” within the meaning of

 18 U.S.C. § 1961(5), in which each Manufacturer Defendant and PBM Defendant

 intended to defraud Plaintiff.

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       677. By intentionally and falsely inflating the list prices, by misrepresenting

 the purpose behind both the Manufacturer Payments (made from each Manufacturer

 Defendant to the PBMs) and PBM Defendants’ formulary construction, and by

 subsequently failing to disclose such practices to Plaintiff, each Manufacturer

 Defendant and PBM Defendant engaged in a fraudulent and unlawful course of

 conduct constituting a pattern of racketeering activity.

       678. Each Manufacturer Defendant’s and PBM Defendant’s racketeering

 activities amounted to a common course of conduct, with similar patterns and

 purposes, intended to deceive Plaintiff.

       679. Each separate use of the U.S. mails and/or interstate wire facilities

 employed by each Manufacturer Defendant and PBM Defendant was related, had

 similar intended purposes, involved similar participants and methods of execution,

 and had the same results affecting the same victims, including Plaintiff.

       680. Each Manufacturer Defendant and PBM Defendant engaged in the

 pattern of racketeering activity for the purpose of conducting the ongoing business

 affairs of the respective Manufacturer-PBM Enterprises with which each of them is

 and was associated in fact.

       G.    The RICO Defendants’ Motives

       681. Each Manufacturer Defendant’s and PBM Defendant’s motives in

 creating and operating the Insulin Pricing Scheme and conducting the affairs of the


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 Manufacturer-PBM Enterprises described herein was to control the market for

 diabetes medications, exclude competition, and maximize sales of, and profits from,

 diabetes medications.

       682. The Insulin Pricing Scheme was designed to, and did, encourage others,

 including payors like Plaintiff, to advocate the use of each Manufacturer Defendant’s

 respective products and to pay for those diabetes medications based on a falsely

 inflated price. Each Manufacturer Defendant used the Insulin Pricing Scheme to

 obtain formulary placement to sell more of its drugs without having to cut into its

 profits. The PBM Defendants used the Insulin Pricing Scheme to falsely inflate the

 price payors such as the Plaintiff paid for diabetes medications in order to profit off

 the Insulin Pricing Scheme, as discussed above.

       H.    The Manufacturer-PBM Enterprises’ Insulin Pricing Scheme
             Injured Plaintiff.
       683. Each Manufacturer-PBM Enterprise’s violations of federal law and

 pattern of racketeering activity have directly and proximately caused the Plaintiff to

 be injured in its business or property.

       684. The prices the Plaintiff pays for the at-issue drugs are directly tied to the

 false list prices generated by the Insulin Pricing Scheme.

       685. No other intermediary in the supply chain has control over or is

 responsible for the list prices on which nearly all Plaintiff’s payments are based other

 than the Manufacturer-PBM Defendant Enterprises.

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       686. Defendants collectively set the prices that the Plaintiff paid for the at-

 issue diabetes medications.

       687. During the relevant period, Express Scripts provided PBM services to

 Plaintiff and benefited therefrom.

       688. During the relevant period, Plaintiff paid Express Scripts directly for

 the at-issue drugs.

       689. Each Manufacturer-PBM Enterprise controlled and participated in the

 Insulin Pricing Scheme, which was directly responsible for the false list prices upon

 which the price Plaintiff paid was based.

       690. Thus, Plaintiff was damaged by reason of the Insulin Pricing Scheme.

 But for the misrepresentations and false prices created by the Insulin Pricing Scheme

 that each Manufacturer–PBM Enterprise employed, Plaintiff would have paid less

 for diabetes medications.

       691. Because the Insulin Pricing Scheme resulted in payors and consumers

 paying supracompetitive prices for the at-issue medications, the scheme could not

 have continued without each Manufacturer-PBM Enterprise’s participation. In other

 words, if one of the Manufacturer-PBM Enterprises had opted not to participate in

 the scheme—and not inflated its list prices—the other enterprises could not have

 continued to overcharge their own clients. Each enterprise’s participation in the

 scheme—and execution of its own pattern of racketeering activity—was essential to


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 the overall scheme’s survival and a direct cause of Plaintiff’s injuries.

       692. While Defendants’ scheme injured an enormous number of payors and

 plan members, Plaintiff’s damages are separate and distinct from those of any other

 victim that was harmed by the Manufacturer–PBM Defendant Enterprises’ Insulin

 Pricing Scheme.

       693. By virtue of these violations of 18 U.S.C. § 1962(c), under the

 provisions of Section 1964(c) of RICO, Defendants are jointly and severally liable

 to the Plaintiff for three times the damages that were sustained, plus the costs of

 bringing this suit, including reasonable attorneys’ fees.

       694. By virtue of these violations of 18 U.S.C. § 1962(c), under the

 provisions of Section 1964(a) of RICO, the Plaintiff seeks injunctive relief against

 each Manufacturer and PBM Defendant for their fraudulent reporting of their prices

 and their continuing acts to affirmatively misrepresent and/or conceal and suppress

 material facts concerning their false and inflated prices for diabetes medications,

 plus the costs of bringing this suit, including reasonable attorneys’ fees.

       695. Absent an injunction, the effects of this fraudulent, unfair, and

 unconscionable conduct will continue. Plaintiff continues to purchase the at-issue

 diabetes medications. Plaintiff will continue to pay based on the Defendants’ false

 list prices. This continuing fraudulent, unfair, and unconscionable conduct is a

 serious matter that calls for injunctive relief as a remedy. Plaintiff seeks injunctive


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 relief, including an injunction against each Manufacturer and PBM Defendant, to

 prevent them from affirmatively misrepresenting and/or concealing and suppressing

 material facts concerning their conduct in furtherance of the Insulin Pricing Scheme.

                                      Count II
                      Violations of RICO, 18 U.S.C. § 1962(d)
                    by Conspiring to Violate 18 U.S.C. § 1962(c)
                               (against all Defendants)

       696. Plaintiff re-alleges and incorporates herein by reference the allegations

 set forth in paragraphs 1-600 and 634-95.

       697. Section 1962(d) of RICO provides that it “shall be unlawful for any

 person to conspire to violate any of the provisions of subsection (a), (b) or (c) of this

 section.”

       698. Defendants have violated § 1962(d) by agreeing and conspiring to

 violate 18 U.S.C. § 1962(c). The object of this conspiracy has been and is to conduct

 or participate in the Insulin Pricing Scheme.

       699. As set forth in detail above, as well as in the Civil Conspiracy count

 below, Defendants each knowingly agreed to facilitate the Insulin Pricing Scheme

 and each has engaged in numerous overt and predicate fraudulent racketeering acts

 in furtherance of the conspiracy. Specifically, Defendants agreed to and did inflate

 the prices of the at-issue drugs in lockstep to achieve an unlawful purpose;

 Defendants agreed to and did make false or misleading statements or material

 omissions regarding the reasons for these price increases, the purpose of the

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 Manufacturer Payments exchanged between Defendants, and the PBMs’ formulary

 construction; and the PBMs agreed to and did, in concert, request and receive larger

 Manufacturer Payments and higher prices in exchange for formulary placement.

       700. The nature of the above-described Defendant co-conspirators’ acts,

 material misrepresentations, and omissions in furtherance of the conspiracy gives rise

 to an inference that they not only agreed to the objective of an 18 U.S.C. § 1962(d)

 violation of RICO by conspiring to violate 18 U.S.C. § 1962(c), but they were aware

 that their ongoing fraudulent and extortionate acts have been and are part of an overall

 pattern of racketeering activity.

       701. Defendants have engaged and continue to engage in the commission of

 overt acts, including the following unlawful racketeering predicate acts:

           a. multiple instances of mail fraud in violations of 18 U.S.C. § 1341;

           b. multiple instances of wire fraud in violations of 18 U.S.C. § 1343; and
           c. multiple instances of unlawful activity in violation of 18 U.S.C. § 1952.
       702. Defendants’ conspiracy to violate the above federal laws and the effects

 thereof detailed above are continuing and will continue. Plaintiff has been injured in

 its property by reason of these violations: Plaintiff has paid more for the at-issue drugs

 than it would have but for Defendants’ conspiracy to violate 18 U.S.C. § 1962(c).

       703. By virtue of these violations of 18 U.S.C. § 1962(d), Defendants are

 jointly and severally liable to Plaintiff for three times the damages this District has

 sustained, plus the cost of this suit, including reasonable attorneys’ fees.
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                                       Count III
                  Florida Deceptive and Unfair Trade Practices Act
                       Fla. Stat. § 501.201 et seq. (“FDUTPA”)
                                (against all Defendants)

       704. Plaintiff re-alleges and incorporates by reference the allegations set forth

 above in paragraphs 1 through 600.

       705. Plaintiff is a “consumer” pursuant to section 501.203(7), Florida

 Statutes.

       706. Defendants’ business practices described herein constitute “trade or

 commerce” pursuant to section 501.203(8), Florida Statutes.

       707. Defendants’ misconduct as described throughout this Complaint,

 collectively and as individuals, unfair methods of competition, unconscionable acts

 or practices, and unfair or deceptive acts or practices in the conduct of any trade or

 commerce, as prohibited by section 501.204(1), Florida Statutes.

       708. Defendants are independently liable for their own misconduct in

 violation of FDUTPA and are liable for their collective efforts in furtherance of the

 Insulin Pricing Scheme. Using a complex structure of interdependent entities,

 Defendants confuse and mislead consumers about each Defendant’s respective role

 in an attempt to evade liability for the unfair and deceptive scheme as a whole, and

 for the acts and omissions of the enterprise’s interdependent participants.

       709. Defendants’ misconduct in violation of FDUTPA included, inter alia,

 the following:

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       a.   The Manufacturer Defendants published prices for the at-issue drugs

            and, in doing so, held these prices out as the actual prices for these drugs

            despite knowing these prices were artificially inflated and untethered

            from the cost of the drugs or the price the Manufacturers were paid for

            them—all with the PBM Defendants’ knowledge, consent, and

            cooperation.

       b.   The Manufacturer Defendants misrepresented and actively concealed the

            true reasons why they set and raised list prices—the truth being that it

            was to increase revenues and profits and to offer higher prices and larger

            Manufacturer Payments to the PBM Defendants —all with the PBM

            Defendants’ knowledge, consent, and cooperation.

       c.   The PBM Defendants furthered the scheme by using the artificially

            inflated list prices to determine the inflated prices paid by payors,

            including   Plaintiff and Plaintiff’s Beneficiaries—all with the

            Manufacturer Defendants’ knowledge, consent, and cooperation.

       d.   The PBM Defendants represented to payor and to the public that they

            worked to generate savings with respect to the at-issue drugs and to

            promote the health of diabetics. Instead, directly counter to their

            representations, the PBMs drove up the prices of the at-issue drugs and

            damaged payors, including Plaintiff, by demanding ever-increasing


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             Manufacturer Payments that, in turn, increased what otherwise would

             have been the retail prices for the at-issue drugs—all with the

             Manufacturer Defendants’ knowledge, consent, and cooperation.

       e.    The PBM Defendants have hidden, obfuscated, and laundered these

             Manufacturer Payments through their affiliated entities in order to retain

             a large and undisclosed proportion of the Manufacturer Payments to the

             detriment of payors, including Plaintiff.

       f.    The PBM Defendants intentionally selected higher-priced diabetes

             medications for formulary placement and excluded lower priced ones in

             order to generate larger profits and coordinated with the Manufacturer

             Defendants to increase the availability and use of higher priced

             medications because they are more profitable for both groups of

             Defendants.

       g.    The PBM Defendants misled their payors, including Plaintiff, as to the

             true nature of value of the services they provided and reaped illicit profits

             exponentially greater than the fair market value of the services they

             purported to provide—all with the Manufacturer Defendants’

             knowledge, consent, and cooperation.

       710. The PBM Defendants owed a duty to disclose the true facts to their payor

 clients, including Plaintiff, but intentionally chose instead to conceal them, both to


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 further the Insulin Pricing Scheme and to conceal it from payors.

                                        Count IV
                                 Common Law Fraud
                 (against Defendants Eli Lilly, Novo Nordisk, Sanofi, and
                                     Express Scripts)

        711. Plaintiff re-alleges and incorporates herein by reference each of the

 allegations from paragraphs 1-600.

        712. Express Scripts and the Manufacturer Defendants affirmatively

 misrepresented, omitted, or concealed and suppressed material facts concerning,

 among other things:

            a. the true cost and price of the at-issue drugs;
            b. the inflated and fraudulent nature of the list prices set and charged by
               Defendants for the at-issue drugs;
            c. the existence, amount, flow, and purposes of discounts and rebates
               offered or negotiated by Defendants for the at-issue medications; and
            d. the role that Defendants played in the price paid for the at-issue,
               including marketing materials and other public statements stating that
               Defendants decrease the price of prescription drugs for consumers.
        713. These Defendants’ false representations and omissions were material

 to Plaintiff.

        714. Defendants knew that their representations and omissions were false

 and misleading. They knew, for example, that the list prices for the at-issue drugs

 were excessive, inflated, and untethered to any competitive market price. They

 knew that these list prices were artificially inflated to fund kickbacks for the PBMs

 in exchange for preferred formulary placement.

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        715. These Defendants intended that Plaintiff would rely on their

 misrepresentations and omissions. Through their scheme, Express Scripts leveraged

 formulary control for ever-increasing Manufacturer Payments while the

 Manufacturer Defendants maintained or increased their profit margins or sales

 volume as preferred formulary members. Defendants intended to profit at the

 expense of payors like Plaintiff.

        716. Plaintiff reasonably relied on these Defendants’ deception, and these

 Defendants intended that they would so rely. Plaintiff had no way of discerning that

 these Defendants were, in fact, deceiving it because they possessed exclusive

 knowledge regarding the nature of diabetes drug pricing; intentionally concealed

 the foregoing from Plaintiff and the public; and made incomplete or false

 representations about the pricing of the at-issue drugs and their role in that pricing,

 while purposefully withholding material facts from Plaintiff that contradicted these

 representations.

        717. Plaintiff relied on these Defendants’ false list prices. Because of the

 Insulin Pricing Scheme, list prices have skyrocketed and the spread between list

 price and net price has ballooned in turn. Plaintiff is injured by this list and net price

 divergence. Through the scheme, these Defendants have forced payors, including

 Plaintiff, to pay not just for the drugs, but also for undisclosed kickbacks that are

 paid to PBMs.


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       718. These Defendants took steps to ensure that their employees and co-

 conspirators did not reveal the details of the Insulin Pricing Scheme to Plaintiff.

       719. These Defendants owed Plaintiff a duty to disclose, truthfully, all facts

 concerning the true cost of the at-issue medications and the inflated and fraudulent

 nature of their pricing; the existence, amount, flow, and purpose of rebates and

 discounts negotiated for those products; and the role that Defendants played in

 increasing the price of the at-issue drugs.

       720. These Defendants possessed superior knowledge of essential facts

 about the at-issue drugs and their prices. That information was peculiarly and

 exclusively in their control and not available to payors, including Plaintiff. In light

 of their misleading or incomplete representations, these Defendants also had an

 obligation to disclose facts related to the Insulin Pricing Scheme.

       721. These Defendants hatched their deceptive schemes and knew that

 Plaintiff did not know (and could not reasonably discover) that they sought to

 artificially inflate the price of the insulin medications. These Defendants not only

 concealed all the facts concerning the true cost of the at-issue medications but went

 further to make affirmative misrepresentations in marketing materials and other

 communications that these Defendants worked to lower the ultimate cost of

 prescription medications. These Defendants engaged in this fraudulent concealment

 at the expense of Plaintiff.


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        722. Plaintiff was not aware of the concealed and misrepresented material

 facts referenced above, and it would not have acted as it did, had it known the truth.

        723. As a direct and proximate result of these Defendants’ fraudulent

 scheme, Plaintiff sustained damages, including but not limited to paying excessive

 and inflated prices for the at-issue medications.

        724. These Defendants valued their profits over the trust, health, and safety

 of Plaintiff and diabetics across the country. These Defendants repeatedly

 misrepresented the price of the at-issue drugs.

        725. These Defendants’ actions, misrepresentations, and omissions

 demonstrate callous disregard for not only the rule of law but also public health.

 Indeed, as a direct result of these Defendants’ actions, access to live-saving diabetes

 medications has been limited, denied, or forgone.

        726. Express Scripts and the Manufacturer Defendants are liable to Plaintiff

 for damages in an amount to be proven at trial. Moreover, because these Defendants

 acted wantonly, maliciously, oppressively, recklessly, deliberately, and with intent

 to defraud Plaintiff and for the purpose of enriching themselves to the public’s

 detriment, Defendants’ conduct warrants punitive damages in an amount to be

 determined at trial.

        727. The acts and practices alleged herein are ongoing, repeated, and affect

  the public interest.


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                                      Count V
                                 Unjust Enrichment
      (against Defendants Eli Lilly, Novo Nordisk, Sanofi, and Express Scripts)

       728. Plaintiff re-alleges and incorporates herein by reference each of the

 allegations from paragraphs 1-600.

       729. This cause of action is alleged in the alternative to any claim Plaintiff

 may have for legal relief.

       730. Plaintiff conferred a benefit upon Defendants Eli Lilly, Novo Nordisk,

 Sanofi, and Express Scripts (for purposes of Count V, “Defendants”).

       731. Plaintiff conferred a benefit on Defendants by purchasing the at-issue

 insulins at artificially and illegally inflated prices as established by the Insulin

 Pricing Scheme.

       732. Plaintiff conferred this benefit upon Defendants to Plaintiff’s financial

 detriment.

       733. Defendants deceived Plaintiff and have received a financial windfall

 from the Insulin Pricing Scheme at Plaintiff’s expense.

       734. Defendants wrongfully secured and retained a benefit in the form of

 amounts paid for diabetes medications, unearned fees, and other payments collected

 based on the market forces and prices generated by the Insulin Pricing Scheme, and

 revenues that would not have been realized but for the Insulin Pricing Scheme.

       735. Defendants wrongfully secured and retained a benefit in the form of


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 revenues and profits to which they were not entitled, which did not represent the fair

 market value of the goods or services they offered, and which were obtained at

 Plaintiff’s expense.

       736. Defendants wrongfully secured and retained a benefit in the form of

  monies paid at artificially inflated prices for the at-issue medications that would

  not have existed but for the Defendants’ misconduct.

       737. Defendants were aware of the benefit, voluntarily accepted it, and

  retained and appreciated the benefit, to which they were not entitled, all at

  Plaintiff’s expense.

       738. Any Defendant’s retention of any portion of any benefit obtained by

  way of the Insulin Pricing Scheme is unjust and inequitable regardless of the Insulin

  Pricing Scheme’s legality.

       739. Each Defendant’s retention of any portion of the benefit violates the

  fundamental principles of justice, equity, and good conscience. Even absent

  Plaintiff’s ability to prove the elements of any other claim, it would be unfair,

  unjust, and inequitable for any Defendant to retain any portion of the benefit.

       740. Even absent legal wrongdoing by any or all Defendants, Plaintiff has a

  better claim to the benefit than any Defendant.

       741. The benefit retained is in an amount not less than the difference

 between the reasonable or fair market value of the drugs for which Plaintiff paid and


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 the actual value of the drugs Defendants delivered and, as to Express Scripts, the

 reasonable or fair market value of the services for which Plaintiff paid and the actual

 value of services rendered with respect to the at-issue drugs.

        742. Defendants should not be permitted to retain the benefit conferred upon

 them by Plaintiff and restitution is appropriate to prevent the unjust enrichment.

        743. Accordingly, Plaintiff seeks disgorgement of the benefit and seeks

 restitution, rescission, or such other relief as will restore to Plaintiff that to which it

 is entitled.

                                        Count VI
                                    Civil Conspiracy
                                 (against all Defendants)
        744. Plaintiff re-alleges and incorporates herein by reference each of the

 allegations from paragraphs 1-621 and 694-727.

        745. Defendants’ conduct described herein constitutes an agreement

 between two or more parties to commit an unlawful act or a lawful act by unlawful

 means and Defendants’ overt acts in furtherance of this conspiracy caused Plaintiff’s

 damages.

        746. Defendants aided and abetted one another to violate federal laws and

 commit common law fraud.

        747. Each Defendant agreed to and carried out acts in furtherance of the

 Insulin Pricing Scheme that artificially and egregiously inflated the price of diabetes


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 medications.

       748. Each PBM Defendant made a conscious commitment to participate in

 the Insulin Pricing Scheme.

       749. The Manufacturer Defendants agreed with each other and the PBM

 Defendants to intentionally raise their diabetes medication prices and then pay back

 a significant portion of those prices to the PBMs.

       750. In exchange for the Manufacturer Defendants inflating their prices and

 making large secret payments, the PBM Defendants agreed to and did grant

 preferred formulary status to the Manufacturer Defendants’ diabetes medications.

       751. Each Defendant shares a common purpose of perpetuating the Insulin

 Pricing Scheme and neither the PBM Defendants nor the Manufacturer Defendants

 alone could have accomplished the Insulin Pricing Scheme without their co-

 conspirators.

       752. The PBM Defendants need the Manufacturer Defendants to inflate the

 reported price of their diabetes medications and to make secret payments back to

 the PBM Defendants in order for the PBM Defendants to profit off the Insulin

 Pricing Scheme.

       753. The Manufacturer Defendants need the PBM Defendants to grant their

 diabetes medications preferred formulary placement in order to maintain access to

 a majority of payors and diabetics.


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       754. As discussed throughout this Complaint, the Insulin Pricing Scheme

 resulted from explicit agreements, direct coordination, constant communication,

 and exchange of information between the PBMs and the Manufacturers.

       755. In addition to the preceding direct evidence of an agreement,

 Defendants’ conspiracy is also demonstrated by indirect evidence that Defendants

 conspired to withhold the details of their pricing structures, agreements, and sales

 figures in order maintain the secrecy of the Insulin Pricing Scheme.

       756. Defendants’ conspiracy is also evidenced by the numerous ongoing

 government investigations, hearings and inquiries have targeted the Insulin Pricing

 Scheme and the collusion between the Manufacturer and PBM Defendants,

 including:

       •      In 2016, the Manufacturer Defendants received civil investigative
              demands from at least the State of Washington relating to the pricing of
              their insulin products and their relationships with the PBM Defendants;

       •      In 2017, the Manufacturer Defendants received civil investigation
              demands from the States of Minnesota, California and Florida related
              to the pricing of their insulin products and their relationships with the
              PBMs;

       •      Letters from numerous senators and representatives in recent years to
              the Justice Department and the Federal Trade Commission asking them
              to investigate potential collusion among Defendants;

       •      A 2017 House Oversight committee investigation into the corporate
              strategies of drug companies, including Manufacturer Defendants,
              seeking information on the increasing price of drugs and manufacturers
              efforts to preserve market share and pricing power;


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       •      A 2018 Senate report titled “Insulin: A Lifesaving Drug Too Often Out
              of Reach” aimed addressing the dramatic increase in the price of
              insulin; and

       •      Several 2019 hearings before both the Senate Financing Committee and
              the House Oversight and Reform Committees on the Insulin Pricing
              Scheme and the collusion between the PBMs and the Manufacturers;
              and

       •      Senate Finance Committee’s recent two-year probe into the Insulin
              Pricing Scheme and the conspiracy between the Manufacturers and the
              PBMs.
       757. Finally, Defendants’ conspiracy is evidenced by the astronomical rise

 in the price of the at-issue drugs coincides with PBM Defendants’ rise to power

 within the pharmaceutical pricing system starting in 2003.

       758. Plaintiff was and continues to be damaged by the conspiracy when it

 overpaid for the diabetes medications as result of Defendants’ unlawful actions.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for entry of judgment against the Defendants

 for all the relief requested herein and to which the Plaintiff may otherwise be entitled,

 including:

      A.      that the Court determine that Defendants have violated RICO, have

              violated the Florida Deceptive and Unfair Trade Practices Act, been

              unjustly enriched, defrauded Plaintiff, and engaged in RICO and civil

              conspiracies;

       B.     judgment in favor of Plaintiff and against the Defendants for damages

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             in excess of the minimum jurisdictional requirements of this Court, in a

             specific amount to be proven at trial;

       C.    that Plaintiff be granted the following specific relief:

             1.    In accordance with FDUTPA (Fla. Stat. § 501.201 et seq.) and

                   18 U.S.C. § 1964(a), that Defendants, their affiliates, successors,

                   transferees, assignees, and the officers, directors, partners,

                   agents, and employees thereof, and all other persons acting or

                   claiming to act on their behalf or in concert with them, be

                   enjoined and restrained from in any manner continuing,

                   maintaining or renewing the conduct, contract, conspiracy, or

                   combination alleged herein in violation of Florida law and

                   RICO, or from entering into any other contract, conspiracy or

                   combination having a similar purpose or effect, and from

                   adopting or following any practice, plan, program or device

                   having a similar purpose or effect;

             2.    treble damages pursuant to 18 U.S.C. § 1964(c);

             3.    restitution, damages, disgorgement, penalties and/or all other
                   legal and equitable monetary remedies available under the state
                   laws set forth in this Complaint, and the general equitable powers
                   of this Court in an amount according to proof;

             4.    punitive damages because Defendants knowingly, willfully,
                   wantonly and intentionally harmed the health, wellbeing, and
                   financial interests Plaintiff and its Beneficiaries;
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             5.     pre- and post-judgment interest as provided by law, and that such
                    interest be awarded at the highest legal rate from and after the
                    date of service of the initial complaint in this action;

             6.     its costs of suit, including its reasonable attorney’s fees, as
                    provided by law and pursuant to FDUTPA and 18 U.S.C. §
                    1964(c); and

             7.     such other, further, and different relief as the case may require
                    and the Court may deem just and proper under the circumstances.

                                    JURY DEMAND

       Plaintiff demands trial by jury on all issues so triable.

 Respectfully submitted,


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                           CERTIFICATE OF SERVICE

       I hereby certify that on December 31, 2024, I electronically filed the

 foregoing with the Clerk of Court using the CM/ECF system which will send

 notification of such filing to all counsel of record.

                                                           /s/ Benjamin J. Widlanski




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